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                           Demonstrative Aid to the Court – Ohio.

Because the documents support Plaintiffs’ allegations are voluminous and complex, this document
is a demonstrative aid to the court to summarize and explain the violations of the records and
retention provisions of the 1960 CRA and HAVA in the state of Ohio as alleged in Plaintiff’s
Second Amended Complaint which was filed on June 10th 2021 and as reflected in the documents
attached hereto.

   1. As shown in Exhibit 1 attached hereto, the State of Ohio knowingly entered into contracts
      with vendors and election/voting tabulation equipment manufacturers with the specific
      knowledge administrative passwords and other “key administrative” devices would not be
      released to the state / election officials. This prohibits election officials from complying
      with the 1960 CRA requirements to obtain, maintain and preserve “all records and papers”.
      From review of machine manuals utilized in the state of Ohio, attached hereto as Exhibit
      2, it is clear in the narrative of the machine manuals “records” of machine functions which
      occur “during the election process” are not printable, nor are they reviewable without
      administrative passwords. This confirms the existence of “records” and affirms the
      Plaintiffs’ claims the state of Ohio failed to obtain / preserve “ALL records” as required by
      law.

   2. Attached hereto as Exhibit 3 is the official records retention requirements for the state of
      Ohio. On page 1 of the retention chart at CBE-05 is labeled as “Audit Report – Report of
      the state examiner.” This is the ONLY audit report listed within the retention schedule.
      On Page 374 of Exhibit 2, the ES&S EVS 6042 CA Election Management System Manual,
      the manual supplied by the manufacturer of election equipment purchased by and used in
      the state of Ohio shows “Audit Logs” for the ExpressVote and ExpressVoteXL systems.
      These audit logs are not listed on the retention chart of the secretary of the state of Ohio.
      The manual describes these “operating and security” RECORDS and advises the user to
      “print and retain” these records for 22 months. Ohio’s retention chart does not mention
      the need to print or retain, or the period to retain these voting records.

                  i. Audit logs listed but not retained:
                        1. Audit log – ExpressVote
                        2. Audit log – ExpressVoteXL
                        3. Audit log – DS200
                        4. Audit log – Central Count Tabulators
                        5. Audit log – Electionware

       The failure to obtain / maintain records violate 1960 CRA, the manner and failure to
       obtain operational surety protocols violates HAVA.

   3. Also, upon review, the accuracy standard of the state of Georgia in regards to the counting
      / tabulation of votes did not meet the requirements as set forth in the Help America Vote
      Act of 2002.
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                              Exhibit 1
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Records and Papers failures / violations.
   Conduct               FT1- Neg. Cont. FT2 - Dest. Rds FT3 - Failure FT4 - Sep.          FT5 - Failure FT6- Pre De. FT7-URP            FT8-Ballot only
     State
         Alabama                  x             x              x            x                    x                             x
            Alaska                x             x              x            x                    x                                               x
          Arizona                 x             x              x            x                    x                                               x
        Arkansas                  x             x              x            x                    x                                               x
        California                x             x              x            x                    x
         Colorado                 x             x              x            x                    x               x                               x
     Connecticut                  x             x              x            x                    x               x             x
        Delaware                  x             x              x            x                    x                                               x
  District of Col..               x             x              x            x                    x
           Florida                x             x              x            x                    x          x efile dest.                        x
          Georgia                 x             x              x            x                    x
           Hawaii                 x                            x            x                    x
              Idaho               x             x              x            x                    x
            Illinois              x             x              x            x                    x
           Indiana                x             x              x            x                    x
               Iowa               x             x              x            x                    x
           Kansas                 x             x              x            x                    x
        Kentucky                  x             x              x            x                    x
        Louisiana                 x             x              x            x                    x
             Maine                x             x              x            x                    x
        Maryland                  x             x              x            x                    x
   Massachusetts                  x             x              x            x                    x
        Michigan                  x             x              x            x                    x               x             x                 x
       Minnesota                  x             x              x            x                    x
      Mississippi                 x             x              x            x                    x
         Missouri                 x             x              x            x                    x
         Montana                  x             x              x            x                    x
        Nebraska                  x             x              x            x                    x               x
           Nevada                 x                            x            x                    x                                               x
 New Hampshire                    x             x              x            x                    x                             x                 x
     New Jersey                   x             x              x            x                    x               x                               x
    New Mexico                    x             x              x            x                    x
       New York                   x             x              x            x                    x
  North Carolina                  x             x              x            x                    x                                               x
   North Dakota                   x             x              x            x                    x          x (records)                          x
               Ohio               x             x              x            x                    x
       Oklahoma                   x             x              x            x
           Oregon                 x             x              x            x                    x
    Pennsylvania                  x             x              x            x                    x
    Rhode Island                  x             x              x            x                    x
  South Carolina                  x             x              x            x                    x                                     x(no mach. Records)
   South Dakota                   x             x              x            x                    x                                     x(no mach. Records)
       Tennessee                  x             x              x            x                    x
             Texas                x             x              x            x
               Utah               x             x              x            x                    x
         Vermont                  x             x              x            x                    x
          Virginia                x             x              x            x                    x
     Washington                   x             x              x            x                    x                                     x(no mach. Records)
   West Virginia                  x             x              x            x                    x
       Wisconsin                  x             x              x            x                    x               x                               x
        Wyoming                   x             x              x            x                    x


                 FT1 Negligent Contract - State entered into a equipment vendor / manf. Contract in which stipulated the state would not collect / obtain all records / reports generated by election equipment due to adminstrative passwords held by Manfucaturer and not released to state / election officials
                 FT2 - Destruction of Records -- in this line, evidence shows election officals / poll workers destroying "test" and "sample" ballots during the election cycle or on "election day".
                 FT3 - Failure to Retain records / reports from machines that the manufacturer's manuals state are printed during the tabulation / election process. -- the reports mentioned in the manuals are NOT reflected in the state listed retention requirements standards.
                 FT4 - Seperation of mail in ballots from envelopes and indenitfication components required by federal law to be retained jointly for audit / authentication purposes.
                 FT5 - Failure to retain / collect documentation required in Section III of HAVA relating to 'first time voter / first time by mail voter' in federal election with attached identfication documents as required in Section III of HAVA, a violation of CRA 1960
                 FT6- Premature Destruction of papers / records / documents prior to the required 22 month stipulated in CRA 1960. as elaborated in Exhibit A to this Aid to the Court.
                 FT-7 Unlawful Retention Party, as stated in Exhibit A to this Aid to the Court. This category reserseved for violations of records held by parties other than election officials .. A violation of CRA 1960
                 FT-8 Retention policies reflect BALLOTS only and not records from electronic machines or other affiliated records, a violation of CRA 1960 as shown in Exhibit A
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                               Exhibit A

          Summary report of records retentions
            report with source information.

  Note: contains cites from each state code pertaining to records retention.
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State vs. Federal Election Retention Requirements
State                  Cite Source                                 Loc. (etc. pg 201, para 2, line 4)        Summary                                                   Researcher
                                                                                                        The used ballots and other election supplies and records
                                                                                                        delivered to the sheriff by the precinct returning officers
                                                                                                        are kept by the sheriff for a period of six months after an
                                                                                                        election when no federal races are on the ballot and
                                                                                                        twenty-two months after an election with a federal race
Alabama                http://lsa.state.al.us/PDF/ALI/election_handbook/Alabama_Election_Handbook_19th_Edition.pdf
                                                                    P. 144 Section 9.5                  on the ballot.                                              MW
                                                                   pg 4, item 6: Voted Ballots & Stubs for   22 months for federal elections. Uses ballot marking
                                                                   Federal Elections                         device. Retention doesn't appear to apply to the
Alaska                 https://archives.alaska.gov/documents/rims/schedules/gov/01-07-3.pdf                  electonic machines, just to the ballots they print out.   MW
                                                                                                             "The officer in charge of elections shall ensure that
                                                                                                             electronic data from and electronic or digital images of
                                                                                                             ballots are protected from physical and electronic access,
                                                                                                             including unauthorized copying or transfer, and that all
                                                                                                             security measures are at least as protective as those
                                                                                                             prescribed for paper ballots." Paper Ballots (Arizona
Arizona                https://www.azleg.gov/ars/16/00625.htm      quoted in entirety-->                     Retention Law 16-624): 24 months                           MW
                                                                                                       "Election officials must retain and preserve for 22 months
                                                                                                       after any election that includes a federal candidate all
                                                                                                       records and papers relating to registration and voting in
                                                                                                       that election. [42 U.S.C.S. 1974]"
Arkansas               https://www.sos.arkansas.gov/uploads/elections/2020_StateFed_Elec_Law_Poster_.pdf
                                                                   bottom right quadrant               Nothing specific about the machines                        MW
                                                                                                       "Election Record Retention- As a reminder, pursuant to
                       *January 8, 2020 letter from SOS Office of                                      California Elections Code sections 17301-17306, the
                       Voting Systems Technology Assessment                                            retention and preservation of election records, which
California             *Cited Source referenced in Summary-->      Page 5 of SOS letter                includes digital ballot images is 22 months. Several       MW
                                                                                                             Record retention for federal elections is 25 months, but
                                                                                                             references to machine-cast ballots and post-election
                                                                                                             equipment data are not specified. Colorado counties use
Colorado               https://drive.google.com/file/d/1pgH_6lwE258hi5JRjpaaRuo7msaqLvKo/view
                                                                     Vague or absent                         a wide variety of electronic voting methods.             MW
Connecticut            https://ctstatelibrary.org/wp-content/uploads/2015/05/M6.pdf
                                                                     Whole document                                                                                   MW



                                                                                                          "Ballots" retention schedule is 1 year after date of
                                                                                                          election, then destroyed: "Documentation of ballots used
                                                                                                          in elections, including paper, absentee or any other
                                                                                                          machine-readable type. May include envelopes used for
                                                                                                          absentee and affidavit ballots, signed affirmation
                                                                                                          envelopes, and undelivered or returned envelopes."
                                                                                                          Title 15-50A for Electronic Voting Systems does not
                                                                                                          contain specifics about retention, though it says all
                                                                                                          electronic devices must be certified by the EAC
                                                                                                          (501.A.(c))
                                                                                                          Also relevant (508.A(g)): "The Department [of Elections?]
                                                                                                          shall require that all persons with custody of the voting
                                                                                                          devices, either for delivery or storage before and after
                                                                                                          the election, shall ensure the voting devices' safety and
Delaware               https://archivesfiles.delaware.gov/gov-services/Local_Gov_-_General_Records_Retention_Schedule.pdfTitle
                                                                     p. 26                                protection." --totally non-specific.
                                                                                                                                  15 Chapter 50A: Electronic Voting Systems
                                                                                                                                                                     MW
District of Columbia
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                                                                                          Item 113: "This record series contains records of the
                                                                                          content of each ballot cast on an electronic voting
                                                                                          system. To protect voter privacy, the stored files are
                                                                                          randomly sorted so that the ballots cannot be matched to
                                                                                          the voting system transaction logs. Electronic media such
                                                                                          as memory card chips can be cleared for next election
                                                                                          provided ballot image files are printed out and retained in
                                                                                          accordance with retention schedule. The retention period
                                                                                          is based on Title 42, U.S.C. 1974, Retention and
                                                                                          preservation of records and papers by officers of
                                                                                          elections.
                                                                                          RETENTION: a) Record copy. 22 months after
                                                                                          certification of election."
                                                                                          Item 138: "BALLOT INSPECTION CERTIFICATION:
                                                                                          FEDERAL ELECTIONS Item #138
                                                                                          This record series consists of certification by election
                                                                                          board that it compared and found the ballots in voting
                                                                                          devices
                                                                                          to match the sample ballot forms pursuant to Section
                                                                                          101.5610, Florida Statutes, Inspection of ballot by
                                                                                          election
                                                                                          board. The retention period is pursuant to Title 42,
                                                                                          U.S.C. 1974, Retention and preservation of records and
                                                                                          papers
                                                                                          by officers of elections.
                                                                                          RETENTION:
Florida         https://fldoswebumbracoprod.blob.core.windows.net/media/693583/gs03.pdf
                                                            p. 13 Items #113 & #138       a) Record copy. 22 months after certification of election." MW
Georgia         https://sos.ga.gov/admin/files/LGRetentionSchedules2011.pdf
                                                            Pg 82-94                                                                                  DC
                                                                                          Voting machines: "No updates, patches, fixes or
                                                                                          alterations may be applied to the system until 30 days
                                                                                          after the election". Otherwise rules are that federal
Hawaii          HRS 0016-0042                                                             retention requirements be followed.                       WS
Idaho
Illinois
Indiana
Iowa
Kansas
Kentucky
Louisiana
Maine                                                                                                                                               DC
Maryland
Massachusetts
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                                                                                                The following items were documented as not needing the
                                                                                                22 month retention requirement IAW federal law:

                                                                                           #101 Transitory Correspondence
                                                                                           #103 Certification
                                                                                           #209 Candidate Filing Fee Refunds
                                                                                           #211 Certificates of Acceptance
                                                                                           #220 Nominating and Qualifying Petitions
                                                                                           (Note: This series also applies to unused ballots for
                                                                                           federal, state and local offices)
                                                                                           #309 Declaration of Intent
                                                                                           #311 Election Inspector Applications
                                                                                           #313 Election Inspector Training
                                                                                           #314 Electronic Voting Systems (Until 30 days after the
                                                                                           canvass of the election is completed, or
                                                                                           • until a recount is completed,
                                                                                           • until a court order or a Secretary of State order to
                                                                                           suspend destruction is lifted, or
                                                                                           • until an investigation into defective ballots or voting
                                                                                           equipment is completed
                                                                                           #318 Nominating and Qualifying Petitions
                                                                                           #329 Voter Identification Cards – Returned
                                                                                           #330A Voter Registration Applications
Michigan      https://www.michigan.gov/documents/sos/Document_Retention_Schedule_412493_7.pdf
                                                                                           #334 Voter Registration Cards – Change of Address             NC
Minnesota
Mississippi
Missouri
Montana
Nebraska      https://sos.nebraska.gov/sites/sos.nebraska.gov/files/doc/records-management/state-government/Schedule34/schedule_34_4.pdf
                                                          Pg 1-2                                                                                         DC
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                                                                                                    "NRS 293.391 Disposition and inspection of ballots,
                                                                                                    lists, records and stubs of voted ballots after canvass by
                                                                                                    county commissioners.

                                                                                                         1. The voted ballots, rejected ballots, spoiled
                                                                                                    ballots, challenge lists, records printed on paper of
                                                                                                    voted ballots collected pursuant to NRS 293B.400,
                                                                                                    and stubs of the ballots used, enclosed and sealed,
                                                                                                    must, after canvass of the votes by the board of county
                                                                                                    commissioners, be deposited in the vaults of the county
                                                                                                    clerk. The records of voted ballots that are maintained
                                                                                                    in electronic form must, after canvass of the votes by
                                                                                                    the board of county commissioners, be sealed and
                                                                                                    deposited in the vaults of the county clerk. The tally
                                                                                                    lists collected pursuant to this title must, after canvass of
                                                                                                    the votes by the board of county commissioners, be
                                                                                                    deposited in the vaults of the county clerk without being
                                                                                                    sealed. All materials described by this subsection must
                                                                                                    be preserved for at least 22 months, and all such
                                                                                                    sealed materials must be destroyed immediately after the
                                                                                                    preservation period. A notice of the destruction must be
                                                                                                    published by the clerk in at least one newspaper of
                                                                                                    general circulation in the county not less than 2 weeks
                                                                                                    before the destruction.

                                                                                                         5. The voted ballots and records printed on paper
                                                                                                    of voted ballots collected pursuant to NRS 293B.400
                                                                                                    which are deposited with the county clerk are not subject
                                                                                                    to the inspection of anyone, except in cases of a
                                                                                                    contested election, and then only by the judge, body or
                                                                                                    board before whom the election is being contested, or by
Nevada          https://www.leg.state.nv.us/NRS/NRS-293.html#NRS293Sec391
                                                          direct link                               the parties to the contest, jointly, pursuant to an order of MW
                                                                                                    "PRESERVATION OF BALLOTS AND RELATED
                                                                                                    MATERIALS
                                                                                                    Ballots, absentee ballot applications, absentee affidavits,
                                                                                                    absentee ballot lists, and challenged voter affidavits must
                                                                                                    be retained by the clerk:
New Hampshire   New Hampshire Election Procedure Manual p. 109                                      • For federal elections, until the contest is settled and all MW
                                                                                                   *NJ does not appear to have a retention schedule
                                                                                                   applicable to electronic voting machine records. The
                                                                                                   Board of Elections retention scheduled hasn't been
                                                                                                   updated since 2010. In fact, the schedule doesn't even
                                                                                                   cover the disposition of paper ballots.
                                                                                                   *NJ does have a policy requiring all voting machines to
New Jersey      County Board of Elections Retention and Disposition ScheduleRequirements of Electronic
                                                                                                   produce
                                                                                                       Votingpaper
                                                                                                              Systems
                                                                                                                   records (since 2008)                             MW

                                                                                                    Handbook: A. Paper ballots marked by voters and all
                                                                                                    records related to voting in any election in which a
                                                                                                    federal candidate appears on the ballot shall be
                                                                                                    retained and preserved for a period of twenty-two months
                                                                                                    from the date of the election.
                                                                                                    ALSO Recertification clause: "pursuant to Section 1-9-
                                                                                                    7.4(A) NMSA 1978, the SOS is required to review and
                2019 Election Handbook                                                              recertify each voting system already in use in the state in
New Mexico      Voting System Recertification Clause       p. 166                                   the year following a presidential election."                MW
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New York         http://www.archives.nysed.gov/common/archives/files/mr_pub_electionschedule.pdf                                                                     DC

                                                                                                        "BALLOTS (USED AND UNUSED)
                                                                                                        Includes paper ballots, electronic or electromechanical
                                                                                                        ballots, tabulation cards or tapes, voting machine ballot
                                                                                                        cards, and all similar ballot materials. Includes absentee
                                                                                                        and provisional ballots"
                                                                                                        "b) Destroy in office 22 months after certification all
                                                                                                        materials concerning a primary, general, or special
                                                                                                        election involving federal offices."
                                                                                                        All votes cast in NC must have a paper ballot, even if
North Carolina   County Board of Election Retention Schedulep.Amendment
                                                               80       (2013)                          generated by a machine (DRE).                                MW



                                                                                                      "16.1-15-13. County recorder to keep ballots - Exception -
                                                                                                      Use of ballots as evidence.
                                                                                                      Immediately upon receiving the ballots as provided in
                                                                                                      section 16.1-15-08, the county recorder shall give a
                                                                                                      receipt to the election judges and shall place the ballots
                                                                                                      properly arranged in the order of the precinct number in
                                                                                                      boxes that shall be securely locked. The boxes must be
                                                                                                      placed in a fireproof vault and must be kept securely for
                                                                                                      forty-five days if the ballots do not contain federal offices
                                                                                                      and twenty-two months if the ballots contain federal
                                                                                                      offices. With the exception of the ballots containing lawful
                                                                                                      write-in votes that may be counted at the meeting of the
                                                                                                      county canvassing board, the ballots may not be opened
                                                                                                      nor inspected, except upon court order in a contested
                                                                                                      election, when it is necessary to produce them at a trial
                                                                                                      for any offense committed at an election, or to permit
                                                                                                      election officials to complete their duties. Either forty-five
                                                                                                      days or twentytwo months after the election dependent
                                                                                                      upon the retention schedule outlined in this section,
                                                                                                      upon determination by the county recorder that no
                                                                                                      contest is pending, the ballots must be destroyed."
                                                                                                      All votes cast in ND have a paper ballot, even if
North Dakota     2019-2021 North Dakota Election Laws        p. 146                                   generated by a machine (DRE).                                  MW
Ohio             https://www.ohiosos.gov/globalassets/elections/eoresources/general/retentionschedule.pdf                                                            DC


                                                                                                    26-3-126. Maintenance of Records.
                                                                                                    Records required to be maintained by the State Election
                                                                                                    Board or any county election board in the performance of
                                                                                                    their duties shall be retained for a period of twenty-four
Oklahoma         Oklahoma Statutes Title 26. Elections      p. 43                                   (24) months, unless otherwise provided by law.             MW
Oregon           https://sos.oregon.gov/archives/Documents/recordsmgmt/sched/schedule-secretary-state.pdf                                                      DC
                                                                                              Currently, Federal election records (including all records
                                                                                              and papers pertaining to any application,
                                                                                              registration or other act requisite to voting) must be
                                                                                              retained 22 months from the date of any general,
                                                                                              special, or primary election for federal office under the
                                                                                              Civil Rights Act of 1960, codified at Title 42,
Pennsylvania     https://www.phmc.pa.gov/Archives/Records-Management/Documents/RM-2002-County-Records-Manual-2017-Update.pdf
                                                           Pgs Election 1-6                   U.S. Code, Sections 1974 through 1974e inclusive.                      DC
Puerto Rico
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Rhode Island     https://www.sos.ri.gov/assets/downloads/documents/LG8Canvassers.pdf
                                                            Pg 1-9                                                                                                 DC

                                                                                                       "12-601.14. Election Records A. Description: Record of
                                                                                                       elections and results of elections . Information includes
                                                                                                       declaration of results, oath of office, statements of
                                                                                                       candidacy, registration, newspaper notices, petitions for
                                                                                                       nomination of council members and mayor. B. Retention:
                                                                                                       (1) Results and Certifications: Permanent. Microfilm
                                                                                                       optional. (2) Other Records: 2 years, and until all
                                                                                                       contested elections have been decided and all appeals
                                                                                                       exhausted, then destroy."
South Carolina   General Records Retention Schedules for Municipal
                                                           p. 14 Records                               South Carolina uses ballot-marking devices state-wide.    MW



                                                                                                        "12-20-31. Destruction of ballots and pollbooks--Period
                                                                                                        for which held--Pending recount or contest . ...The officer
                                                                                                        in charge of an election may destroy voted ballots,
                                                                                                        pollbooks and all other election material relating to a
                                                                                                        federal election twenty-two months after the election at
                                                                                                        which the ballots were voted. For the purpose of this
                                                                                                        section, a federal election is any election to nominate or
                                                                                                        elect persons to the United States Congress or other
                                                                                                        national elected position, including national issues or
                                                                                                        questions. If a ballot is used for a federal election and a
                                                                                                        state or local election, the ballots and all other election
                                                                                                        material shall be maintained for twenty-two months. All
                                                                                                        federal election material may be removed from the ballot
                                                                                                        box if it is maintained in such a manner as to guarantee
                                                                                                        the safety and integrity of such material."
                                                                                                        South Dakota uses hand-marked paper ballots with
South Dakota     Codified Laws                                N/A                                       Ballot Marking Devices for accessability.                   NC
Tennessee        https://eli.ctas.tennessee.edu/reference/county-election-commission-records-retention-schedulehttps://eli.ctas.tennessee.edu/reference/current-retention-schedules
                                                                                                        Elections Records Retentions ScheduleDestruction of Temporary
                                                                                                                                                                    MC    Files In Tennessee
Texas
Utah
Vermont
Virginia

                                                                                                       4-219-330 WAC 434-219-330 Retention of election
                                                                                                       material. The county auditor shall maintain all presidential
                                                                                                       primary material, including ballot request forms, ballot
                                                                                                       envelopes, and ballots, for a period of twenty-two months
                                                                                                       following the presidential primary. Sixty days following
                                                                                                       certification of the presidential primary by the secretary of
                                                                                                       state, the county auditor must remove from the voter
                                                                                                       registration files any record of party designation in the
                                                                                                       presidential primary.
                                                                                                       [Statutory Authority: RCW 29A.04.611, 29A.04.620, and
                                                                                                       29A.04.630. WSR 11-24-064, § 434-219-330, filed
                                                                                                       12/6/11, effective 1/6/12. Statutory Authority: RCW
                                                                                                       29A.04.611. WSR 07-24-044, § 434-219-330, filed
                                                                                                       11/30/07, effective 12/31/07. Statutory Authority: RCW
                                                                                                       29.19.070. WSR 96-03-141, recodified as § 434-219-
                                                                                                       330, filed 1/24/96, effective 2/24/96; WSR 91-18-012, §
Washington       https://www.sos.wa.gov/_assets/elections/2020%20law%20book_final.pdf
                                                            pg. 120                                    434-75-330, filed 8/26/91, effective 9/26/91.]                NC
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West Virginia

                                                                                                Several line items allow for destruction of election related
                                                                                                records and/or documents within the federally mandated
                                                                                                22 month retention requirement. This appear to be clear
                                                                                                for primary elections which is federally mandated to retain
                                                                                                for 22 months as well.

                                                                                                        The following items were documented as not needing the
                                                                                                        22 month retention requirement IAW federal law:
                                                                                                        Ballots (Unused and related Materials)
                                                                                                        Detachable Recording Units
                                                                                                        Detachable Recording Units (Primary Elections)
Wisconsin       https://elections.wi.gov/sites/elections.wi.gov/files/2020-10/Election%20Administration%20Manual%20%282020-09%29.pdfhttps://publicrecordsboard.wi.gov/Documents/Municipal%20GRS%20FINAL%
                                                                pg 229-230pg 29-33                      Election Notices                                       NC
Wyoming
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      Cain Declaration 202101118



          I.       INTRODUCTION
      I, Dennis Nathan Cain, declare under penalty of perjury the foregoing is true and correct to the
      best of my knowledge and belief. I am an adult of sound mind residing in Berkley County, West
      Virginia. I make this declaration of my own free will and accord without coercion and with no
      mental reservation.


      I have been retained as an expert witness on behalf of Petitioners in the above captioned
      proceeding. I expect to testify on the following subject matters: (i) application of the federal law’s
      requirements for certification of the voting systems used in the November 3rd, 2020 general
      election, (ii) render opinions that based on available government records, news stories,
      photographic and video evidence, affidavits by first hand witnesses, reports by experts in data
      analysis, cybersecurity, and election operations, that voting systems were noncompliant with said
      law and therefore not certified, (iii) and render opinions that the vote tally and everything thereafter
      was therefore “void ab initio”.


               This is a statement of my relevant opinions and an outline of the factual basis for these
      opinions. The opinions and facts contained herein are based on the information made available to
      me in this case prior to preparation of this report, as well as my professional experience as a
      cybersecurity information systems security professional and expert in government IT systems
      certification and accreditation.


               I reserve the right to supplement or amend this statement on the basis of further information
      obtained prior to the time of trial or in order to clarify or correct the information contained herein.


II.   QUALIFICATIONS
      I am a Cybersecurity Subject Matter Expert with a combined 23 years’ experience in information
      assurance, risk management, vulnerability assessment, systems engineering, and systems
      certification assessment and authorization. I currently maintain and have held a TOP SECRET
      clearance with a Single Scope Background Investigation (SSBI) for 22 years. I hold credentials as
      a Certified Information Systems Security Professional (CISSP) #420251 since April 30, 2012 and



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as Navy Qualified Validator (NQV) and have worked for Army, Navy, Marine Corps, DISA, FBI,
and others.


I first began serving my country as a US ARMY soldier, where I was trained as a
Telecommunications Computer Oper/Maint 74G at US Army Signal School in Fort Gordon GA
in 1997. I then served as a Department of the NAVY civilian Information Technology Specialist
IT-2210-GS-13 (INFOSEC) where I was the Information Systems Security Officer (ISSO) for my
command. Finally, I served as US Marine civilian, where I was trained in NSA’s CYBERCORE
program at PHNX II and appointed as a member of a MARFORCYBER Cyber Protection Team
(CPT) National Mission, whose core responsibility was protecting national critical infrastructure
against cyber-attack by domestic and foreign adversaries. In all three of these times of service I
swore an oath that I would “…support and defend the Constitution of the United States against all
enemies, foreign and domestic; that I will bear true faith and allegiance to the same…”.


As a former FBI whistleblower, where I had nothing to gain and under threat of reprisal, I am the
only person to have brought a complaint of urgent concern on a matter of National Security to the
IG of the Department of Justice, Michael Horowitz. I believe this testifies to my integrity as a
witness and commitment to the oath I swore three times.


I am currently employed with cleared defense contractor Assett, Inc as a Senior Cybersecurity
Engineer and provide systems cybersecurity assessment as a NQV for US NAVY, NAVSEA,
TSUBCYBER for their Submarine program. My work consists of consulting as a Subject Matter
Expert trusted agent, validating Navy information and weapon systems for compliance with NIST
Special Publication 800 series, specifically the NIST SP 800-53rev4 Security Controls and various
ISO standards.


These same standards are cited as requirements for certification of all electronic voting systems
under both Help America Vote Act (HAVA) under the Federal Election Commission (FEC) Voting
Systems Standards (VSS), Volume I and the Federal Information Security Modernization Act
(FISMA).



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I was brought together with a team of experts in various fields related to election operations,
process, and cybersecurity, due to my expertise and knowledge of government IT systems
cybersecurity certification requirements, during which time in the months on November 2020 and
December 2020, I volunteered approximately 435 hours of my time this work to the non-partisan
Thomas More Society – Amistad Project and other legal efforts to ensure our election integrity.
The bulk of my work consisted of reviewing the laws and regulations related to voting systems
certification evidence of irregularities of the November 3rd, 2020 general election. I also consulted
on non-compliance issues being discovered during subsequent investigations to these various legal
group and provided expert witness testimony.


    III.      DOCUMENTS & EVIDENCE REVIEWED
During my period of consultation, I reviewed the following items that applied to the voting
systems used in the November 3rd general election. They consisted of:
           A. Legislation
                 • Help America Vote Act, Pub. L. 107-252, 42 USC Sections 15301-15545
                 • Civil Rights Act of 1960, Retention and preservation of records and papers by
                     officers of elections, 42 USC 1974
                 • Voting Rights Act of 1965, Pub. L. 89-110, 42 USC Sections 1973; 1973a-p;
                     1973aa; 1973aa-1-6; 1973bb; 1973bb-1
                 • Federal Information Security Management Act of 2002, Pub. L. 107-347,
                 • Federal Information Security Modernization Act (FISMA) of 2014, 44 U.S.C.
                     § 3551 et seq., Public Law (P.L.) 113-283.
                 • Various State Election Laws

           B. Policies & Standards
                 • Office of Management and Budget [OMB] Circular A-130 “Managing
                     Information as a Strategic Resource”
                 • Federal Election Commission (FEC) Voting Systems Standards, Volume 1
                     2002
                 • National Institutes of Standards & Technology (NIST) Special Publication
                     (SP) 800 Series on Computer Security
                 • EAC State Requirements and the U.S. Election Assistance Commission
                     Voting System Testing and Certification Program, September 4, 2020
           C. Guidelines & Manuals
                 • Election Assistance Commission (EAC) Voluntary Voting Systems
                     Guidelines, Volume 1 & 2, Version 1.1



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                 • Defense Information Systems Agency (DISA) Security Technical
                   Implementation Guides
                • Cybersecurity & Infrastructure Security Agency (CISA) Election Security
                   Checklists and Guides
                • EAC Voting System Testing and Certification Program Manual, Version 2.0,
                   May 31, 2015
          D. Evidence Sources
                • AMISTAD PROJECT 2020 evidence page– a release of evidence of voter,
                   ballot, and election irregularities and lawlessness in the presidential election
                   of November 3, 2020 <https://got-freedom.org/evidence/>
                • HERE IS THE EVIDENCE website – a crowdsourcing tool for organizing
                   anomalies and legal issues surrounding the irregularity of this current 2020
                   Presidential Election (news reports, photo evidence, video evidence,
                   affidavits, expert analysis, etc.) <https://hereistheevidence.com/>
                • Antrim Michigan Forensics Report – Revised Preliminary Summary, v2 dated
                   12/13/2020 and produced by Allied Security Operations Group (ASOG).
                   <https://www.9and10news.com/content/uploads/2020/12/Antrim_Michigan_F
                   orensics_Report_121320_v2_REDACTED.pdf>
                • Electionware Admin Audit Event Logs & Election Audit Logs Events reports
                   from Williamson County, TX Generated on 11/16/2020
                   <https://kmpuag.bn.files.1drv.com/y4m3byaJlYark6VJFnE_6oxwSb-
                   hTacstnJ6KamqGMYshqqr7nSjlZZcPX-
                   PGxocxp6QdxUyAg1jdCGuutQKaImnj9IYShKyJylLYHeJLGZk1bNY22Eqr
                   A6ez8GEr0CixOaiCajTctYL-KEkjKcSKL1jx6WF1Ysgs3HfMfVBsT-
                   GxLbsSlG4TytZJ2aONSNVc9Zrt_HtK78TJFowjAUjC087g>

    IV.      COMPENSATION
          I have been retained as an expert witness for Petitioners. I am not being compensated.


    V.       PRIOR TESTIMONY
          I have not provided testimony as an expert either at trial or in deposition in the last four
years.
    VI.      STATEMENTS OF OPINIONS

          A. Violations of HAVA, Section 301 Voting Systems Standards and FISMA
          As set forth above, I have been engaged to provide expert opinions regarding analysis in
the November 3, 2020 general election. Based on my review of the documents set forth above,
my discussions with statisticians and analysts working with me and at my direction, my discussions
with the attorneys representing the Petitioners, I have the following opinions:

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        Certification plays an integral role in ensuring the integrity of the election. Once a system
is certified it is authorized to process voting information and count the votes. Without certification
a system cannot be trusted and therefore everything processed on it is void. One of the primary
purposes of the certification process is to confirm in a laboratory setting that the voting system
meets the maximum allowable error rate under the law. This rate is set at a sufficiently stringent
level such that the likelihood of voting system errors affecting the outcome of an election is
exceptionally remote even in the closest of elections. A failure to meet the acceptable maximum
rate of error is “void ab initio”.


        An example that many will understand is in the case of a DWI being tried before the court.
In such a case the arresting officer is required to demonstrate that his equipment used to validate
the defendants blood alcohol level (breathalyzer) has been certified to be calibrated to within an
acceptable error rate as to not accidentally falsely convict an innocent person. Therefor if the
system is found to not be certified or be out of compliance with certification requirements, then all
evidence produced be the equipment must be thrown out as it is “void ab initio” or void from the
beginning. So is the case where the error rate exceeds the maximum allowable error rate in any
part of the voting system as it could disenfranchise the constitutional rights of the citizens of the
United States.


        I conducted a review of the Electionware Election Audit Logs Events report from
Williamson County, TX Generated on 11/16/2020. The event log registered several hundred errors
that may indicate a more serious problems with ES&S voting machines that were used in Texas.
According to the Table of Voting Systems found on the EAC’s Systems Certification Process
website <https://www.eac.gov/voting-equipment/system-certification-process> the system used in
Williamson county is a EVS, version 6.0.2.0, manufactured by ES&S and is certified by EAC. The
certificate of conformity can be found at:
        <https://www.eac.gov/sites/default/files/voting_system/files/EVS6020_CertConf_Scope
%28FINAL%29.pdf>
        A significant finding was an error event “The file is no longer available”, which occurred
808 times consecutively on 11/03/2020 from 09:03:08PM to 09:03:13PM. This indicates an
anomaly that should have prompted the local election official to submit an Anomaly Report to the


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EAC and a request for a fielded system review and testing to be conducted IAW EAC Voting
System Testing and Certification Program Manual, Version 2.0, section 8.7. “An anomaly is
defined as an irregular or inconsistent action or response from the voting system, or system
component, which resulted in the system or component not functioning as intended or expected.
reviews will be conducted to ensure that a fielded system is comprised of the same configuration
as what was certified by the EAC and that the proper Mark of Certification has been applied. As
this system is approved for use in 149 counties across the United States, this is particularly
concerning as is could indicate a greater problem affecting multiple states. Further examination of
the audit logs and batches processed during that period of time should be conducted to ensure that
this anomaly is not indicative of a more wide-spread problem.


        A review of the Antrim Michigan Forensics Report – Revised Preliminary Summary, v2
dated 12/13/2020 and produced by Allied Security Operations Group (ASOG) indicated an error
rate finding that would invalidate the certification of the voting system (Dominion Voting Systems
Suite 5.5). On page 3, Item 10 it presents that “in Central Lake Township there were 1,222 ballots
reversed out of 1,491 total ballots cast”. This vote flip constitutes a total of 2,444 ballot position
errors if you are only counting the Presidential race. A sample of the ballot for Central Lake
Township 2020 General election indicates a total of 94 total ballot positions available to select
from. Multiplied by the total number of ballots cast it equals a total of 140,154 ballot positions for
the total vote count in that precinct. This calculated error rate for the system by the FEC VSS
section 3.2.1 formula is 1.74% when the maximum allowable error rate is only .0002%. That is a
rate of error that exceeds 8,718 times the acceptable rate of error.

        Formulas:
           1. 2,444 (total ballot position errors)/140,154 (total ballot positions cast) =
           .0174379610999329 (error rate)
           2. .0174379610999329(error rate)/.000002 (maximum allowable error rate) =
           8,718.98 (X allowable rate)

        The allowable error rate for the Dominion Voting System Suite 5.5 as certified by EAC
has been exceeded at such a high rate with multiple reports of similar errors in Oakland County
MI (Heart Civic Voting System) and Wayne County MI (Dominion Voting System), Spalding
County Georgia (Dominion Voting Systems), Philadelphia County, PA (ES&S Voting Systems)

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that it clearly indicates a systemic problem with either the certification process or the Baseline,
Promotion, and Demotion Procedures identified in the FEC VSS Vol.1 Sections 8.4. This failure
to comply invalidates all confidence in the integrity of the vote count under the Help America Vote
Act (HAVA).


        Compliance with the Federal Information Security Modernization Act (FISMA) is also
required of electronic voting systems. On January 6th, 2017, DHS Secretary Jeh Johnson
designated election infrastructure as a critical infrastructure subsector:
        <https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-designation-
election-infrastructure-critical.>
        This effectively placed all election equipment under the requirements set forth by the
Federal Information Security Modernization Act (FISMA) of 2014 (PL 113-283, 44 USC 3554).
The Cybersecurity Framework, when used in conjunction with NIST’s 800-37 Rev 2 Risk
Management Framework for Information Systems and Organizations: A System Life Cycle
Approach for Security and Privacy, 800-39, Managing Information Security Risk: Organization,
Mission, and Information System View and associated standards, guidelines, and best practices
provides agencies with a comprehensive structure for making more informed, risk-based decisions
and managing cybersecurity risks across their enterprise.

        The primary standards used for identifying Security Control risks is the NIST SP 800
53rev4. This document details the standard configuration settings, policies, and procedures for
security compliance with all government information systems in conjunction with FIPS – 199 the
Standard for systems categorization. The items identified in the ASOG report on page 15, section
I, paragraph 2 items a) through i) and several news reports, affidavits, videos, and pictures indicate
several violations with the requirements set forth in the above-mentioned standards:


             •   A fairly complete list of these irregularities listed by state has been detailed in the
                 following article: <https://sharylattkisson.com/2020/11/what-youve-been-asking-
                 for-a-fairly-complete-list-of-some-of-the-most-significant-claims-of-2020-
                 election-miscounts-errors-or-fraud/>

             •   A website dedicated to making public all of the available evidence of irregularity
                 in the 2020 general election has identified, as of the time of the writing of this
                 declaration, has identified 1,570,056 ballots touched by anomalies, 920 fact

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                 witnesses, and 34+courts that have blocked evidentiary hearings.
                 <https://hereistheevidence.com/election-2020/stats/>

             •   A release of evidence of voter, ballot, and election irregularities and lawlessness
                 in the presidential election of November 3, 2020 by the Amistad Project
                 <https://got-freedom.org/evidence/>

        These violations indicate potential misconfigurations, changes to the secure baseline,
failure to comply with procedures and policies, negligence, or malfeasance. Failure to comply with
said standards in any normal situation under the Risk Management Framework would invoke
action by the approving authority to revoke the information systems certification through a process
called “Decertification”. HAVA requires that the EAC certify and decertify voting systems.
Section 231(a)(1) of HAVA specifically requires the EAC to “* * * provide for the testing,
certification, decertification and recertification of voting system hardware and software by
accredited laboratories.” The Procedural Manual for the Election Assistance Commission's Voting
System Testing and Certification Program describes “Decertification” in section 1.5.1.6 as “the
process by which the EAC revokes a certification it previously granted to a voting system. It is an
important part of the Certification Program because it serves to ensure that the requirements of the
program are followed and that certified voting systems fielded for use in Federal elections maintain
the same level of quality as those presented for testing.”


        These systems are required to undergo an annual audit under FISMA requirements to assess
the cybersecurity situational awareness of the information system. There is no indication by the
reported non-compliance with NIST SP 800-53rev4 that the systems are following the annual audit
requirements under the law. Additionally, the HAVA, FEC VSS, and the Election Assistance
Commission (EAC) Voluntary Voting Systems Standard (VVSS) all point to the NIST SP 800-
53rev4 as the standard for Security Controls compliance. The current state of electronic voting
systems in many states do not appear to meet with the standards, This should prompt a full
compliance audit with both the FEC VSS (2002), NIST SP 800 37rev2 Risk Management
Framework, and NIST SP 800-53rev4 Security Controls for all of electronic voting systems where
irregularities have been identified. If, during the audit, it is determined that these systems no longer
meet “the level of quality as those presented for testing” then under the law of both HAVA and
FISMA these systems are not authorized for processing votes. This would in effect invalidate all

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certification of the votes where these uncertified machines where used as it would render
impossible any attempt to validate the integrity of the vote count performed electronically.

        B. Violations of Civil Rights Act of 1960, Section 1974
        All auditing capability is dependent of the retention of auditable items to include all paper,
electronic media, and digital logs associated with an election. There have been multiple news
report, affidavits, physical evidence found, video footage, and photographs taken of evidence of
the destruction of such auditable items.


        The law clearly states under §1974. Retention and preservation of records and papers by
officers of elections; deposit with custodian; penalty for violation, “Every officer of election shall
retain and preserve, for a period of twenty-two months from the date of any general, special, or
primary election of which candidates for the office of President, Vice President, presidential
elector, Member of the Senate, Member of the House of Representatives, or Resident
Commissioner from the Commonwealth of Puerto Rico are voted for, all records and papers which
come into his possession relating to any application, registration, payment of poll tax, or other act
requisite to voting in such election, except that, when required by law, such records and papers
may be delivered to another officer of election and except that, if a State or the Commonwealth of
Puerto Rico designates a custodian to retain and preserve these records and papers at a specified
place, then such records and papers may be deposited with such custodian, and the duty to retain
and preserve any record or paper so deposited shall devolve upon such custodian. Any officer of
election or custodian who willfully fails to comply with this section shall be fined not more than
$1,000 or imprisoned not more than one year, or both.” ( Pub. L. 86–449, title III, §301, May 6,
1960, 74 Stat. 88 .)


        Failure to comply with retention and preservation of records and papers by officers of
elections does not adequately allow for any meaningful audit. The voting system certified under
the authority of the EAC includes more then just the electronic voting machine. It includes all
component identified in the certificate of conformity held by the EAC and includes an accreditation
boundary and everything within it to include everything coming in and going out related to the
election (i.e. ballots, registration logs, poll books, security envelopes, outer envelopes, chain of


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custody logs, digital logs, software enumeration reports, accounts enumeration reports, memory
cards, hard drive storage, voting machine logic chips, etc.) All of these types of auditable items
are required to be maintained unmolested and secured for 22 months.


    VII.     REQUEST FOR FURTHER INFORMATION
    As set forth above, I have been engaged to provide expert opinions regarding analysis in the
November 3, 2020 general election. Based on my review of the documents set forth above, my
discussions with statisticians and analysts working with me and at my direction, my discussions
with the attorneys representing the Petitioners, I request the following additional information for
assisting me in my investigation.
        1.       Documents regarding mobile drop boxes. Logs maintained regarding the drop
                 boxes including, but not limited to, when drop box ballots were collected and
                 delivered, the log of persons who collected drop boxes or delivered ballots from
                 drop boxes and who had access to drop box keys and when that access was
                 obtained.

        2.       Documents or logs maintained on the delivery of ballots to central counting
                 facilities used in major metropolitan areas including the identity of each and every
                 person involved in delivering the ballots.

        3.       Documents or logs maintained identifying the persons who tabulated the ballots
                 are any central counting facility including, but not limited to, logs of who was
                 tabulating ballots and at what time.

        4.       Documents maintained regarding each and every local official involved in
                 handling ballots and how those individuals were paid. As you know, a lawsuit
                 has been filed asserting that an organization called the Center for Technology and
                 Civic Life (CTCL), Center for Election Innovation and Research (CEIR), and
                 Electronic Registration Information Center (ERIC), organizations funded by
                 FaceBook billionaire Mark Zuckerberg, who paid millions of dollars to pay the
                 salaries of local officials to count the votes.

        5.       The pollbooks, voter files and final tallies at each election site in large cities over
                 250,000 people.

        6.       Documents regarding challenged ballots including how many ballots were
                 challenged, how many challenged ballots were cast and why such ballots were
                 cast despite being challenged.




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        7.       Documents regarding why republicans were not allowed to sign the seals at the
                 polling places both prior to voting on Monday and on Wednesday before ballot
                 boxes were documented, closed, and locked

        8.       Documents showing that information placed was directly into the Qualified Voter
                 Files in the AVCBs.

        9.       Documents showing how many voter birthdates were altered in the pollbooks.

        10.      Documents showing how many ballots were counted at central counting which
                 were not reflected in the electronic pollbook or paper supplemental list.

        11.      Documents showing the verifications of the same day registrations in on
                 November 3 including the verifications used to verify that these persons could
                 vote.

        12.      Documents regarding “Rock the Vote” including, but not limited to, why this
                 highly partisan organization was given access in real time through data feeds,
                 internet hookups and API access to voters’ private information including their
                 social security numbers, birthdays, drivers licenses numbers, address, and eye
                 color.

        13.      Documents related to persons who did not vote in the county in which they
                 resided, voted and then moved out of the State or voted in more than one state.

        14.      Documents regarding ballots cast with the names of citizens who did not do the
                 voting.

        15.      Documents regarding ballots cast by individuals who are deceased.

        16.      Documents regarding ballots cast by felons or the criminally insane.

        17.      Documents regarding election officials who either ignored or refused to record
                 valid election challenges.

        18.      Documents regarding the back dating of absentee ballots.

        19.      Documents regarding sending multiple absentee ballots to the same address.

        20.      Documents regarding credentialed challengers being locked out of the vote
                 counting rooms.

        21.      Documents regarding duplication of ballots.

        22.      Documents regarding election workers who encouraged or coerced voters to vote
                 in a certain manner.


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        23.      Documents regarding those counties that had more registered voters than citizens
                 of legal voting age.

        24.      Documents regarding the disregard of voter secrecy or use of privacy sleeves.

        25.      Documents regarding the different treatment applied to military or veterans
                 ballots.

        26.      Documents regarding ballots received after the statutory deadline.

        27.      Documents regarding people added to the voters rolls (QVF) after the statutory
                 deadline.

        28.      Documents regarding tabulator computers connected to the internet including why
                 this was allowed and how it was conducted.

        29.      Documents regarding adjudicator computers connected to the internet including
                 why this was allowed and how it was conducted.

        30.      Documents regarding the use of counting board computers hosting the electronic
                 poll books connected to the internet including why this was allowed and how it
                 was conducted.

        31.      Documents regarding “stage” computers used by Election Officials connected to
                 the internet including why this was allowed and how it was conducted.

        32.      Documents identifying all Wi-Fi networks used at central counting locations.

        33.      Documents regarding the hacking of computers used in the election process.

        34.      Documents regarding how vote tallies were reported to both to the State and the
                 media.

        35.      Documents regarding how many ballots/AVCBs were processed through paper
                 pollbooks, electronic pollbooks including those processed through QVF.

        36.      Documents regarding where and when ballots were processed through the QVF
                 including now this was verified and whether poll challengers were allowed and
                 able to observe this process.

        37.      Documents regarding any investigation into why AVCBs which tallied zero
                 ballots, yet the corresponding lock boxes had ballots inside the lock box.

        38.      Each and every chain of custody log for each lock box containing ballots.



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        39.      Documents regarding how chain of custody was kept for ballots between worker
                 shift changes.

        40.      Documents regarding which lock boxes were locked between shift changes

        41.      Documents regarding why any lock boxes left open during shift changes.

        42.      Documents regarding the process when the ballot’s number didn't match the
                 pollbook.

        43.      Documents regarding ballot stub numbers which were manually altered in the
                 electronic pollbooks to match the ballot number on the paper ballot received
                 including what would happen if the original ballot was later received.

        44.      Documents regarding how many ballot stub numbers were manually changed in
                 pollbooks.

        45.      Documents regarding under what circumstances would it be appropriate to alter
                 voter birthdates including how many birthdates were altered and how many voter
                 QVF's showed voters who were born in the year 1900 or earlier.

        46.      Documents regarding the residents registered for same-day registration including
                 how these ballots were processed and verified against a pollbook.

        47.      Documents regarding the use of an “unrestricted list” including why it was used
                 and how it was used and the list itself.

        48.      Documents regarding absentee ballots requested but never returned.

        49.      Documents regarding what happened to unsolicited absentee ballots that were sent
                 but never returned.

        50.      Documents regarding private funding of the election including, but not limited to,
                 CTCL money and “walking around” money used near polling places.

        51.      Stored memory of the official vote count and ballot images for audit trail in the
                 DRE machines.

        52.      Digital audit records generated for each component of the electronic voting
                 system.

        53.      All Windows event logs (System, Application, Security, Setup, etc.) for each
                 component of the electronic voting system.

        54.      A copy of the Windows System wide registry and all individual User Registry
                 files for each component of the electronic voting system.


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        55.      A list of all User Accounts for each component of the electronic voting system.

        56.      Full directory listing of all files with metadata for each component of the
                 electronic voting system.

        57.      A full credentialed Nessus vulnerability scan for every component of the
                 electronic voting system along with the mandated vulnerability scan performed as
                 part of the approved and certified baseline for each component of the electronic
                 voting system.

        58.      A list of all software, versions, and dates of installation for each component of the
                 electronic voting system.

        59.      A WLAN report (netsh wlan show) for each component of the electronic voting
                 system.


I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and
correct. Executed on January 18, 2021.
/s/ Dennis Nathan Cain
Dennis Nathan Cain




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   EVS 6042 CA Election
   Management System


   California Use Procedures




   Election Systems & Software, LLC
   Revision 1.1. July 2019
   EVS 6042 CA Election Management System
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       Systems

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Chapter 1: Introduction
        The ES&S EVS 6042 CA election management system is an integrated suite of
        products for conducting and reporting elections.

        EVS 6042 CA combines election management software with accessible voting
        and scanning equipment, providing end-to-end election support, from defining
        an election, to generating the final reports. EVS 6042 CA enables jurisdictions
        to operate results and reporting software, and optional ballot printing
        software, on a Windows 7 operating system.

        ES&S digital scanners use scanning technology similar to that of a copying
        machine to create two scanned images of the front and back of the ballot at
        the same time. These digital images are then processed by ES&S Electionware
        software, which creates a cast vote record (CVR). The CVR contains data from
        the front and back of the ballot and lists all vote selections made on the ballot.
        At the time of poll closing or data export, the CVRs are totaled to create
        aggregate results for that ballot scanning device. After the election,
        Electionware imports the tabulated results, machine logs, and images for
        reviewing, reporting, adjudication, and archiving.

   1.1 About This Manual
        This manual may have cross-references to other chapters or sections with
        information relevant to the current topic. If you are using the electronic version
        of this manual, click the blue cross-reference link to jump to that information. If
        you are using a printed version of this manual, the cross-reference tells you
        which section to consult.

     1.1.1 Chapter and Section Numbers
        Chapters are numbered in order. The headings of the topics within the chapter
        are also numbered in order, with the first number indicating the chapter, and
        subsequent numbers indicating that topic’s position within the chapter. For
        example, heading number “3.2.3” indicates that this section is in chapter three,
        under the second major heading of chapter three, and under the third
        subheading below that heading.




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     1.1.2 Informational Symbols
        The following symbols are used throughout the manual to call attention to
        specific types of information.

                            Table 1-1: Symbols Used in this Manual

            Caution
                              The Caution symbol appears next to information that
                              could help avoid errors in your election.


           Important
                              The Important symbol appears next to information that
                              could be critical to your election.


         Jurisdictional       The Jurisdictional symbol appears next to procedures
                              that may require you to modify them according to the
                              requirements of your jurisdiction.


              Note
                              The Note symbol appears next to information that is
                              helpful but not necessarily critical to your election.


            Warning           The Warning symbol appears next to procedures that
                              could cause damage to the election if improperly
                              executed.




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   1.2 Contact ES&S for Technical Support
        If you need additional assistance, ES&S technical support staff can provide
        advice and help you resolve the situation.

        When you contact ES&S for technical support, have the equipment on hand
        and be prepared to provide the following information to the support
        representative:

              • The version number of the product you are using (for example,
                Electionware version x.x.x.x).

              • The exact wording of any messages that appeared.

              • A description of what was happening when the problem occurred.

        Support representatives are available Monday through Friday, between
        7:00 a.m. and 7:00 p.m. Central Time.

                                     Telephone:   877-377-8683 (USA & Canada)
                                     Fax:         402-970-1285
                                     Email:       technicalsupport@essvote.com

        ES&S support services are subject to the prices, terms, and conditions in place
        at the time of service.




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   1.3 System Components
        ES&S supports central count voting systems and precinct count systems.

        The following sections describe the functionality of the EVS 6042 CA system
        components.

     1.3.1 Product Versions
        The following table provides a list of the hardware and software versions
        included in this release.

                               Table 1-2: Product Versions

                     Product                     Version Number

                     Electionware®               5.3.0.0

                     ExpressVote® XL             1.2.0.0

                     ExpressVote® HW2.1          2.5.0.0

                     DS200®                      2.20.0.0

                     DS450®                      3.3.0.0

                     DS850®                      3.3.0.0

                     ExpressLink®                1.5.2.0

                     Removable Media Service     1.5.3.0




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     1.3.2 DS200 Precinct Ballot Scanner
        Jurisdictions that use precinct count systems record election results at
        individual polling places as voters cast ballots.

        The DS200 is a high-resolution, paper-based precinct tabulator that scans voter
        selections from both sides of the ballot simultaneously. It has a large touch
        screen for voter communication, an integrated thermal printer for limitless
        Election Day printing, an easy-to-use interface and an internal battery pack for
        reliable power in the event of a power outage.




                                                                    DS200 Precinct Scanner
                                                                 (shown on attached secure
                                                                                ballot box)




        Voters insert their ballots directly into the DS200 at the polling place. The
        touch-screen scanner tabulates votes and may be configured to drop the
        scanned ballot into an attached secure ballot box, which has an easy transport
        rolling case.

        The DS200 can scan a variety of ballot sizes. It uses Intelligent Mark
        Recognition® (IMR) and Positive Target Recognition and Compensation®
        (PTRAC) technologies to determine what constitutes as a mark for a candidate.
        Scanned voter selections are stored to a USB memory device. The USB memory
        device is removable from the system for transport to a central election location
        where vote totals are consolidated for reporting.

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     1.3.3 DS850 Central Ballot Scanner
        Jurisdictions with central count systems generally collect ballots at multiple
        polling places and transport them back to election headquarters for scanning
        after the polls close. During the voting process, the scanners record votes from
        each ballot and add results to an internal results total.

        The DS850 central scanner and tabulator provides high-speed digital
        processing. It scans and automatically sorts ballots, separating them into one of
        three discrete bins without interrupting scanning. The DS850 can read ballots
        in all four orientations. The DS850 is designed with a series of rollers so ballots
        that were originally folded may be tabulated at the same rate of speed as
        standard ballots. The DS850 uses IMR and PTRAC technologies to determine
        what constitutes as a mark for a candidate.




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     1.3.4 DS450 Central Scanner and Tabulator




        The new DS450 central count scanner and tabulator provides high-throughput
        scanning of ballots and vote summary cards, sorting tabulated ballots and/or
        cards into discrete output bins without interrupting scanning. Like the DS850,
        the DS450 can be optionally configured to transmit tabulation results via closed
        network. The DS450 is also capable of incremental file exports, export on save,
        and exported batches reports.

        Easily manage folded ballots with the DS450 tabulator’s TruGrip™ technology.
        The high-throughput tabulator uses our patented IMR and PTRAC technologies
        to identify marked vote targets, increasing the accuracy of tabulation and
        eliminating manual adjudication time. The DS450 competes with the industry’s
        standard high-speed scanners while maintaining affordability for jurisdictions.

        The ballot tracking feature can save time and effort by enabling you to manage
        ballot jams without rescanning the entire run. Through messages on interactive
        screens and LED lights on the output bins, the DS450 walks the operator
        through setting aside all properly scanned ballots and rescanning the rest.

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     1.3.5 ExpressVote Universal Vote Capture Device
        The ExpressVote Universal Voting System has enhanced configuration options
        for optimal voter experience, including support for multi-card elections, blank
        ballot notification, two-column candidate display, and contest title wrapping. In
        addition to these features, the ExpressVote includes support for judges’ initials
        and review boxes, Electionware-based precinct order, and rear-eject
        management.




        The ExpressVote unit can optionally be mounted on a portable rolling kiosk,
        private adjustable voting booth, or multi-unit QuadExpress cart.




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     1.3.6 ExpressVote XL Full-Faced Universal Voting System
        The ExpressVote XL is a large-format vote capture and marking device
        designed for all voters. It serves non-English speakers and those needing
        special assistance, allowing all voters to cast vote summary cards
        independently. The ExpressVote XL has a 32-inch, touch-operated interactive
        screen. Jurisdictions with ballots too large to fit on the single widescreen
        display can configure multi-page ballots for the ExpressVote XL.

        Voters navigate ballot selections using the touch screen, detachable UVC
        keypad, or standard two-position ADA devices such as a sip-and-puff device.

        The ExpressVote XL guides voters through the ballot selection process with
        screen prompts, symbols, and ballot audio, if applicable. Screen controls meet
        all applicable guidelines for size and readability.




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        For multi-page ballots, the ExpressVote XL includes a vote summary screen,
        which is enabled or disabled in Electionware. This allows voters to confirm or
        revise selections before printing the summary of ballot selections. The system
        also prevents overvotes and can alert voters about undervotes or blank ballots.

        The ExpressVote XL’s integrated thermal card printer marks a voter’s selections
        on a verifiable paper vote summary card in human-readable format. If the
        election definition allows the voter to review the physical vote summary card
        before casting the ballot, the ExpressVote XL positions the vote summary card
        behind a clear viewing window. This enables the voter to visually inspect his or
        her printed vote selections without physically handling the card. After a voter
        verifies all selections, the system scans the marked vote summary card
        internally and saves a digital image of the card. The tabulated vote summary
        card is deposited into a secure card container attached to the ExpressVote XL
        cart.

        System and results reports can be printed from the ExpressVote XL’s integrated
        thermal report printer.




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     Universal Voting Console (UVC)
        The Universal Voting
        Console (UVC) is a
        detachable, audio-tactile
        keypad and ADA support
        peripheral for use with the
        ExpressVote XL. This
        device can serve all voters,
        including those with
        special needs, enabling all
        voters to cast votes
        privately and
        independently.




        The UVC features large, color-coded keys labeled with both visible text and
        braille characters. The keys enable the voter to navigate the ballot, make
        contest selections, open the help screen, adjust the audio volume and tempo,
        and use the blank privacy screen feature (for voters using an audio ballot).

        The UVC includes a 3.5mm connection port that supports all standard two-
        position ADA devices, including rocker paddle or sip-and-puff devices. For
        elections that support audio ballots, a second 3.5mm audio port supports
        headphones for voters who wish to vote an audio ballot. In addition, all buttons
        and connection points are labeled in braille for blind or low vision voters.




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     1.3.7 Electionware - Software Version 5.3.0.0
        Electionware® Election Management Software is for creating elections for ES&S
        voting, scanning, and tabulation equipment. Electionware is composed of five
        software groups containing ten modules.

        Use ES&S software to create an election information database, format ballots,
        program ballot scanning and tabulating equipment, and generate Election Day
        reports. Election Systems & Software products and services enable you to
        customize and scale election processes to meet the needs of your jurisdiction.


      Note        Electionware require the user to have a good working knowledge of
                  personal computers, the Microsoft® Windows 7 operating system,
                  the election process, and election terminology.


       1.3.7.1 Electionware’s Five Software Groups

        The following is a brief description of the five software groups within
        Electionware and their respective modules:

        Define – The Define group is used to input critical data for your election. The
        Define group modules are Home, Capture, and Element Library.

                    Use Home to create, edit, and manage your elections.


                    Capture is used to enter important election-specific information into
                    the election database. Use Capture to enter precincts, districts,
                    contests, candidates, parties, and other information applicable to
                    the election.

                    Element Library stores graphics for the ES&S equipment and system
                    translations for audio.

        Design – The Design group is for designing ballot and audio elements for your
        election. The Design group modules are Paper Ballot, Touch Screen Ballot, and
        Accessible Ballot.

                    Paper Ballot is opened in a separate window where paper ballot
                    layouts are designed for use with ES&S equipment.

                    Touch Screen Ballot is used to design flexible electronic ballots that
                    support multiple screen layout sizes.



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                    Accessible Ballot is used to format ballot display options as they will
                    appear, manage ADA audio settings, and validate data before the
                    election files are generated.

        Deliver – The Deliver group is used to configure equipment, package election
        data, and print ballots on demand. The Deliver group modules are Configure,
        Package, and Print.

                    Configure is used to set parameters and access codes for election
                    equipment, and generate election files for use with the ES&S
                    equipment.

                    Package is used to create election media files stored on the
                    equipment flash drives, and the ballot file for the ES&S electronic
                    pollbook.

                    Print is for viewing and printing BOD (Ballot on Demand) ballots by
                    precinct.

        Results – The Results group is used to import, manage, and report election
        results data from the tabulation media. The Results group module is Reporting.

                    Reporting loads election results, machine logs, cast vote records,
                    and ballot images. This module is then used to create the results
                    reports, review and adjudicate ballots, and review and manage
                    write-ins.

        Manage – The Manage group is used to manage users and jurisdictions in
        Electionware. The Manage group module is Setup.

                    At Electionware’s first use, Setup is the first module used. Setup
                    allows management of users and jurisdictions, as well as election
                    code strength.




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     1.3.8 ES&S Supporting Applications

   Product                        Version      Description
                                               Service supporting election media
   Removable Media Service         1.5.3.0
                                               programming
   ExpressVote, HW2.1                          Ballot preview for accessible voting
                                   2.5.0.0
   Previewer                                   equipment.
                                               Service supporting election media
   Event Log Service (ELS)         1.6.0.0
                                               programming
   Electionware-Server             5.3.0.0     EMS Server support

     1.3.9 Commercial Off-the-Shelf (COTS) Products

Product                                      Version            Description
                                                                Operating System for
 Windows 7 Enterprise                                           standalone and client
                                          64-bit, SP-1          workstations
                                                                Operating System for EMS and
Windows Server 2008 R2
                                                                results servers
Microsoft Patches                                               Software updates (Update
                                              11.4
(WSUS Offline Utility)                                          utility)
Adobe Acrobat                                  XI               Desktop publishing software
Symantec Endpoint Protection -
                                         1.4.2.0, 64-bit
Small Business Edition 2013
Symantec Endpoint Protection -
                                     20180622-002-
Intelligent Updater (File-Based
                                     core3sdsv5i64.exe
Protection)
Symantec Endpoint Protection -       20180621-062-                          Anti-Virus
Intelligent Updater (Network-        IPS_IU_SEP_14RU1.
Based Protection)                    exe
Symantec Endpoint Protection -
                                     20180618-001-
Intelligent Updater (Behavior-
                                     SONAR_IU_SEP.exe
Based Protection)




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   1.4 Terms and Definitions
                                   Table 1-3: Abbreviations

                      Term           Definition
                      BMD            Ballot Marking Device
                      BOD            Ballot on Demand
                      CBT            Central Ballot Tabulator
                      CVR            Cast Vote Record
                      ELS            Event Log Service
                      EMS            Election Management System
                      EQC            Election Qualification Code
                      EVS            ES&S Voting System
                      L&A            Logic and Accuracy (testing)
                      SFTP           Secure File Transfer Protocol
                      SOP            System Operations Procedures



                                 Table 1-4: Glossary of Terms

 Term                        Definition
                             Examination of a voting system and its components by the
                             purchasing election authority (usually in a simulated-use
 Acceptance Testing          environment) to validate performance of delivered units in
                             accordance with procurement requirements, and to validate that
                             the delivered system is, in fact, the certified system purchased.
                             Ballot on Demand enables the printing of individual ballots from a
                             personal computer on Election Day. Many jurisdictions order
 Ballot on Demand®           ballots based on voter turnout from the previous year instead of
 (BOD)                       printing a ballot for each registered voter in the jurisdiction. If
                             ballots run short, the jurisdiction uses Ballot on Demand to print
                             extra ballots on site.
                             Electionware users group ballot information for different political
                             parties in a primary or data for ballots that use different scanning
                             equipment into individual ballot databases called ballot sets.
 Ballot Set
                             When a user generates final election files from Electionware, the
                             program merges all of the ballot sets created for an election into
                             output files.



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                       Table 1-4: Glossary of Terms (Continued)

 Term                     Definition
                          A group of county officials who are responsible for making sure
                          that the number of ballots cast on Election Day is equal to the
                          number of ballots that are counted on election night. The
 Canvassing Board
                          canvassing board is also responsible for certifying the results of an
                          election, certifying final canvass reports and signing off results
                          reports from precinct and central scanners.
                          The column of numbered black boxes on the left side of a ballot
                          immediately right of the timing track. The scanner reads the
 Code Channel
                          combinations of boxes in this area to determine the precinct, split,
                          type and style of the ballot.
                          Jurisdictional, contest, and candidate data loaded into voting and
 Election Definition
                          scanner/tabulator machines for an individual election.
                          A portable flash media device containing the election definition in
 Election Media           encrypted form, used to transfer data to and from ES&S
                          equipment.
 Logic and Accuracy       A public test performed prior to Election Day to demonstrate that
 Test (L&A Testing)       the election system counts and reports election results correctly.
                          A zero report is a version of the results report that is only available
 Zero Report / Zero
                          when no results are on the machine. It is used to verify that any
 Tape
                          prior vote data has been cleared.




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Chapter 2: Paper Ballot Specifications
   2.1 Electionware Paper Ballot
        Electionware ballots are one or two-sided.

        Machine-readable components are areas of the ballot that scanners recognize
        to record marks.

        Voting Targets (Ovals) – A voting target is an oval that appears next to each
        candidate name (or referendum response). Voting targets are marked by the
        voter to indicate selection. Properly printed ovals are invisible to optical
        sensors. Place ballot text, tint, or ruling lines no closer than 0.20 inches
        (0.508 cm) from the oval. The oval line thickness is configured in Electionware.
        The value entered must be within the range of 0.004 inches to 0.006 inches.

        For proper scanning and tabulation, the actual printed line must not exceed
        0.008 inches in thickness. Use a micro ruler to validate proper thickness of the
        printed oval line.

        Timing Marks – Timing marks are the rows of black squares used by the digital
        scanner to control ballot processing speeds. These marks serve to validate
        ballot registration and locate the voting targets.

        Code Channel – This is the column of numbered black squares on the left side
        of the ballot. The scanner uses them to determine the precinct, split, type, and
        style of the ballot.

        Registration Crosshairs – In early versions, these marks were used to verify
        that the ballot was within ES&S registration specifications. This function is now
        fulfilled by the Timing Marks. Registration Crosshairs can still be optionally
        added to the ballot PDF.

        Cut Marks – These marks are used to guide you or your print service when
        cutting the ballots down to correct size.




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     2.1.1 Timing Mark Alignment
        The timing marks create a virtual grid over the ballot. Each voting target
        position on the ballot is aligned within the intersection of a row and column.

        The scanner uses the timing mark alignment to compensate for any image
        distortion and accurately locate the voting targets.

   Registration Crosshairs                                       Cut Marks




                                                                    Vote Targets




               Code Channel
                                         Timing Marks

        Electionware Paper Ballot




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     2.1.2 Timing Mark Spacing
        The timing mark spacing (also referred to as density) varies according to ballot
        length and number of voting targets per inch, allowing for different row counts
        for each size. When checking the ballot, be sure to use the correct overlay for
        ballot size and timing mark spacing.

          Table 2-1: Column Widths According to Ballot Length & Ovals/Inch

                        5mm                    6.5mm                       8mm
     Length             0.20"                   0.26"                      0.31"
                  (5 ovals per inch)     (3.8 ovals per inch)       (3.1 ovals per inch)

      11"                  50                     38                          N/A

      14"                  65                     50                           41

      17"                  81                     62                           50

      19"                  91                     70                           56




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   2.2 ES&S CountRight Ballot Stock
        ES&S CountRight™ Ballot Stock has been specially engineered to run on ES&S
        tabulators and meets all ES&S specifications for the ES&S tabulators.


  Important
                   The use of CountRight Ballot Stock is highly recommended when
                   printing for ES&S equipment.



        As the manufacturer of the scanning equipment, ES&S understands the critical
        synergy required between the ballot paper, the ink on the paper, and the
        tabulator logic. As a result, CountRight Ballot Stock was designed with specific
        consideration regarding the following measurements:

        Caliper – Thickness of the paper

        Opacity – Amount of light absorbed vs. reflected by the paper

        Brightness – Reflectance of the paper when measured under a calibrated
        wave of light

        Smoothness – Measurement of surface “roughness” of the paper

        Basis Weight – Mass (expressed as weight) per number of sheets

        ES&S tabulators are designed to use digital CountRight Ballot Stock, which is
        blank with no pre-printing for the DS200, DS450®, and DS850®.

     2.2.1 Ordering CountRight Ballot Stock
        When ordering stock, it is critical to tell ES&S what type of tabulator(s) you are
        using in order to ensure that correct stock is ordered. CountRight is available
        from two sources:

              • As the only authorized distributor of CountRight, Veritiv offers parent
                sheets and rolls in several sizes and formats.

              • ES&S stocks and markets CountRight Ballot Stock in several sizes and
                formats.

        Contact ES&S Customer Service at 1-877-377-8683 with any questions or
        orders. Allow four weeks for delivery.



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     2.2.2 CountRight Specifications
                                 Table 2-2: Ballot Specifications
 Grain Direction on Finished Ballot                     Long
 Basis Weight                                           80# text weight (36.2874 kg)
 Thickness                                              0.0061 in. (0.015494 cm)
 Smoothness                                             130 Sheffields
 Moisture                                               5.5 percent
 Opacity                                                97.0
 Brightness                                             92 to 94
 Pages per Inch (PPI)                                   338


                                       Table 2-3: Tolerances
 Ballot Width                                           8.5 in. (+.027, -.02)
 Ballot Length                                          11, 14, 17, 19 in. (+/- 0.03)
 Ink Density                                            1.15 to 1.25 wet ink density; 1.10 to 1.15
                                                        dry ink density
 Oval Thickness                                         The value entered in Electionware must be
                                                        within the range of 0.004 inches to 0.006
                                                        inches.a
    a. For proper scanning and tabulation, the actual printed line must not exceed 0.008 inches in
       thickness. Use a micro ruler to validate proper thickness of the printed oval line.



                     The DS200, DS450, and DS850 can accommodate ExpressVote
  Important
                     activation cards.

                     The DS200, DS450, and DS850 cannot read colored ballot stock.

                     Avoid using adhesive stickers or labels and avoid embossing or
                     embellishing when printing ballots. Any technique that changes the
                     caliper of the ballot stock may cause read errors during scanning.




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     2.2.3 Paper Storage and Conditioning
        For optimal print quality and paper performance, follow these recommended
        guidelines.

       2.2.3.1 Storage

        Preserve the paper quality by storing in proper containers and climate.

                Containers

        Leave the paper sealed in its original wrapping and/or shipping carton until it is
        time to load it into the printer. Once opened, it is more likely to be affected by
        moisture, which can cause curling, waves, and other damage to the paper.

        Once a ream of paper is opened, if some paper is not immediately used, reseal
        the wrapper with tape, and/or store the unused paper in a sealed plastic bag.


     Caution       Do not store paper in the printer’s paper trays.

                   Do not store paper on the floor. Use pallets, shelves, cabinets, etc.


                Stacking

        Stack individual reams or cartons carefully on top of one another to avoid
        crushing edges.

        Stack cartons no more than five high, and pallets no more than three high.

                Climate

        Store paper at a temperature of 68°F/20°C to 76°F/24.4°C, at relative humidity
        of 35 to 55%.




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          2.2.3.2 Conditioning

          Paper conditioning refers to the time required to acclimate to print room
          conditions before printing.


      Note
                   Conditioning coated paper is generally a longer process than
                   conditioning uncoated paper.



          Separating the cartons speeds up conditioning.

          Use the chart below to determine the exact amount of time required between
          moving the paper into the print room and starting to print.


      Note         “Temperature Difference” refers to the difference between the
                   temperature during transport and the temperature of the print
                   room.




                       Table 2-4: Conditioning Hours for Ballot Paper

                                  Temperature Difference (Degrees F/C)
 # Cartons      10/5.5      15/8.5    20/11     25/13         30/17        40/22        50/28

                                                 Hours
      1            4          8          11       14            17           24           34
      5            5          9          12       15            18           25           35
     10            8         14          18       22            27           38           51
     20           11         16          23       28            35           48           67
     40           14         19          26       32            38           54           75




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   2.3 Color Strip Identification
        To assist with correct ballot distribution at the polling place, ES&S ballots can
        use a color strip instead of full color tinting.

        The strip can be any color and darkness, as it is placed on a part of the ballot
        that the scanner does not read, and can be horizontal or vertical.

                  Text or ballot art can appear within the color strip. However,
      Note
                  because the scanned image will be black and white, the strip may
                  appear black, rendering dark text unreadable. Check with your
                  jurisdiction to see if white text can be used against a particular color
                  strip.

        Along the long edge of the ballot, the color strip can be flush with the borders
        of the inner frame. Along the short edge of the ballot, the strip must be 0.10
        inch from the border of the inner frame.

        The strip is considered ballot art, and must be 0.20 inch away from the nearest
        voting target. This limits the height of a horizontal strip, and the width of a
        vertical strip.




        Example of vertical color strip layout




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   2.4 Color Rendering
        Because the DS200, DS450, and DS850 scanners render images in black and
        white (no gray), the color strip will be rendered as either black or white.

        Refer to the color chart and table on the following pages when selecting color
        for use on the ballot.


      Note        This table is provided as a reference only. Colors may be rendered
                  differently depending on different parameters, including ink (dye
                  quality) and printer manufacturer.


     2.4.1 Shading Guidelines
              • For any shaded areas with dark text, ES&S recommends that shading
                not exceed 10%.

              • For 100% shading, ES&S recommends a high contrast color for text
                (e.g., white text on black shading).

              • Shading does not affect tabulation. It only affects human readability of
                text in shaded areas.




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                       Table 2-5: Ballot Layout Color Guidelinesa

            Color            Threshold for White             Threshold for Black
            Black                       < 30%                           > 40%
            Red                         < 30%                           > 40%
            Green                       < 50%                              *
            Cyan                        < 50%                              *
            Orange                      < 35%                           > 50%
            Blue                        < 30%                           > 40%
            Magenta                     < 30%                           > 40%
            Yellow                      < 50%                              *
            Purple                      < 40%                           > 55%
              a. Colors with an asterisk (*) are usually rendered as white by the DS200
                 due to the green light it uses for scanning.




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   2.5 ExpressVote Card Stock
         The ExpressVote® uses specially manufactured thermal paper to record printed
         images such as bar codes and contest selections. The unit’s thermal printer
         selectively heats the paper on one side to activate the dye(s) in the paper. The
         paper stock is processed to prevent moisture from causing the paper to curl.

         Approved grades are PTI’s “PTI 351 14N,” and Appvion’s “Resiste 800-5.3.”

         ExpressVote card stock is only available from ES&S. Contact ES&S Customer
         Service at 1-877-377-8683 with any questions or orders. Allow four weeks for
         delivery.

         ExpressVote paper specifications are provided in the table below and
         illustrated on the following pages.

                     Table 2-6: ExpressVote Paper Specifications

 Type                  Thermal heat-sensitive paper
 Color                 White
 Thickness             134 Microns ± 6 Microns (0.005275” ± 0.000236”)
 Lengths Available     11, 14, 17, and 19-inches ± 0.015” tolerance for all lengths
 Width Available       4.260 ± 0.015” tolerance for all paper lengths
 Die-cut Corner        0.750 ± 0.015” tolerance on two sides
                       (see the figures on the following pages)

     2.5.1 Storage and Shelf Life Recommendations
         Shelf Life – Store ExpressVote thermal card stock in a dark place at a relative
         humidity between 45% and 65% and a temperature below 77°F (25°C).
         Adhering to these recommendations will ensure satisfactory performance for at
         least three years from the date of manufacture.

         Image Life – Once an ExpressVote vote summary card has been imaged, the
         image is expected to remain completely legible for at least seven years,
         assuming the documents are properly stored with compatible materials under
         normal filing conditions, with a relative humidity between 45% and 65%, as well
         as a temperature below 77°F (25°C).

         After seven years, the image may begin to deteriorate. After twenty years, the
         image may no longer be visible.



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     Caution
                   Exposure to heat renders the card stock black and unusable.




        ExpressVote thermal paper stock: 11 inch & 14 inch



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        ExpressVote thermal paper stock: 17 inch & 19 inch
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   2.6 Offset Production
     2.6.1 Ballot Ink for Offset Production
        Print all of the machine-readable components with high quality, commercially
        available black ink (extra or double-black) and note the following guidelines:

              • Use inks with high tack.

              • Only use readable black ink to print ballot components.

              • Make sure that all offset is solid and dense without voids,
                breakthroughs, dirt, foreign particles, white hickeys in the timing marks,
                or gray lines.

              • Print with a minimum density of 0.95 and a maximum density of 1.50.
                Test at the press using a densitometer.

              • For best results, use a density of 1.15.

              • Do not use powder or varnish.

              • Do not smear, smudge, or spray the ink when handling the ballots.

              • Do not print text in the active voting tracks.

     2.6.2 Offset Pre-Press Preparation
        Before going to press, use the instructions that follow to prepare the ballot
        layout for mass printing.

        In offset printing, use diazo-coated aluminum or high quality vinyl plates to
        preserve the integrity of the film image. (Paper plates do not maintain the side-
        to-side dimensions of the ballot image.)

        1. Image the PDF file to film negatives or direct to plate at 100%. A PDF file
           can vary as much as 0.5%, depending upon how the software is handled by
           the output devices.

        2. Use the registration overlays obtained from ES&S to verify that the PDF is
           sized correctly, that all machine-readable components are aligned, and that
           all cut marks and score marks appear on the ballot.

        3. Inspect the ballot for accuracy with registration overlays, hard copy laser
           prints (if one is sent) and a visual inspection of the document image. Check


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             the ballot for wrapping, overprinting, dropping lines, text outside the text
             areas, or other signs of a corrupt file.


      Note
                   Contact ES&S Print Services to obtain the registration overlays, or
                   for additional assistance.



     2.6.3 Prepare Ballot Stock
        Only use ES&S CountRight Ballot Stock and ballot ink that adheres to the
        specifications in this manual.

        Square the stock before sending it to the press.

       2.6.3.1 Offset Preparation, Printing, and Proofing

        1. Print 150 make-ready sheets and cut to the final size. Check the following:

              • Ballots are square.

              • Front-to-Back registration is accurate by holding ballot to the light.

              • Width is accurate by using a registration overlay.

              • Any visible spots or scratches on the ballot or printing plate.

        2. Turn the ballot over and do the tests again on the back of the ballot. If all
           four tests on each side fall within tolerances, the scanner will be able to
           read the ballot.

        3. After performing registration checks, print and inspect the ballots. Allow
           the ballots to dry.

        4. For every 500 sheets printed on the main production run, check the
           following and initial accordingly:

              • Ink density with a densitometer.

              • Overall print quality – visible flaws, spots, or marks on the ballot or
                printing plate.

              • Make any corrections/adjustments necessary to the printer. Reprint, and
                replace ballots as needed.


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       2.6.3.2 Offset Cutting

        The first few sheets should be taken to the cutter immediately to determine if
        all is square. Stack ballots in lift sizes of 3 to 5 inches (7.62 to 12.7 cm). The
        weight of the ballot stock may cause offset during the drying process if placed
        in stacks higher than 5 inches (12.7 cm).


      Note        Keep ballot stock clean before, during, and after printing. Avoid
                  grease, water, ink splatter or spray, and dirt. Always wash hands
                  before handling ballot stock.


     2.6.4 Cutting
        To ensure ballots are the proper size, use the overlays to determine overall
        ballot width and length.

        ES&S CountRight Ballot stock is already cut to size; however, check the ballot
        stock with the appropriate overlay to ensure it is properly cut.

        If printing from a roll-fed machine, or cutting down from offset press sheets,
        periodically check with the appropriate overlay to ensure the ballots are cut to
        the correct width and length.

     2.6.5 Scoring Ballots
        Ensure that no scoring/folding does not intersect with any ovals.


     Caution
                   Scoring followed by folding may result in the ballot separating at
                   the score/fold line.




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     2.6.6 Folding Ballots
        A folding machine should be used to expedite the process of folding ballots. In
        addition, roller pressures should be reduced to about 2 – 3X thickness of ballot
        stock.

                    • Do not fold across timing marks, ovals, write-in spaces (marked
     Caution
                      or unmarked), or arrows, as this may cause tabulation errors.

                    • Fold as few times as possible.

                    • When removing from envelopes, place all ballots in the same
                      orientation for proper back-bending.

     2.6.7 Perforating and Numbering Ballot Stubs
        A ballot stub is a non-readable portion of the ballot that election workers
        remove at the polling place for auditing purposes. Stubs usually contain at least
        one identification number (such as a precinct identification number or
        sequence code number) and a sequentially printed number that matches the
        number on the ballot, used to audit ballots that have been cast. Ballots should
        be perforated for easy separation.




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   2.7 Digital Printing and Packaging
        When printing, use the tools listed below to check the following:

              • Registration Overlay:

                 • Registration
                 • Ballot width
                 • Ballot length

              • Go/No-Go Gauge:

                 • Ballot width

              • Densitometer:

                 • Ink/toner density

              • Micro-ruler:

                 • Oval line thickness

        On every ballot inspected, check the following:

              • Overall print quality - any visible flaws, spots or marks

              • Front-to-back registration

              • Proper toner/ink adhesion


     Note
                   Contact ES&S Print Services to obtain the registration overlay and
                   correct Go/No-Go Gauge.


  Important        If any of the measurements do not align with ES&S specifications,
                   make any corrections / adjustments necessary to the printer, reprint
                   and replace ballots as needed.


     2.7.1 Preparation and Proofing
        After receiving the files, all ballot sequences must be proofed to ensure that
        information on the ballot is correct.



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       2.7.1.1 Pre-Production

        Before printing, verify that the following components on the ballot PDF match
        those on the ballot order form (also referred to as the BQRL), and record the
        results on the form:

              • Correct party or ballot style

              • Stub, sequential numbering, or color requests

              • Scoring/folding, stapling, gluing, or any special finishing requests

              • Type/sequence/split or style number

       2.7.1.2 Overlays and Registration

        A PDF can change, depending upon the software used, and although the
        change may not be visible (about 0.5%), it could be enough to cause read
        errors or ballot rejection on ES&S equipment. Use the registration overlays
        provided by ES&S to ensure that the ballots being produced are within ES&S
        specifications.

                Using Registration Overlays

              • Ensure that you have a “front” and a “back” overlay.

              • Align the top and right edges of the ballot with the “edge of paper”
                lines on the overlay, and inspect the printed ovals. The ovals must be
                printed entirely inside the boxes. If any part of the oval is outside the
                box, the ballot is not within registration. The PDF or printer must be
                adjusted, and the ballots reprinted, until the sizing and registration are
                correct.

              • Verify that the black timing marks and code channels are within the
                boxes printed on the overlay. The left and bottom edges of the ballot
                must fall between the Min. and Max. lines when the top and right edges
                are on the “edge of paper” line. If any part of the marks is outside the
                box, the ballot is not in registration. The PDF or printer must be
                adjusted, and the ballots reprinted, until the sizing and registration are
                correct.




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      Note
                   Check front-to-back registration on the ballot by holding it up to a
                   light. The timing marks must line up evenly.



                 Overlay 11-38 - 24 Column - Ver. 1




                                                         Minimum Length

                                                        Maximum Length


        Example: EVS Registration Overlay
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       2.7.1.3 Print Inspections

        For every 250 ballots run, check and initial the following:

              • Check registration, width, and length using the registration overlay.

              • Check front-to-back registration on the ballot by holding it up to a light.
                The timing track should line up evenly.

              • Measure oval line thickness with the micro-ruler.

              • Check overall print quality (any visible flaws, spots, or marks).

        Make any necessary corrections/adjustments to the printer. Reprint and replace
        ballots as needed.

        For every 1,000 ballots run, check and initial the following:

              • Measure width using the Go/No-Go Gauge.

              • Measure ink density using the densitometer.

              • Check overall print quality (any visible flaws, spots, or marks).

              • Check proper toner adhesion.

        Make any necessary corrections/adjustments to the printer. Reprint and replace
        ballots as needed.

     2.7.2 Preparation for Transport
       2.7.2.1 Packaging

        Before shrink-wrapping and shipping the ballots, perform these final tasks:

              • Fan through the pages (both front and back) to visually identify any
                visible errors or marks. Reprint and replace ballots as necessary.

              • Use chipboard when shrink-wrapping quantities of fewer than 50
                ballots.

              • Do not shrink-wrap quantities greater than 250.

              • Include a packing list or label each ballot box to clearly indicate which
                ballots are in each specific box for easy customer recognition.


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       2.7.2.2 Binding and Shipping

              • Bind, number, and box the ballots for shipping. If the ballots are to be
                glued or stitched, do so at the bottom of the ballot stub.

              • Do not bind ballots at the top.

              • Ship the exact number of ballots that have been requested in shrink-
                wrapped packaging.

              • Package ballots with a backer to provide support and prevent damage.

              • Ship ballots in containers large enough to hold in the ballots and strong
                enough to withstand damage that may occur during normal shipping
                and handling.

              • Label the outside of the cartons “ELECTION MATERIALS” and include a
                shipping manifest unless directed to do otherwise.


      Note
                  Call ES&S or the client for labels or for further assistance.




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Chapter 3: System Configuration and
           Acceptance Testing
   3.1 EMS Installation and Configuration Documents
        EVS 6042 CA EMS installation and configuration procedures are provided in
        the following accompanying documents:

              • EVS 6042 CA EMS Client Workstation Installation

              • EVS 6042 CA EMS Server Installation

              • EVS 6042 CA EMS Standalone Workstation Installation

   3.2 Upgrading Firmware
     3.2.1 DS200 Firmware Update
        To install new firmware on the DS200, first obtain an official DS200 firmware
        update USB flash drive from the Secretary of State.

        1. Power off the DS200 unit.


      Note
                  The DS200 must be powered off before the firmware USB is
                  inserted.



        2. Unlock and open the front and rear access doors on the DS200 and remove
           any flash drives.

        3. Insert the USB flash drive containing the firmware update into the USB port
           under the rear access door (normally used for the backup drive).
           Do not force the flash drive into the port.




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                                              Backup USB
                                              Port




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        4. Turn the DS200 on.




        5. When the Upload New Firmware screen appears, touch Continue.


      Note
                  Do not remove the USB flash drive during this process.



             When the firmware update is complete, a confirmation message will
             appear.


      Note
                  When the DS200 is switched on, the firmware version will appear on
                  the initial state report.




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        6. Per the on-screen instructions, remove the flash drive, then turn off the
           DS200 unit.


      Note         If the firmware update is unsuccessful, update the DS200’s internal
                   compact flash (CF) card with a new prod.release.image file, then
                   repeat the steps in this section.


     3.2.2 Central Count Firmware Update
        To install new firmware on the Central Count, first obtain official firmware
        update CF cards from the Secretary of State.

        The DS850/DS450 firmware is updated using the following items:

              • Auto Hard Drive Erase CF card

              • New DS850/DS450 firmware CF card



    Warning        Be aware that loading new firmware onto a Central Count tabulator
                   will clear everything off the hard disk. Before starting this process,
                   ensure that you have retrieved all needed data from the hard drive.


        After you load new firmware onto the Central Count tabulator, you must
        calibrate the touchscreen and the camera.

        1. Touch Exit in the lower
           left corner of the screen.

             (If you are on a screen
             that does not display the
             Exit icon, touch Menu to
             navigate to a screen
             displaying that icon.)




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        2. Touch Shutdown
           Scanner.
           a. If using a DS850
              tabulator, unlock and
              open the access door
              on the left side of the
              tabulator.



        3. When the screen
           indicates it is safe to
           power off the machine,
           flip the power switch on
           the left side of the tabulator to the off position.

        4. Unlock and open the rear panel on the tabulator. (You do not need to
           remove the screen.)

        For CF card removal, depending on the model of your tabulator, proceed to
        either 3.2.2.1 DS850: Remove Current CF Card (next page) or
        3.2.2.2 DS450: Remove Current Firmware CF Card.




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       3.2.2.1 DS850: Remove Current CF Card

        1. Locate the CF card access panel.




        2. Unscrew the four thumb screws holding the
           access panel in place, remove the thumb
           screws, and remove the panel.




        3. Remove the old CF card.




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       3.2.2.2 DS450: Remove Current Firmware CF Card

        1. Remove the old firmware CF card from its slot in the upper right portion of
           the back of the machine.




       3.2.2.3 Erase Hard Drive and Load New Firmware

        1. Insert the Auto Hard Drive Erase CF card, with the ridge on the back of the
           card facing out (DS850)/down (DS450).


      Note
                  Do not force the CF card into the slot. Ensure that the card is
                  oriented correctly.



        2. Flip the power switch to the on position.

    Warning        Turning on the tabulator at this point will start the process of erasing
                   all data from the hard drive. Ensure that all necessary data has been
                   retrieved.


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             After you start this process, you will have 60 seconds in which to shut down
             the unit if you decide you do not want to clear the hard drive.

             Once the unit boots up, the touch screen displays a 60-second countdown
             message. When the countdown is complete, the formatting process begins
             and takes 7 to 10 minutes. An incrementing counter on the touch screen
             indicates the status of this process. When the formatting is complete, the
             tabulator automatically partitions the hard drive.

             When the hard drive has been cleared, formatted, and partitioned, the
             touch screen displays the following message:

                  Your Hard Drive is Wiped
                  Please turn off your DS850/DS450 and Replace the CF card

        3. Shut down and turn off the tabulator.

        4. Remove the Auto Hard Drive Erase CF card.

        5. Install the new firmware CF card and reattach the CF access cover.

        6. Close and lock the rear panel of the scanner.

        7. Flip the power switch to the on position.


      Note
                   After loading the new firmware, you must calibrate the screen and
                   camera, and clear and initialize the tabulator.


       3.2.2.4 Test and Calibrate Camera

        You must do this extended camera calibration after upgrading the Central
        Count tabulator firmware to ensure the camera is properly calibrated to work
        with the new firmware.

        This procedure requires 40 sheets of blank 14-inch ballot stock, oval check
        sheet.

        1. Load an election that has been coded for the new tabulator firmware. If you
           do not load an election at this time, you will be unable to properly calibrate
           the camera.

        2. Set the output trays for 17-inch ballots.


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        3. On the Scanning menu, touch Scan Ballots.

        4. Load the oval check sheet into the input hopper.

        5. Touch Start. The tabulator will scan the oval check sheet and out stack it to
           the top tray.

        6. Touch Save.

        7. Touch Save a second time.

        8. Touch Done.

        9. Go to the Hardware tab located at the bottom left of the screen.

        10. Touch Transport.

        11. Enter the administration password for the current election.

        12. Touch Tests.

        13. Touch Display Ballot.

        14. View the front and back of the ballot on the touch screen, using the
            navigation commands to move the image around on the screen so you can
            view the entire image. The ovals displayed on the screen should look
            consistent from one side of the image to the other.

            The ovals printed on the oval check sheet appear from top to bottom of the
            page in a repeating pattern of the following thicknesses:

                    • 0.010 inch
                    • 0.008 inch
                    • 0.006 inch
                    • 0.004 inch
                    • 0.002 inch

            The 0.002 inch ovals will be broken up or not visible. Ovals of all other
            thicknesses should appear intact.




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            The following is a sample of a good ballot image. Notice that only the ovals
            of 0.002 inch thickness are broken or not visible.




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            The following is a sample of a bad ballot image. Notice that the ovals of
            0.004 inch thickness, as well as those of 0.002 inch thickness, are broken or
            not visible.




        15. If the oval check sheet looks good, clear the counts from the machine. The
            tabulator is now ready for counting.

            If the oval check sheet does not look good, repeat the camera calibration.

        16. Return to the Hardware tab.

        17. Touch Camera.

        18. Enter the administration password.

        19. Touch Camera Calibration.

        20. Adjust the output trays for 14-inch ballots.

        21. Clean the cameras with a lint-free cloth and isopropyl alcohol.

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        22. Load the input tray with 10 sheets of blank 14-inch ballot stock.

        23. Touch Calibrate. The tabulator will feed the blank ballot stock, four times.

        24. Touch Shutdown when prompted to do so. Wait for the touch screen to
            display a message that it is safe to shutdown the machine.

        25. Turn off the power to the tabulator. After 30 seconds, turn it back on.

        26. Repeat the camera calibration.

        27. When camera calibration is complete, close and lock the access door on the
            left side of the tabulator.


    Contact       If the ballot images remain unsatisfactory after two attempts to
                  calibrate the cameras, contact ES&S technical support for
                  assistance.


     3.2.3 ExpressVote Firmware Update
        To install new firmware on the ExpressVote, first obtain an official ExpressVote
        firmware update flash drive from the Secretary of State.

        When ES&S makes improvements to the ExpressVote firmware, ES&S issues a
        firmware update media device (USB flash drive) you can use to upgrade your
        ExpressVote units. Significant updates may require a reformatted internal solid-
        state drive (SSD), sometimes referred to as the Innodisk.


      Note
                  For more information about updating and reinstalling the
                  ExpressVote’s SSD, contact ES&S personnel or the SOS office.



        A firmware upgrade may involve enhancements to the ExpressVote application
        GUI (Graphical User Interface), the SPE (Scanner Printer Engine), or the IOB
        (Input Output Board). You can upgrade the SPE and the IOB simultaneously.

        If your update includes enhancements to the firmware as well as the SPE and/or
        IOB firmware, perform the SPE/IOB update(s) first, then perform the
        application firmware update separately.

        Use the Upload Software function to perform an ExpressVote firmware update
        either from an external update flash drive or from the internal SSD.

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       3.2.3.1 Uploading Software from an External Device

        Complete the following steps to upload software using a USB update flash
        drive.


      Note        If your update includes enhancements to the Application firmware
                  as well as the SPE and/or IOB firmware, ES&S recommends that you
                  perform the SPE/IOB update(s) first, then perform the Application
                  update separately.

        1. Set the ExpressVote unit to Official mode.

        2. Insert the flash drive with the new firmware into any USB port in the access
           compartment.

        3. On the main menu, touch System Administrator.




        4. Enter the administrator security code and touch Accept.




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        5. On the ExpressVote System Administrator Menu, touch Upload Software.




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        6. On the Upload New Firmware screen, if you are updateing update the SPE
           and/or IOB components, select the SPE (Scanner Printer Engine) and/or
           IOB (Input Output Board) options.




            If you select SPE or IOB, the screen expands to include additional options.
            The ExpressVote unit detects the presence of the flash drive and selects the
            From Update Media by default. Ensure that this option is selected.

        7.Touch Begin Upload Firmware.
           The uploading process continues automatically. Green, yellow and white
           status bars indicate the upload progress.

            The ExpressVote may require rebooting as part of the upgrade process.
            The unit may appear inactive during the reboot cycle, which may take
            several minutes to complete. This state is normal. The reboot process is
            dictated by the following conditions:

              • If you upgrade only the SPE, rebooting the unit is not necessary.

              • If you upgrade the IOB, either alone or with the SPE, the ExpressVote
                will reboot automatically.



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              • If you upgrade the Application GUI (see next step), the screen displays
                the REBOOT button. Touch REBOOT to initiate the reboot process.
                The REBOOT button turns yellow to indicate that the reboot is in
                process.

        8.On the Upload New Firmware screen, select the Application (Graphical User
           Interface) option to update the ExpressVote firmware.




        9.Touch Begin Upload Firmware.

        10.After the upload and reboot are complete, use the Software Versions
           function of the ExpressVote Main Menu to verify that the updated firmware
           versions are successfully installed.


  Important        ES&S recommends that you use the Scanner Calibration function via
                   the System Administration Menu to recalibrate the ExpressVote’s
                   scanner after uploading new software. You may also consider
                   recalibrating the unit’s touch screen at this time.




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     3.2.4 ExpressVote XL Firmware Update
        To install new firmware on the ExpressVote XL, first obtain official
        ExpressVote XL firmware update from the Secretary of State.

        The ExpressVote XL firmware is updated using the following items:

              • New firmware image file (*.img)

              • Zero image file (zero.img)

              • USB CFast card reader

              • Imaging utility, such as imageUSB

        Perform the following steps:

        1. Turn off the ExpressVote XL.

        2. Remove both CFast cards from the unit.

        3. Image files using the CFast reader and imaging utility:
           a. Image the new firmware onto the OS card (2G, left slot).
           b. Image the zero.img file onto the data card (4G, right slot).

        4. Install the reimaged cards into the ExpressVote XL and turn the power on.




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   3.3 Acceptance Testing
        State and/or local jurisdiction election purchasing authorities are responsible
        for acceptance testing of the voting system and components. Authorities are
        also responsible for validating the performance of delivered units based on
        procurement requirements and for verifying that the delivered system is the
        certified system originally purchased.

        Acceptance tests are usually completed on-site at the jurisdiction’s acceptance
        location. The acceptance test requires the tester (jurisdictional representative)
        to acknowledge the performance of the requisite steps, then sign and date the
        acceptance form.

        Acceptance testing is required to confirm the proper installation and operation
        of the EMS system and the election definition (the set of variables that define
        the specific election). The election definition media can be programmed by
        ES&S with client election data, or it can be created on-site by the client, using
        the EMS.

                Inspect Shipping Containers and Packaging

        Inspect the shipping container for signs of damage or mishandling before
        opening and unpacking. If damage is evident, do not open and unpack without
        first notifying the vendor.

     3.3.1 Software Pre-Test Procedures: Electionware
        Perform the following steps to complete acceptance testing of Electionware for
        EVS 6042 CA.


      Note
                  For additional information about Electionware software, refer to
                  EVS 6042 CA Election Program Guide.


        1. Open and log into Electionware.

        2. Click Help, the select About Electionware.

        3. Verify that the software version in the upper left corner of the dialog box is
           5.3.0.0.

        4. Click OK.

        5. In Setup, add a State and County.

        6. In Home, create a new Election.

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        7. In Capture, either import the election data, or:
           a. Add Languages.
           b. Add Parties.
           c. Add Precincts.
           d. Add District Types and Districts.
           e. Assign Precincts to Districts.
           f. Add Office Headings
           g. Add Contests and Candidates.
           h. Add Polling Places.
           i. Assign Precincts to Polling Places.
           j. Generate Ballot Styles.

        8. In Element Library, import any system translations and/or audio files
           needed for the election.

        9. In Paper Ballot:
           a. Create and save a Ballot Layout.
           b. Finalize the Ballot Layout.
           c. Generate BOD Data.

        10. In Accessible ballot:
           a. Import any ballot audio files needed for the election.
           b. Validate the election data.
           c. Preview the accessible ballots.

        11. In Configure Equipment:
           a. Set Equipment Security Codes.
           b. Configure the Equipment Settings.
           c. Generate the Election Data.

        12. In Package and create the Qualification and Equipment media on their
            respective flash drives.

        13. In Print, print BOD Ballots.


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     3.3.2 Hardware Acceptance Testing
        To confirm the proper functionality of the hardware, users should follow and
        complete the steps detailed in the Acceptance Testing section provided for
        each hardware device. These steps contain product-specific inspection of each
        device. Performing the procedures outlined in the hardware sections verifies
        that the hardware is functioning properly and has not been damaged in
        transport. ES&S recommends performing acceptance tests upon initial receipt
        of the device. Acceptance tests are also recommended prior to each election.
        To perform acceptance testing, the jurisdictional representative must complete
        the steps detailed in each section.

       3.3.2.1 DS200 Acceptance Testing

        The following is a recommended list of the DS200 acceptance testing criteria.
        Upon receiving a new DS200 or a unit that had been sent out for maintenance,
        ES&S recommends that you perform each item on the checklist.

                Visual Inspection

        Ensure that there are no scratches or gouges on any part of the unit.

        Verify that all labels are placed in their appropriate place and in their correct
           orientation.

        Ensure the printer paper roll is installed in the printer.

                Physical Inspection

        Apply AC to the wall power adapter. Connect the wall power adapter to the
           back of the unit and press the POWER button. The DS200 will automatically
           print the Configuration Report.

        Use the Configuration Report to verify the DS200 firmware version.

        Check the LED battery power indicator light at the back of the machine, next
           to the wall power adapter cord connector. If the LED is amber and blinking,
           the battery pack is charging. If the LED is a solid green, the battery pack is
           completely charged.

        Verify that the touch screen header displays the AC power status indicator
           and that the icon shows the light blue and dark blue plugs together,
           indicating the AC power cord is plugged in.



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        Insert the flash drive containing the election qualification code (EQC) with a
           demonstration election or other specific election into one of the USB ports
           inside the front compartment access door.
           See Clear and Initialize DS200 Tabulator, page 83 for information about
           performing the EQC procedure. Work with ES&S to obtain a demonstration
           election definition and test ballots.

        When prompted, remove the EQC flash drive and insert a flash drive
           containing the election definition into the USB port inside the access door.
           When the unit recognizes the flash drive containing the election definition,
           the election definition status indicator will change to indicate the election
           definition is in place. See Load Election onto DS200 Tabulator, page 100 for
           election definition load steps.

        Access the Administration Menu.

        Calibrate the touch screen, if necessary.
           See DS200 Touch Screen Calibration, page 87.

        Verify that the correct date and time are displayed in the screen header.

        Touch Open the Poll to enable the scanning of test ballots.

        Ensure that the test ballots scan in all four orientations (face up, face down,
           top in first, bottom in first).

        Insert two ballots at once to check the multi-sheet sensor. Both sheets should
           be rejected.

        Press and hold the CLOSE POLL button for two seconds to close the polls.

        Verify that the Voting Results Report shows four ballots cast.

        Disconnect the wall power adapter cord from the DS200.

           The DS200 should continue to operate, and the AC power status indicator
           should be replaced by the battery power status indicator. Additionally, the
           unit should periodically issue a four-beep sequence indicating it is running
           on battery power.

        Re-connect the wall power supply cord

            The battery power status indicator should be replaced by the AC power
            status indicator.

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        Power down the unit by touching Finished - Turn Off.

        If the DS200 is plugged into an external power source, the unit will
           automatically turn on when the touch screen is raised. Verify that this
           operates correctly by completing the following:

              • With the wall power adapter still connected to the unit, lower the screen
                to the closed position. The unit will beep for several minutes as a
                warning that power is still on, and then will power down automatically if
                no further action is taken. It is better for the unit to be powered down
                before the screen is closed.
              • Raise the screen back to the opened position. The unit should
                automatically turn on.

        Verify that all locks and doors function smoothly.

       3.3.2.2 Central Count Acceptance Testing

        1. Unpack supplies.

        2. Check the contents of the accessory box against the included checklist.

        3. Inspect unit for scratches or other signs of damage.

        4. Record the serial number.

        5. Connect printers and Uninterruptible Power Supply (UPS), if not already
           connected.

        6. Load paper into printers in not already loaded.

        7. Plug printers and DS850/DS450 into the UPS if not already connected.

        8. Plug UPS into AC power source.

        9. Turn on printers and DS850/DS450.

        10. Turn on the UPS.

        11. Press the Setup button and verify the firmware version.

        12. Insert the Qualification Media into a USB port.

        13. Press Clear and Initialize.


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        14. Enter the Qualification Password.

        15. Press Yes.

        16. Press Done.

        17. Remove Qualification Media.

        18. Insert the Election Media into a USB port.

        19. Press Load Election.

        20. Enter the Election Password.

        21. Press Yes.

        22. Press Done.

        23. Remove Election Media.

        24. Check/Set Zone, Date, Time.

        25. Print a zero report.

        26. Run ballots provided for acceptance test.

        27. Save Results.

        28. Print a Results report.

        29. Insert blank formatted USB media.

        30. Export Results to USB media.

        31. Remove USB media.

        32. Exit and shut down.




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       3.3.2.3 ExpressVote Acceptance Testing

                  Even if you used the ExpressVote Previewer in Electionware to
      Note
                  ensure that each ballot style displays the correct contests and
                  candidates, and to verify that the audio and language support
                  functions properly for the election, ES&S recommends that you
                  perform thorough readiness testing on the physical machine(s) to be
                  used for the election.

                Unpack Unit(s)

        To remove the ExpressVote from a shipping container:

        1. Lift the unit from its container, and place it on a level surface, facing up.


     Caution
                   To avoid damaging the ExpressVote unit, be sure to open the
                   casing face-up.



        2. Remove the clear protective bag. Reserve the bag for later use when
           storing the ExpressVote to protect the unit from dust and moisture.

        3. Inventory the accessories and immediately notify your vendor if anything is
           missing.

                Inspect Unit(s)

         • Inspect for scratches or other signs of damage.

         • Verify that all housing screws are securely in place.

         • Verify the left compartment access door (where the election definition flash
           drive will be inserted) is in place.

         • Verify that the front access door is in place.

         • Verify that the right compartment paper path door is in place.




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         • Record the serial number from the label on
           the front top left of the unit or on the
           equipment label on the rear of the
           enclosure. The rear label also displays a
           model number and power requirements.

         • If there is evidence of tampering (for
           example, missing covers or screws), or if
           the warranty seal is missing, refuse and
           return the unit to ES&S.




        1. Place the unit on a level surface and connect to AC power.

        2. Unlock the left access door and switch to ON.

        3. Connect the keypad to the RJ port near the power switch.

        4. Verify that the battery is fully charged.

        5. Verify that the firmware version is correct.

                USB Ports

        Use the following steps to test the USB ports located in the left media flash
        drive compartment of the ExpressVote.

        This example assumes you have already opened the access door to the left-
        side media device compartment and installed the election qualification code
        (EQC).




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        1. Insert a flash drive loaded with the election
           definition into one of the two available USB
           ports.

            The unit should display a prompt for a
            password.

        2. Remove the flash drive and insert it into the
          other USB port.

            The unit should display the same prompt for a
            password.

        If the password prompt screen appears for both
        steps 1 and 2, the USB ports are functioning
        properly.

                Audio and ADA Ports

        Plug headphones or amplified speakers into the audio jack on the front of the
        unit. Switch on the ExpressVote. You should hear the following message:
        “Please insert your activation card.” If the headphones or amplified speakers
        have a volume control, turn up the volume setting.




                                                              Headphone jack




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                Audio-Tactile Keypad

        There are eleven control buttons on the
        audio-tactile keypad, including two buttons
        each for Volume and Tempo. Press each
        button and confirm that a change occurs on
        the screen or through the audio component
        of the system. The Volume and Tempo
        controls may require multiple individual
        presses of each button before the effect
        becomes audible.




                Print Test

        1. Insert an activation card and vote the ballot.

        2. Review the printed card for complete, dark printing.

        3. Reinsert the voted card and review the summary to confirm the votes are
           represented.

        4. Test each ballot configuration in the election in the same manner.

                Calibration and Language Validation

        If the ExpressVote touch screen requires calibration, switch the unit to Admin
        mode and calibrate the touch screen.

        If the election includes multiple languages, during a test vote session, verify
        that the unit correctly displays the selected languages.




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       3.3.2.4 ExpressVote XL Acceptance Testing

        State and/or local jurisdiction election purchasing authorities are responsible
        for acceptance testing of the voting system and components. Authorities also
        are responsible for validating the performance of delivered units based on
        procurement requirements and for verifying that the delivered system is the
        certified system originally purchased.

                Inspect Shipping Container and Packaging

        Inspect the shipping container for signs of damage or mishandling before
        opening and unpacking. If damage is evident, do not open and unpack without
        first notifying the vendor.

                  One person can unpack and remove the ExpressVote XL from its
      Note
                  shipping container, but two people make the task easier. One
                  person can perform testing, although ES&S recommends that an
                  ES&S-trained service technician be present to assist with testing
                  procedures.

                Unpacking ExpressVote XL Unit

        When removing the ExpressVote XL and/or accessories from shipping
        container(s), observe the following guidelines.

              • Make an inventory of the included components and immediately notify
                your vendor if any items are missing.

              • Save all protective cushions and coverings such as plastic bags or
                sleeves for later use. Protective shipping items help to shield the unit
                from dust and moisture during storage or transport.

                Inspect ExpressVote XL

              • Look for scratches or other signs of damage.

              • Verify that all housing screws are securely in place.

              • Verify that the access compartment door is in place.

              • Verify that the right-side paper path door is in place.




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              • Record the serial number from the
                equipment label on the rear of the
                enclosure. The rear label also displays
                a model number and power
                requirements.



              • If there is evidence of tampering, such as missing covers or screws, or if
                the warranty seal is damaged or missing, refuse and return the unit to
                ES&S.




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   3.4 Clear and Initialize Election Equipment
        Before loading a new election definition onto ES&S equipment, you must first
        clear and initialize the equipment. This clears all previous election data from the
        equipment (including L&A vote totals on the DS equipment), and installs the
        encryption keys necessary to load and run the new election.

        This process requires an ES&S-approved flash drive containing the Election
        Qualification Code (EQC) and required encryption keys for the election,
        obtained from ES&S.

     3.4.1 Clear and Initialize ExpressVote
        1. On the left side of the unit, unlock and open the access compartment.




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        2. Verify that no flash drives are installed in any of the unit’s USB ports.

        3. Ensure that all peripheral devices are connected to the appropriate ports.

        4. Set the Mode switch to Official.




  USB Ports (2)


                                                                               Mode Switch


  Power Switch




        5. Press the Power switch to the ON position.

        6. Insert the EQC flash drive into one of the two USB ports inside the access
           compartment.

        7. On the touch screen, enter the security code when prompted.

        8. Touch Accept.

        9. Touch Clear and Initialize.

        10. Remove the EQC flash drive from the ExpressVote unit.

        The ExpressVote unit is now ready to accept the new election definition.




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     3.4.2 Clear and Initialize ExpressVote XL
        1. After the unit is powered on, insert the EQC flash drive into one of the USB
           ports in the access compartment.




        2. On the Enter Clear and Initialize screen, touch the on-screen keypad to
           enter the qualification code for this election, then touch Accept.

        3. On the Clear and Initialize Election screen, verify that the information in the
           New Election to Load section is correct, then touch Clear & Initialize.

             When the process is complete, the touch screen displays a message
             confirming that the clear and initialize process was successful and
             prompting you to remove the EQC flash drive.

        4. Remove the EQC flash drive from the ExpressVote XL unit.

             If the terminal is in Voter mode, the system displays the Poll & Device Status
             screen indicating that the election is not loaded.

             The terminal is now ready to accept a new election definition.


      Note
                   If the terminal is in Supervisor mode, the system displays the Poll &
                   Device screen of the Supervisor Menu.



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     3.4.3 Clear and Initialize DS200 Tabulator

  Important
                   If a backup flash drive is required, it must be installed before using
                   the EQC flash drive.


        1. Lift the access door on the front left of the DS200 to access the USB ports.

        2. Insert the EQC flash drive into USB port A or B. Do not force the flash drive
           into the slot.




        3. Press the Power button to turn the DS200 on.

        4. On the Clear and Initialize screen, touch
           Continue.

        5. Enter the Qualification security code when
           prompted, then touch Accept.

        6. When the screen displays the “Initialization completed successfully!”
           screen, remove the EQC flash drive.

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     3.4.4 Clear and Initialize Central Count Tabulator
        1. On the touch screen, touch Election.

        2. On the Election menu, touch Setup.

        3. On the Setup screen, touch Clear and Initialize.




        4. Insert the EQC flash drive into one of the Central Count USB ports.
           (See the figures on the following two pages for port locations on the DS450
           and DS850, respectively.)

        5. On the Clear and Initialize screen, enter the qualification code, then touch
           Accept.

        6. When the Clear and Initialize screen indicates the system has found the
           EQC flash drive, touch Yes to continue.

        7. When the screen indicates the Central Count has been successfully cleared
           and initialized, remove the EQC flash drive from the USB port and touch
           Done.




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                                                                      DS450 Left USB ports




                                                                      DS450 Right USB ports




        DS450 Central Count: USB Port locations




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                                                       DS850 Left USB ports




                                           DS850 Right USB ports




        DS850 Central Count: USB Port locations

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   3.5 Touch Screen Calibration
        Calibration of the touch screen on ES&S election equipment ensures correct
        screen behavior and voter selections.

     3.5.1 DS200 Touch Screen Calibration
        1. On the Administration menu, touch System Settings.

        2. On the System Settings menu, touch Calibrate Touch Screen.




        3. Touch Continue.




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        4. Use your fingertip or a touch screen stylus to touch the target in the upper-
           left corner of the screen.




        5. Touch the target in the lower-right corner of the screen.

        6. Test the calibration by touching the screen and verify that the pointer
           follows your touch points.




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        7. After you have finished testing the calibration, touch Save & Exit to save
           your changes( or touch Recalibrate to repeat the process).




      Note
                   If you do not touch either option within 30 seconds, you will have to
                   recalibrate the screen before exiting.


        8. On the confirmation screen, touch OK.




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     3.5.2 Central Count Touch Screen Calibration
        1. On the Hardware menu, touch Screen Calibration.




              The screen displays the following message:


                                  Touchscreen Calibration
                      Press the point, use a stylus to increase precision.

                               (To abort, press any key or wait)

        2.Use your fingertip or a touch screen stylus to touch the circle in the upper-left
           corner of the screen.




        3.Touch the target in the lower-right corner of the screen.

              If you miss the exact center of the target, the screen displays the message:


                             Mis-click detected, restarting...


        4. Test the calibration by touching the screen and verify that the pointer
           follows your touch points.
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        5. After you have finished testing the calibration, touch Save & Exit to save
           your changes( or touch Recalibrate to repeat the process).




      Note
                   If you do not touch either option within 30 seconds, you will have to
                   recalibrate the screen before exiting.


        6. On the confirmation screen, touch OK.

     3.5.3 ExpressVote Touch Screen Calibration
        ExpressVote touch screen calibration is accessed either during power-up or
        from the Main Menu.

        On Power-up – When you power up the ExpressVote, the system displays a
        message for about 10 seconds, prompting you to touch the screen anywhere to
        start screen calibration.

        From Main Menu – On the
        ExpressVote Main Menu, touch
        Screen Calibration.




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        1. On the Touchscreen Calibration screen, touch Start.




        The system now displays a white screen instructing you to touch the screen
        anywhere to begin the calibration process.

        2. Touch the screen.

        3. Touch the center of the cross-hair target in each new position as the target
           moves around the screen.

        4. If you accessed this function via the Main Menu, after the calibration
           process is completed successfully, the system briefly displays a confirmation
           screen, then redisplays the Touchscreen Calibration screen.

              • Touch Redo to restart the calibration process.

              • Touch Exit to return to the ExpressVote Main Menu.




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     3.5.4 ExpressVote XL Touch Screen Calibration
        1. After powering on the terminal, press and hold the mode switch for ten
           seconds.




            The system enters screen calibration mode and displays a crosshair target
            symbol on a white background.

        2. Touch the center of the crosshair target in each new position as the target
           moves around the screen.

            During the calibration process, the system displays a 15-second countdown
            in the center of the screen. Each time you touch a crosshair target, the
            countdown resets. If the countdown expires before you touch the next
            target, the system automatically exits the calibration routine.




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   3.6 Load Election onto Equipment

  Important        Before installing the election definition onto the election
                   equipment, the equipment must be cleared and initialized, as
                   described in the preceding section.


        In most jurisdictions, election officials install the election definition onto the
        election equipment at the election central warehouse before Election Day.


    Warning        If you use DS200 tabulators in addition to the DS850 or DS450, be
                   aware that the election definition flash drives for the Central Count
                   and DS200 are not interchangeable.


    Warning        Never force a flash drive into an equipment USB port. Inserting a
                   flash drive improperly or into a blocked port will result in damage
                   not covered under warranty.




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     3.6.1 Load Election onto ExpressVote
        After testing is complete, election officials typically leave the ExpressVote unit
        in the following state, ready to be deployed on Election Day.

              • The ExpressVote unit is powered off

              • The election definition flash drive remains in the USB port

              • The access compartment is closed and secured

        When a poll worker powers on the ExpressVote at the polling place on Election
        Day, the system automatically loads the election definition from the inserted
        flash drive.

        1. Power on the ExpressVote unit in Voter mode.




  USB Ports (2)


                                                                               Mode Switch


  Power Switch




        2. Insert the election definition flash drive into one of the two USB ports in the
           access compartment.


  Important
                   The new election definition media must be the only flash drive
                   inserted into any of the unit’s USB ports.



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        3. On the Enter Election Code screen,
           use the on-screen keypad to enter the
           election security code, then touch
           Accept.




        4. Leave the election definition flash drive inserted in the USB port, power
           down the ExpressVote, and lock the access compartment door.




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     3.6.2 Load Election onto ExpressVote XL
        After testing is complete, election officials typically leave the ExpressVote XL
        unit in the following state, ready to be deployed on Election Day.

              • The ExpressVote XL unit is powered off

              • The election flash drive remains in the USB port

              • The access compartment is closed, locked, and sealed

        When a poll worker powers on the ExpressVote XL at the polling place on
        Election Day, the system automatically loads the installed election definition
        from the terminal’s internal flash memory card.

        1. Verify that no flash drives are inserted in any of the ExpressVote XL unit’s
           USB ports.

        2. Insert the election definition flash drive into one of the two USB ports in the
           access compartment.




  Important
                   The new election definition media must be the only flash drive
                   inserted into any of the unit’s USB ports.




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        3. On the Enter Election Code screen, touch the on-screen keypad to enter
           the election security code established via Electionware, then touch Accept.




        The screen displays busy indicators while the system
        performs the following functions.

              • Verifies that the election code matches the
                installed EQC code

              • Verifies that the Operations Log security
                signatures match the signatures on the
                election flash drive

              • Verifies ballot audio and graphics

              • Saves all election definition files to the internal flash memory card




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            The ExpressVote XL system then displays the voter welcome screen,
            indicating that the ExpressVote XL is ready for voting.




            In Supervisor mode, the system redisplays the Poll & Device screen of the
            Supervisor Menu.




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        If the access compartment door is open, the system displays a full-screen alert.
        The access compartment door must be closed and the election flash drive must
        remain inserted in the ExpressVote XL while it is being used by voters to mark
        their vote summary cards.

        4. Close and lock the access compartment door.

        5. Power the terminal off.

     3.6.3 Load Election onto DS200 Tabulator
        If you do not have a definition loaded when you turn on the DS200, the
        machine displays the message “Election Definition Not Found.”

        1. Lift the access door on the front left of the DS200 to access the flash drives.




        2. Insert the flash drive into USB ports A or B.




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        3. If the DS200 is powered
           off, turn it on. The Enter
           Election Code screen
           appears.




        4. Enter your election code
           and touch Accept.

        The DS200 automatically
        prints the Configuration
        Report, then displays a
        message that the election
        definition was found.




        5. Touch Don’t Open - Turn Off to shut down the machine.

        6. Leaving the election definition flash drive installed in the USB port, close
           and lock the access door.




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     3.6.4 Load Election onto Central Count Tabulator
        1. On the touch screen, touch Election.

        2. On the Election menu, touch Setup.

        3. On the Setup screen, touch Load Election.




        4. Insert the election definition flash drive into one of the Central Count USB
           ports.

        5. At the prompt, enter the election code, then touch Accept.

        6. When the Load Election screen reads “A valid Election Definition was
           found,” touch Yes to start the load process.

        7. When the Load Election screen reads “The Election Definition was
           successfully loaded,” touch Done.




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Chapter 4: Election Setup and Definition
        The election definition media can be programmed by ES&S with client election
        data, or it can be created on-site by the client, using the EMS.

        Election setup and definition programming procedures are provided in the
        following accompanying document:

              • EVS 6042 CA Election Programming Guide




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Chapter 5: Logic and Accuracy Testing
        Logic and accuracy (L&A) testing is performed well before the election to verify
        that the election definition generated for each voting device matches the
        election being held, and that all contests and candidates are accurately
        reflected on each ballot style and on reports. L&A testing verifies that all voting
        positions can be voted, whether each contest can be voted for the maximum
        number of eligible candidates, and that the system is correctly reading and
        tabulating votes.

        L&A testing consists of processing a test deck. A test deck is a stack of sample
        ballots already marked and scanned, with known results totals. In addition to
        predetermined totals, the test deck will also contain examples of ballot errors
        that can occur. All contests in all ballot types and/or ballot styles are tested in
        this manner. Any deviation from the predetermined results must be rectified
        before the tabulating equipment can be certified for processing that specific
        election.

        If ES&S is coding the election, ES&S will provide a hand-counted test deck for
        each election.

        If your jurisdiction programs its own election definitions, create a test deck that
        includes a sequential number of votes for each office on that ballot starting
        with 1 vote for the first candidate. For example, in an Office with 5 candidates
        the first candidate on that ballot will receive 1 vote, the second candidate 2,
        the third 3 and so on. Also include at least one completely blank ballot, and an
        overvoted ballot (mark more candidates than the number specified). Complete
        this process for all ballot types in your election and maintain accurate records
        of your test ballot selections.




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   5.1 DS200 Logic and Accuracy Testing
        Test the scanner only after you install the election definition and configure the
        DS200.

     5.1.1 Load Election Definition onto the DS200
        Before loading the election definition, you must clear and initialize the
        tabulator. The clear and initialize process clears all data from the machine and
        loads the necessary encryption keys to load and run the election.

        Refer to the following sections:

           Clear and Initialize DS200 Tabulator, page 83

           Load Election onto DS200 Tabulator, page 100

     5.1.2 Check the Election Definition for Accuracy
        The DS200 automatically generates an Initial State report when you start the
        scanner. Check the report for the following information:

              • System Values: Make sure the date and time appear correctly on the
                report. If the information is not correct, change date and time from the
                System Setting screen.

              • Election Information: Make sure that the jurisdiction name, polling
                place, and the number of precincts listed on the report are correct.

     5.1.3 Test the Election
        Use the following instructions to open the polls, scan test ballots, and close the
        polls as you will do on election day.

        1. When the message “Election Definition found” appears on the screen,
           press Open Polls.

            The scanner checks available memory and scans the election definition for
            errors. Depending on options selected for the election definition, the
            scanner may also print a Status Report and/or a Zero Certification Report.

        2. Close and lock the access panel to secure the election definition USB media
           device.

            The Welcome screen appears and the scanner is now ready for voting.


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        3. Insert the ballots into the scanner. The DS200 can scan ballots inserted in
           any orientation. As ballots are scanned, the public count will increase by
           one for each ballot inserted.

        4. After you finish scanning test ballots, open the DS200 access door. Press
           and hold down the Close Polls button for about four seconds, then release.

        5. Depending on your election definition, the DS200 may automatically print
           one or more of the following reports:

              • Status Report

              • Race Results Report

              • Certification Report

              • Audit Log

        6. Verify the reports that are automatically printed match against your hand-
           counted test deck.

        7. On the DS200 screen, touch Shutdown.

        8. When prompted, touch Continue Power Down to turn off the DS200.

        9. Remove the USB media device from the DS200.




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   5.2 Central Count Logic and Accuracy Testing
        DS850 and DS450 central tabulators use the election definition created in
        Electionware and saved to USB flash drives to recognize ballot marks and
        tabulate results.

        Use the test deck to verify your election definition and to test scanner
        operation. Be sure to follow the California Elections Code. To test the election
        you will zero totals on the scanner and turn off the sort options, then run your
        test deck and check the result reports.

     5.2.1 Load Election Definition onto the Central Count
        Before loading the election definition, you must clear and initialize the
        tabulator. The clear and initialize process clears all data from the machine and
        loads the necessary encryption keys to load and run the election.

        Refer to the following sections:

           Clear and Initialize Central Count Tabulator, page 84

           Load Election onto Central Count Tabulator, page 102

     5.2.2 Scan the Test Deck and Check Reports
        Test each ballot type in this election using either your test deck or one that was
        provided to you from ES&S. After loading the election, take the following
        steps:

        1. Print the Zero Report to verify that all voting results have been cleared from
           the scanner.

        2. Press Scanning to display the Scanning menu.

        3. On the Scanning menu, press Scan Ballots.

        4. Load the ballots into the input tray, as follows:
           a. Adjust the length of the input and output trays to fit the length of your
              ballots.
           b. Slide the ballot guide out of the curved opening int he input tray.
           c. Place the ballots in the input tray.




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      Note        ES&S recommends using a jogger to separate the ballots and align
                  the ballot stack before you load them into the input tray. If the
                  ballot stack is slightly curved, place it in the tray with the convex
                  side up (so the stack looks like a frown).

           d. Slide the ballot guide back into the opening in the input tray until the
              guide rests gently against the ballot stack.
           e. If necessary, select the precinct to which the ballots belong.

        5. When the Scan Ballots screen displays the message Ready to Scan, press
           Start. The tabulator outstacks any ballots with conditions specified in the
           election definition (such as ballots with overvotes or write-in votes). Ballots
           with readable marks are also outstacked.

        6. When the ballots have been scanned, the Save button on the Scan Ballots
           screen is enabled. Press Save to save the current batch. When prompted to
           confirm the request, press Save again. A popup screen displays counts of
           the ballots in each bin. On the Scan Ballots screen, bin counts in the Saved
           column will be updated with the counts from the Current column.

        7. Press Done if you are finished scanning, or press Scan to load more ballots
           into the input tray and continue scanning.

        8. When you have finished scanning all test ballots, generate the Results
           Report and verify the counts on the report match the expected counts.

     5.2.3 Export Data
        Data saved to the scanner’s internal memory can be exported to the election
        definition flash drive or to a blank flash drive. However, if a blank flash drive is
        used, it should be first fully formatted.

        To export results, take the following steps:

        1. Press Election to display the election menu.

        2. From the Election menu, press Results to display the Results screen.

        3. From the Results screen, press Export Results.

        4. Insert a blank, formatted flash drive into one of the scanner’s USB ports.

        5. When prompted to do so, enter the election code then press Accept.

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        6. On the Export Results selection screen, select the export location (USB
           flash drive or Network Server Folder), then press Export.

        7. On the Export Results confirmation screen, press Confirm to initiate the
           export process.

        8. When the screen displays the message “The results were successfully
           exported,” press Done to return to the Results screen.

        9. Remove the flash drive and transfer your test results to Electionware.




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   5.3 ExpressVote Logic and Accuracy Testing
        Pre-election L&A testing involves setting up the voting system for each of the
        precincts and early voting locations in the election, loading the election
        definition, opening the election, casting a known pattern of votes on each
        ballot (or card) style, closing the election, printing the vote totals for the
        precinct, and then comparing the printed vote totals with the known pattern of
        votes.

     5.3.1 Load Election Definition onto the ExpressVote
        Before loading the election definition, you must clear and initialize the unit. The
        clear and initialize process clears all data from the machine and loads the
        necessary encryption keys to load and run the election.

        Refer to the following sections:

           Clear and Initialize ExpressVote, page 80

           Load Election onto ExpressVote, page 95

     5.3.2 ExpressVote Cards for Digital Scanner L&A
        Complete logic and accuracy testing requires DS200, DS450, and/or DS850
        tabulators to verify that your ExpressVote cards can be scanned and tabulated
        correctly. After using the ExpressVote to generate printed vote summary cards
        that match the voting pattern for your logic and accuracy testing, use the
        DS200, DS450, and/or DS850 to tabulate those cards and verify that the voting
        results match the expected results for your test voting pattern.

        To create a supply of printed vote summary cards for your logic and accuracy
        testing, you can manually vote each card individually, or you can use the Voted
        Ballot Test to print multiple vote summary cards from a single voting session.

     5.3.3 Ballot Diagnostics
        Use the Ballot Diagnostics screen to access the following diagnostic tests.

       5.3.3.1 Continuous Print Test

        The Continuous Print Test, also known as the “shoeshine test,” runs the
        ExpressVote unit for an extended period of time without human supervision to
        ensure that the mechanical components of the ExpressVote’s Paper Path
        Module (PPM) operate correctly.

        To perform the continuous print test, complete the following steps:
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        1. On the System Maintenance Menu screen, touch Ballot Diagnostics.

        2.On the Ballot Diagnostics screen, touch Continuous Print Test.




        3.On the Continuous Print Mode screen, to change the default cycle count,
           complete the following steps in the following order.




        Note
                     The Initial Cycle Count field defaults to 500 print cycles.



            • Touch Clear.
            • Touch the on-screen keypad to enter the new count in the Initial Cycle
              Count field.

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        4.Insert a blank 19-inch card into the front slot of the ExpressVote unit.

        5.Touch Start Printing.

             The ExpressVote begins the Continuous Print Test, printing each cycle onto
             the same inserted card until the cycle count equals zero and the completed
             count equals the value you entered in step 3.

             If a hardware fault occurs during the Continuous Print Test, the ExpressVote
             pauses the test and displays an error message.


      Note
                    Touch Stop Printing to end the Continuous Print Test before the
                    specified number of cycles is complete.



        6.When the Continuous Print Test is complete, touch EXIT to eject the card
           and return to the Ballot Diagnostics screen.

             -or-

             Touch Eject to remove the used card and perform another Continuous Print
             test.

       5.3.3.2 Voted Ballot Test

        The Voted Ballot Test enables a user to vote a sample ballot summary card for
        the loaded election, verify and/or redo the sample, and then print a specified
        number of identical ballot summary cards.

        1. On the System Maintenance Menu screen, touch Ballot Diagnostics

        2.On the Ballot Diagnostics screen, touch Voted Ballot Test.




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        3.On the Enable Voted Ballot Test screen, touch to select the Enable Voted
           Ballot Test check box.




        4.Touch EXIT.


        Note
                     If you do not touch Exit before proceeding with the next step, the
                     system will not save your setting.




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        5.On the ExpressVote unit, set the mode switch to Voter.




                                                                            Mode Switch




            The system displays the Voted Ballot Test screen.

        6.On the Voted Ballot Test screen, touch Continue.

        7.On the Enter Current Security Code screen, use the on-screen keyboard to
           enter the correct security code.




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        8.Touch Accept.

        9.Insert the card into the front slot of the ExpressVote.

        10.Complete a voting session.

        11.When you have completed the voting process, remove and inspect the card
           to ensure that it is representative of the cards to be used in the test.

        12.Depending upon the outcome of the card, do one of the following:
             • If the marked card is good, tap Continue to initiate the printing process.
               Proceed to the next step.
             • To prepare a new sample card, touch Try Again.
             • To exit the test, touch Exit Testing.

        13.On the Voted Ballot Test screen, enter the initial card count.

        14.Touch Start Marking.

             To suspend and resume the printing process, touch Pause or Resume.

             To stop the printing process, touch Stop Marking.

             To retest the same ballot, touch Reset, then re-enter the initial card count,
             then touch Start Marking again.

        When printing is complete, touch Exit Testing.


      Note
                   You can insert the marked card(s) into an ES&S tabulator for further
                   testing.




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   5.4 ExpressVote XL Logic and Accuracy Testing
        Pre-election L&A testing includes setting up the voting system for each of the
        precincts and early voting locations in the election, loading the election
        definition, opening the election, casting a known pattern of votes on each
        ballot (or card) style, closing the election, printing the vote totals for the
        precinct, and then comparing the printed vote totals with the known pattern of
        votes.

     5.4.1 Load Election Definition onto the ExpressVote XL
        Before loading the election definition, you must clear and initialize the unit. The
        clear and initialize process clears all data from the machine and loads the
        necessary encryption keys to load and run the election.

        Refer to the following sections:

             Clear and Initialize ExpressVote XL, page 82

             Load Election onto ExpressVote XL, page 97

     5.4.2 Print Test Deck
        This feature allows you to print vote summary cards for use in L&A testing for
        the DS200, DS450, and/or DS850.

        You can print a test deck of vote summary cards automatically based on a test
        pattern you created in the Electionware Toolbox utility, if applicable.

        You also can print a test deck of vote summary cards manually, without a test
        pattern, by conducting a voting session on the ExpressVote XL terminal in test
        mode.


      Note
                   All test deck cards include the word “Test” printed on the cards.



        After printing a test deck, scan your test vote summary cards on an ES&S
        tabulator as part of your pre-election L&A testing for both the ExpressVote XL
        and your precinct or central count tabulator(s).

        To access the Print Test Deck function, complete the following steps.



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        1. On the Supervisor Menu, under Advanced Settings, touch Logic &
           Accuracy.

        2. On the Logic & Accuracy submenu, touch Print
           Test Deck.




            The system automatically displays the Logic & Accuracy - Print Test Deck
            start screen.




        3. On the start screen, touch Enter Testing.




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             The system displays the Logic & Accuracy - Print Test Deck screen.




       5.4.2.1 Print a Test Deck Automatically

        To print a test deck automatically, you must use the Test Deck module of
        Electionware Toolbox to create a voting test pattern and add it to the election
        flash drive.The ExpressVote XL uses the test pattern to conduct a simulated
        voting session and automatically prints the number of vote summary cards the
        test pattern requires.

        To perform the automatic voting test, complete the following steps.

        1. On the Logic & Accuracy - Print Test Deck screen, under Test Options,
           ensure that the Automatic voting from test pattern option is selected.




                   If the election definition contains an automatic test pattern, this
      Note
                   option is selected by default.

                   If the election definition does not contain an automatic test pattern,
                   the automatic option is not available, and you must print the test
                   deck manually. Refer to      Printing a Test Deck Manually, page 119.


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        2. Under Test Controls, touch Print Test Deck.




            The system displays a counter
            window instructing you to insert a
            blank card to continue.

        3. Insert a blank activation card.

            The system automatically prints and
            ejects the vote summary card
            based on the installed test pattern,
            increments the counter window by
            one (1) card out of the total number of cards to be printed, and increments
            the protected count on the terminal by one (1).

        4. When prompted, remove the ejected card and insert a new blank card.

        5. When the test deck is fully printed, touch Continue.

            The system redisplays the Logic & Accuracy - Print Test Deck screen.

       5.4.2.2 Printing a Test Deck Manually

        To print a test deck manually, complete the following steps.

        1. On the Logic & Accuracy - Print Test Deck screen, under Test Options,
           ensure that the Manual test voting option is selected.




        2. Under Test Controls, touch Print Test Deck.




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            The system displays a full screen instructing you to insert a blank card or a
            card printed with an activation barcode.




        3. Insert a blank or pre-printed activation card, activate the ballot, and begin
           voting according to your predetermined L&A test pattern.

        4. After verifying all vote selections, touch Print Ballot.

            The system displays a Print Ballot window instructing you to set the number
            of test deck cards to print based on the current voting session.

        5. Touch the onscreen keypad to set the desired
           number of test deck cards.

        6. Touch Print.

            The system prints the vote summary on the
            inserted card, ejects the card, and increments
            the protected count on the terminal by one
            card. All test deck cards include the word
            “Test” on the card.

           • If you set the test deck count to value of one
             (1) as shown, skip to step 8.
           • If you set the test deck count to a value greater than one (1), the system
             displays a counter window. Proceed to the next step.



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        7. When prompted, remove the
           ejected card and insert a new blank
           card.




        8. When the test deck is fully printed, the system redisplays the manual test
           start screen. Touch Exit Manual Test.




            The system redisplays the Print Test Deck screen.




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   5.5 Backing Up Logic and Accuracy Testing
     5.5.1 Backing Up Media
        Back up all election media storage devices to an external storage device such
        as a USB flash drive or CD.

     5.5.2 Backing Up EMS
        Back up your election data files in Windows after you configure your election
        and generate output files from Electionware. Back up your election files to an
        external storage device such as a USB flash drive, compact flash card, or CD.

        1. Right-click the Start button in Windows and select Explore. An Explorer
           window appears.

        2. Type c:\electionware in the Address bar and press Enter.

        3. Select your election folder and drag it to the corresponding drive letter of
           your storage device to copy your election database.


      Note
                  Disk space may also be saved by using a file compression
                  application such as WinZip.



   5.6 Retention of Election Material
        No operation or activity that results in a revision to voting data produced by
        the semiofficial canvass shall be performed without the presence of a properly
        constituted Election Observer Panel, Logic and Accuracy Board, or an
        equivalent administrative and technical control body authorized to verify the
        correctness of the operations and responsible for maintaining accurate and
        complete audit records.

     5.6.1 Precinct Tabulator Election Material
        Upon the certification of the election results, the guidelines in the California
        Elections Code apply to the handling, security, and disposition of unused
        ballots and other election materials. Memory cards are not deemed to fall
        within the purview of these Elections Code sections.




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       5.6.1.1 Checking Unused Ballots

        Unused ballots will be processed in accordance with the California Elections
        Code.

        Precinct officers will seal or deface unused precinct ballots, and election
        personnel in the office of the elections official will seal or deface unused vote-
        by-mail ballots. The elections official may inspect and count unused ballots as
        necessary to reconcile the ballot count during the official canvass.

       5.6.1.2 Post Official Canvass Period Disposition of Election Materials

        Following certification of the election results and upon expiration of the period
        for recount requests, the ballots may be moved to secure storage for the
        required ballot retention period, during which time, the ballot containers
        remain sealed. The elections official shall not open any ballot containers or
        permit any ballot containers to be opened except as permitted in the California
        Elections Code, or in the event of a mandated recount. Seals used for the
        foregoing purposes shall be numbered, destructible seals.

       5.6.1.3 Certification by Unescorted Personnel

        All unescorted persons present within the security area, including visitors,
        media representatives, and standby personnel, shall be clearly identified by a
        badge or other means, and a log of their arrival and departure times. All
        unescorted personnel shall be subject to restrictions established by the
        responsible elections official to ensure the efficiency and integrity of the vote
        tallying process.

     5.6.2 Retention of Central Tabulator Election Materials
        Consult the California Elections Code for guidelines on retaining election
        materials. The retention period for ballots and related election materials is six
        months for all elections if no federal elections are involved. The federal election
        retention period is 22 months. Extend retention periods in the case of a court
        challenge.




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Chapter 6: Equipment Preparation
   6.1 L&A Backup
        Before the logic and accuracy results are cleared from the equipment, back up
        the results and send them, as well as the final vote count program files, to the
        Secretary of State.

   6.2 Clear Logic and Accuracy Results
        Clear election totals before and after running your test decks to ensure that
        your results are not corrupted on Election Day. You must clear your election
        totals before every election.

     6.2.1 Clear Results from the DS200
        After completing your logic and accuracy testing, you must clear the test
        results from the election definition USB flash drives before using them on
        Election Day.

        1. Insert the flash drive into the DS200.

        2. The Polls Closed screen appears. Press Reopen Polls.

        3. The password entry screen appears. Use the screen keyboard to enter your
           override password and press ENTER.


      Note
                  If you did not program the election, contact your election
                  administrator or ES&S technical support for the scanner password.



        4. The Reopen Polls screen appears. Press Clear Counts to remove all test
           vote results from the machine.

        5. The Clear Counts screen appears. Press Yes to confirm that you want to
           clear all results.

        6. When results have been cleared, the scanner is ready for polls to be
           opened for live voting.




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     6.2.2 Clear Results from the Central Count
        1. Press Election to access the Election menu.

        2. From the Election menu, press Results.

        3. From the Results screen, press Clear All Results.

        4. When prompted to do so, enter the override code and press Accept.

        5. The Clear All Results screen appears. Press Confirm to begin the process of
           clearing all results from the scanner.

        6. A confirmation message appears when the process is complete. Press OK.

     6.2.3 Clear Results from Electionware
        Loaded media results, images, CVRs, and equipment logs can be cleared from
        Electionware (removed from the election database) in order to delete test data
        or to start the results loading process over.


    Warning
                   Click Stop Load before clearing any results.



        To clear loaded results for the whole election, right-click Election Results in the
        Navigator, then click Clear All Results.




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   6.3 Hardware Preparation
     6.3.1 Recommended Supplies
         ES&S recommends maintaining a supply of the following items for each piece
         of ES&S equipment used in your jurisdiction. All of the listed items are available
         for order from ES&S. Contact Customer Service at (877) 377-8683 with any
         questions or orders. Allow four weeks for delivery.

         6.3.1.1 DS200 Supplies

                       Table 6-1: DS200 Recommended Supplies

 Supply            Description                                     Recommended Quantity
 Paper rolls       3.13” by 80’ thermal paper rolls.               2 full rolls per unit, minimum

                   ES&S item number 2320.
 USB flash drive   Flash drive used to store the DS200’s           2 per unit
 (media device)    election definition, ballot count, and ballot
                   images. The standard memory capacity for
                   each flash drive is 512MB to 8GB.

                   Use only certified flash drives supplied by
                   ES&S.

                   ES&S item number 2610 for 2GB drive;
                   2396 for 4GB drive; 2397 for 8GB.
 Ballot stamping   Needed only if you want to mark ballots for     2 per unit
 device            further review, such as write-in votes.

                   ES&S item number 2278
 Seals             Tamper-evident seals used to secure the         Determined by your
                   DS200, ballot box, and tote bin.                jurisdiction’s security
                                                                   requirements
 Marking           ES&S recommends roller ball pens for            No specific recommendation
 Devices           voters to mark ballots.

                   ES&S item number 6100
 Pressurized air   Pressurized air used to clean the DS200.        1 can per unit
 cans
                   ES&S item number ES-AR
 Lint-free cloth   Used for general cleaning purposes.             No specific recommendation

                   ES&S item number ES-CLOTH

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                       Table 6-1: DS200 Recommended Supplies

 Supply            Description                                    Recommended Quantity
 Isopropyl         Used to clean the DS200 rollers, Contact       1 bottle per five units
 (rubbing)         Image Sensors (CIS) and LCD screen.
 alcohol
                   To clean the DS200 rollers, pour the alcohol
                   into a spray bottle and dampen a lint-free
                   cloth. Never spray cleanser directly on the
                   DS200. You can also use alcohol wipes to
                   clean the DS200.

                   ES&S item number ES-AL

                   ES&S also provides an Touch Screen
                   Cleaning Kit, item number 6500




       6.3.1.2 Central Count Supplies

                   Table 6-2: Central Count Recommended Supplies

 Supply            Description                                    Recommended Quantity
 Audit log
                   ES&S item number RI-420.                       1 per audit printer
 printer ribbon
                   8.5” x 11” continuous feed, one-part
                   paper.
 Audit log
                                                                  2 boxes per audit printer
 printer paper     Use carbon-less paper to avoid smearing.

                   ES&S item number ES-PP1.
 Laser printer     ES&S item number depends on which
                                                                  1 per laser printer
 toner cartridge   model of printer is used.
 Laser printer
                   8.5” x 11” standard laser printer paper.       2 packages per printer
 paper




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            Table 6-2: Central Count Recommended Supplies (Continued)

 Supply            Description                                    Recommended Quantity
                   Flash drive used to store the election
                   definition, ballot count and ballot images.
                   These must be FAT32 formatted drives.
                   Flash drives can be obtained from ES&S in
                   a variety of standard memory capacities,
 USB flash drive                                                  6 per tabulator
                   ranging from 512MB to 16GB (16GB can
                   be used for firmware validation only).

                   ES&S item number 2610 for 2GB drive;
                   2396 for 4GB drive; 2397 for 8GB.
                                                                  Determined by your
                   Wire and tamper-evident seals used to
 Seals                                                            jurisdiction’s security
                   secure the tabulator and flash drives.
                                                                  requirements
                   Used to clean the tabulator rollers,
                   scanners and LCD screen.

                   To clean the tabulator rollers, pour the
 Isopropyl         cleanser into a spray bottle and dampen a
                                                                  1 bottle per tabulator
 rubbing alcohol   lint-free cloth. Never spray cleanser
                   directly on the tabulator. You can also use
                   alcohol wipes to clean the unit.

                   ES&S item number ES-AL.
                   Spray bottle of precision cleaning solution
                   and a soft microfiber cloth, housed in
                   plastic case. The quick-drying cleaning
 Touch screen      solution is formulated to dissolve organic
                                                                  Optional
 cleaning kit      and inorganic contaminants that can
                   accumulate on touch screen surfaces.

                   ES&S item number 6500.
                   Pressurized air used to clean the tabulator.
 Pressurized air
                                                                  2 cans per tabulator
 cans
                   ES&S item number ES-AR.




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            Table 6-2: Central Count Recommended Supplies (Continued)

 Supply            Description                                    Recommended Quantity
                   Used for general cleaning purposes.
 Lint-free cloth                                                  No specific recommendation
                   ES&S item number ES-RAG.
                   ES&S recommends roller ball pens for
                   voters to mark ballots.

                   The following can be obtained from ES&S:

 Marking              • VL Ballot Pen (BIC Grip roller ball
                                                                  No specific recommendation
 Devices                with black ink and a 0.7 mm tip),
                        ES&S item number 6100.

                      • Absentee Pen (flat contour, fits easily
                        into an envelope for mailing), ES&S
                        item number 00500.




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         6.3.1.3 ExpressVote Supplies

                        Table 6-3: ExpressVote Recommended Supplies

 Supply                   Description                                   Recommended Quantity
 Anti-static              Fellows 100 anti-static cleaning wipes        1 pack
 cleaning wipes
 Isopropyl alcohol        Used to clear the card rollers, CIS           1 bottle (16 oz)
                          sensors, and LCD screen

                          To clean the scanner rollers, pour the
                          cleanser into a spray bottle and
                          dampen a lint-free cloth. Never spray
                          cleanser directly on the scanner. You
                          can also use isopropyl alcohol wipes to
                          clean the scanner
 Lint-free cloth          Used for general cleaning purposes            No specific recommendation
 Pressurized air          Used to clean the ExpressVote and             2 cans (10 oz each)
                          clear away paper dust
 Seals                    Wire and tamper-evident seals used to         Determined by your
                          secure the ExpressVote and card               jurisdiction’s security
                          container                                     requirements
 USB memory               Use only certified USB flash drives           1 for each EQC device, and
 device (flash drive)     supplied by ES&S                              1 for each ExpressVote




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        6.3.1.4 ExpressVote XL Supplies

                   Table 6-4: ExpressVote XL Recommended Supplies

                                                                            Recommended
 Supply                    Description                                         Quantity
 Pressurized air cans      10 ounce can                                              1

                           ES&S item number ES-AR
 Lint-free cloth           ES&S item number ES-CLOTH                                 1
 Touch screen cleansing    ES&S recommends using the available Touch            No specific
 solution                  Screen Cleaning Kit; ES&S item number 6500        recommendation
 Isopropyl rubbing         16 ounce bottle; ES&S item number ES-AL                   1
 alcohol
 Paper Stock               Blank 19” activation cards                           No specific
                                                                             recommendation
 Paper rolls               3.13” by 80’ thermal paper rolls; ES&S item        2 full rolls per
                           number 2320                                        unit, minimum
 Mild detergent solution   NA                                                   No specific
                                                                             recommendation
 Cotton swabs              NA                                                   No specific
                                                                             recommendation




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     6.3.2 DS200 Preparation
       6.3.2.1 Tools for DS200 Maintenance

              • Isopropyl alcohol 70% - 16 fl oz. bottle minimum

              • Compressed air - 10 oz. can minimum

              • Lint-free cloth

              • #1 Phillips screwdriver

              • #2 Phillips screwdriver

              • T-10 Screwdriver with security center pin


      Note
                  Magnetized screwdrivers are recommended.



       6.3.2.2 Clean the DS200

        Clean your scanner before and after each election.

        1. Turn off the scanner and unplug the power cord.


    Electrical
                   Always unplug the AC power cord and turn the scanner off before
                   you clean a DS200 scanner.



        2. Clean the ballot entry and exit slots with a can of pressurized clean, dry air
           or inert gas, which is available for order from ES&S. Aim the air can’s spray
           tube into the ballot entry slot and blow out all the debris. Clean the ballot
           exit slot in the same way. Repeat the entire procedure and inspect the
           entrance and exit slots with a flashlight.

        3. Use pressurized air to remove dust and debris from around the menu
           display.

        4. Use a soft, lint-free cloth and water, or isopropyl alcohol (70%), to wipe
           down the scanner. Dampen, do not soak, the cloth with the cleaning
           solution. Do not spray cleaning solution directly onto the scanner.



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        5. Clean the LCD display window with the damp cloth. Be careful not to
           scratch the display panel.

        6. Use the cloth and cleaning solution to clean the scanner’s outer case. Start
           at the top and work down to the base.

        7. Clean the scanner’s stainless steel base plate with the cleaning solution.
           Wipe all traces of the cleaning solution off the scanner after you finish
           cleaning.

        8. Unlock the rear access door on
           the back cover of the DS200.

        9. Once this door is unlocked and
           back cover of the DS200 is raised,
           the ballot transport mechanism
           can be opened.




        10. Lift up the latches on
            the left and right
            side of the ballot
            transport.

        11. Lift up the top cover
            to access the ballot
            transport.



        12. Use a lint-free cloth and
            isopropyl alcohol to clean the
            spring plates opposite the
            contact image sensors.

        13. Clean the rubber rollers on
            the bottom surface of the
            ballot transport.




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       6.3.2.3 Clean the DS200 Ballot Box

        Clean your DS200 ballot boxes either before or after each election. The ballot
        box requires no disassembly.

        1. Use a cloth dampened with cleaning solution to clear dust and debris from
           the ballot box.

        2. Remove the divider from the lower ballot bin before you clean the bottom
           section of the ballot box. Clean the inside of the bin first and then the
           outside. Wipe down the interior ballot divider and the box cover.
           Remember to periodically rinse the cleaning cloth.

        3. Stand the ballot box upright to clean the recessed, scanner housing.

    Warning
                   Make sure the power cord and the diverter motor connector are
                   not damaged or dirty.



        4. Turn the mounting pedestal upside down and clean the inside of the box.
           Use a soft cleaning brush or feather duster to clear dust and debris. Use a
           brush to clean the diverter vane, the diverter motor and the controller
           circuit board for the ballot diverter. Do not to bend or damage any of the
           sensitive components contained in the diverter motor assembly.

        5. Use a brush to clean debris and dust from the ballot chute assembly. Do not
           use liquids to clean the inside of scanner mounting pedestal. Re-assemble
           the unit after you finish cleaning.

       6.3.2.4 Replace the DS200 Paper Roll

        Check the DS200 printer and change the paper roll, if necessary, for Election
        Day.


      Note
                  A warning message may appear if the internal printer is out of
                  paper.




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        1. Unlock the access door, located above the printer. This will provide access
           to the printer release lever.

        2. Press the lever to unlock the printer
           door.




        3. Open the printer door.

        4. Drop the paper into the printer paper
           compartment.




  Important
                   Make sure the glossy side of the thermal paper is facing the
                   thermal printer.


        5. Pull the end of the paper roll out toward the input tray of the DS200.

        6. Close the printer door and press firmly on the door to make sure it locks
           into place.

        7. Lock the access door above the printer.

       6.3.2.5 DS200 Battery Maintenance

        The DS200 uses an 18-volt, 5-amp lithium ion battery to power the scanner in
        case of an electrical power failure. A fully charged battery can power an
        “active” scanner for up to two hours and an “idle” scanner for up to three
        hours. The machine is “active” when counting ballots or printing reports.
        Estimated battery life is five years.



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        To check the charge for your backup battery, look at the light indicator on the
        back of your DS200 machine.




              • If the light is flashing green, the battery is charged.
                 • If the light is green and not flashing, the DS200 is plugged in and the
                   battery is fully charged.
                 • If the light is flashing at a slow rate, the DS200 is operating on
                   battery power and the battery has 75 percent or more of its charge
                   remaining.
                 • If the light is flashing at a medium rate, the DS200 is operating on
                   battery power and the battery has 50 percent of its charge
                   remaining.
                 • If the light is flashing at a fast rate, the DS200 is operating on battery
                   power and the battery has 25 percent of its charge remaining.
              • If the light is amber, the battery is charging. If the light is amber, allow
                the DS200 to charge until the light turns green. If the battery is not
                charged, it will take up to six hours to charge the battery.
                 • If the light is flashing at a slow rate, the battery is 75 percent
                   charged.
                 • If the light is flashing at a medium rate, the battery is 50 percent
                   charged.
                 • If the light is flashing at a fast rate, the battery is 25 percent charged.
              • If the light is flashing red, the battery is not taking a charge. This could
                be caused by:
                 • A dead battery.
                 • A bad connection to the battery.
                 • No battery is in the DS200.




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      Note        If the DS200 has not operated on battery power and was stored
                  with a full battery charge, the charge time required to fully recharge
                  the battery will be minimal.


   Warning        Removing the battery from the scanner exposes it to risks that are
                  not present under normal operating conditions.

                  Shorting the battery terminals together is especially hazardous even
                  if the battery is “discharged” or “dead.” Shorting the terminals can
                  create sparks, melt wires, and possibly start a fire. Use extreme
                  caution when handling the backup battery.

      Note
                  The DS200 battery may be recycled. Please dispose of the battery
                  properly.


                Check Battery Charge

        Turn on the DS200.

        The battery power icon, located in the upper right area of the screen, displays
        the battery charge.The battery is charging whenever the power cord is plugged
        into the unit. If the battery does not show a full charge, continue to supply
        power to the unit until it reaches a full charge. The length of charge time
        required to fully charge the battery depends on the current status of the
        battery icon. Use the following charge guidelines to estimate charge time:




        If the battery icon is blinking, the battery is disconnected.



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        You can also check the battery charge by looking at the light indicator on the
        back of the DS200.




        Refer to the following table for light indicator state definitions.




Light Indicator State          Battery Status
Flashing green                 Fully charged
      Solid green              DS200 plugged in, battery fully charged
      Flashing slowly          DS200 operating on battery power, 75% or more charge
                               remaining
      Flashing medium pace     DS200 operating on battery power, battery has 50% charge
                               remaining
      Flashing rapidly         DS200 operating on battery power, battery has 25% charge
                               remaining
Amber                          Battery is charging. Allow to charge until light turns green
                               before operation.
      Flashing slowly          75% charged
      Flashing medium pace     50% charged
      Flashing rapidly         25% charged
Flashing red                   Dead battery
                               Bad connection to battery
                               No battery connected




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     6.3.3 Central Count Preparation
        To keep the tabulator in working order, ES&S trained staff must perform routine
        maintenance before each election. Before performing these tasks, unplug the
        scanner and raise the read head to avoid damaging the control panel.


    Warning         Route /install the power cord to protect it from being walked on or
                    pinched. Power the unit down completely before connecting or
                    disconnecting the power cord. Remove the power cord before
                    moving the unit. Place the power cord near an easily accessible
                    outlet.

       6.3.3.1 Tools for Central Count Maintenance

               • Compressed air - 10 oz. can minimum

               • Anti-Static lint-free cleaning wipes

               • Isopropyl alcohol 70%

               • Mild detergent solution

               • Straight screwdriver

       6.3.3.2 Clean the Rollers

        The rollers move each ballot, picked from the input tray, over the transport
        path, through the scan area (upper and lower camera housing), and into one of
        the three output bins (the top, middle, or bottom bin). If the surfaces of the
        rollers are dirty or discolored, clean them.

        To clean the rollers, apply isopropyl alcohol to a cotton cloth and clean the
        visible surfaces of the rollers, turning them as you clean to expose most of the
        surface area of the rollers.


     Caution
                    Keep fingers, hands, and loose clothing clear of the rollers.




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       6.3.3.3 Clean the Cameras

        To clean the cameras, wipe them with a dry, cotton cloth, or use a pressurized
        air can to clean out any debris or paper dust collected during scanner
        operation. It is important to hold the can upright so you do not expel
        propellant onto the sensors.

       6.3.3.4 Clean the Scanner Case

    Warning        Before cleaning the scanner case, disconnect the unit from its
                   power source. Do not use full strength or harsh detergents, liquid
                   cleaners, aerosols, abrasive pads, scouring powders, or solvents,
                   such as benzene or alcohol. Liquids should never be applied
                   directly to the scanner. Use a soft cotton cloth lightly moistened
                   with a mild detergent solution. Ensure that the surface cleaned is
                   fully dry before reconnecting the power.

       6.3.3.5 Clean the Touch Screen

        Spray the cloth with the cleaning solution and gently wipe the screen until
        clean. Then use a dry section of the cloth to dry any remaining cleaning solution
        from the screen.



       6.3.3.6 Replace Log Printer Ribbons


     Caution
                   Switch the printer off before opening or removing the access
                   cover.


     Caution
                   If you are replacing the ribbon, the print head may be hot.



        Use only ribbons specifically designated for your printer model.




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        1. Open the access cover, then slide the print head to the center of the platen.




                                                                  Print head




        2. Lift the old ribbon cartridge at the end nearest the platen, then remove and
           discard it.




        3. Remove the new cartridge from its packaging.


  Important
                   Leave the ribbon shield on the cartridge.




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          4. Lower the front of the cartridge over the print head until it snaps into place,
             then turn the knob clockwise to take up the ribbon slack.


                     Ribbon
                     shield




                                                                           Knob




                                                                     Ribbon
                                                                       plate

 Platen




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       6.3.3.7 Replace Report Printer Paper

                   If you are topping up the paper in a paper tray, it is recommended
      Note
                   that you remove the remaining paper from the tray first, then add
                   the new paper stock followed by the paper you removed. This
                   ensures that the oldest paper is used first to help prevent paper
                   jams.

        1. Remove the paper tray from the bottom of the printer and place plain
           paper in the tray, keeping the level of the paper in the tray below the
           arrowheads on the paper guides.

             For loading A4 or Legal size paper, push the lever in the direction of the
             arrow, then extend the paper tray using the rear paper support.

                                Paper


                                                           Lever




                                    Paper guides




      Note
                   Load letterhead paper facedown and top edge toward the front of
                   the tray.




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        2. Adjust the rear paper support to the size of paper you are using by gripping
           the lugs, tilting and sliding the support forward or backward as necessary.




                                                            Paper guides




  Rear paper
  support



                                                                       Paper level
                                                                         indicator




        3. Adjust the paper guides. It is important to adjust the paper guides correctly
           to ensure that the paper is not skewed in the print process. Paper jams may
           occur if this operation is not carried out correctly.

        4. Replace the tray in the printer. The paper level indicator provides a visual
           indication of how much paper is left in the tray.

                  If you have the optional second paper tray (Tray 2) and you are
      Note
                  printing from the first (upper) tray (Tray 1), you can pull out the
                  second (lower) tray to reload it. However, if printing from the
                  second (lower) tray, do not pull out the first (upper) tray, as this will
                  cause a paper jam.

                Face-Up and Face-Down Printing

        For face-down printing, make sure the rear cover is closed (the paper exits from
        the top of the printer). The output stacker on the top of the printer stacks
        printed pages face-down. Pages printed in reading order (page 1 first) will be
        sorted in reading order (last page on top, facing down).
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        For face-up printing, make sure the rear cover is open. In this condition, paper
        will exit via this path, regardless of driver settings.

        Always use this tray in conjunction with the manual feed tray, multipurpose tray,
        or for heavyweight stocks, to reduce the possibility of paper jams.

       6.3.3.8 Replace Report Printer Toner

        When the toner is running low, TONER LOW is displayed in the LCD. After
        Toner Low appears, the printer will print about 100 more pages, then display
        Toner Empty and stop printing. Printing will resume after a new toner cartridge
        has been installed.


    Warning        Never expose a toner cartridge to an open flame. It can cause an
                   explosion and you can be burned.

                   Be sure to switch off and unplug the machine before accessing the
                   interior of a machine for cleaning, maintenance or fault clearance.
                   Access to a live machine’s interior can cause electric shock.

        It is recommended that you clean the LED array at the same time you change
        the toner cartridge.

        The toner used in this printer is a very fine dry powder contained in the toner
        cartridge.

        Have a sheet of paper on hand to place the used cartridge on while you install
        the new one.

        Dispose of the old cartridge responsibly, inside the pack the new one came in.
        Follow any regulations, recommendations, etc., that may be in force
        concerning waste recycling.

        If you spill any toner powder, lightly brush it off. If this is not enough, use a cool,
        damp cloth to remove any residue.


     Caution
                   Do not use hot water, and never use solvents of any kind. They will
                   make stains permanent.




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    Warning        If you inhale any toner or get it in your eyes, drink a little water or
                   bathe your eyes liberally in cold water. Seek medical attention
                   immediately.

                   If the printer has been powered on, the fuser may be hot. This area
                   is clearly labeled.

        1. Switch off the printer and allow the fuser to cool for about 10 minutes
           before opening the top cover.

        2. Press the top cover release button and open the printer’s top cover fully.


      Note
                  The model B430dn appears in the figure above. The principles are
                  the same for all models of this printer.



        3. Pull the colored lever (1) on the right side of the toner cartridge toward the
           front of the printer to close the cartridge then remove the used toner
           cartridge (2).




        4. Clean the top of the ID unit with a clean, lint free cloth.

        5. Put the cartridge down gently onto a piece of paper to prevent toner from
           marking your furniture.



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        6. Remove the new cartridge from its box but leave its wrapping material in
           place for the moment.

        7. Gently shake the cartridge (3) from end to end several times to loosen and
           distribute the toner evenly inside the cartridge.




        8. Remove the wrapping material and peel off the adhesive tape from the
           underside of the cartridge (4).

        9. Holding the cartridge by its top center with the colored lever to the right
           (5), lower it into the printer over the image drum unit from which the old
           cartridge was removed.




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        10. Insert the left end of the cartridge into the image drum unit first. Align it
            under the tabs (6), and push it against the shiny pins in the drum unit. Then
            lower the right end of the cartridge down into the image drum unit (7).




        11. Pressing gently down on the cartridge to ensure that it is firmly seated,
            push the colored lever toward the rear of the printer (8). Push the lever all
            the way forward until the pointers on the drum and the toner are aligned
            (8a). This will lock the cartridge into place and release toner into the image
            drum unit.




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        12. Gently wipe the LED array surface (9) with a soft tissue.




        13. Close the top cover and press it down to latch it closed.



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       6.3.3.9 Install the UPS

        Use an external Uninterruptible Power Supply (UPS) to protect against data
        loss. The UPS will provide continuous power to the machine, preventing it and
        any attached printers from being damaged in case of a power surge

                   Route the power cord for this product to protect it from being
     Caution
                   walked on or pinched. Power down the unit completely before
                   connecting or disconnecting the power cord. Remove the power
                   cord before moving the unit. Place the power cord near an easily
                   accessible wall outlet.

        Installation of the UPS involves connecting the bottom battery connector to the
        top battery connector.

        1. Position the UPS so that the front panel hangs over the edge of the table

        2. Press down on the front panel and slide it off.




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        3. Insert the bottom battery connector into the top battery connector. The
           picture below on the left shows the two connectors before they are
           connected; the picture below on the right shows the two connectors after
           they have been connected.




        4. Replace the front panel.

        5. Move the UPS into operating position.

        6. Plug the UPS into a power outlet.

                Connect the Central Count to the UPS

        Plug one end of the scanner’s power cord into the scanner, just below the
        power switch. Plug the other end of the power cord into one of the bottom
        receptacles on the UPS that provides battery backup. Connect the data
        communication cable to the UPS and one of the USB ports on the scanner. The
        data communication cable is used by the UPS to let the scanner know when the
        UPS is operating on battery power.




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                Turn On the UPS

        Before turning on the UPS,
        make sure it is plugged into a
        power outlet. Then press the
        power switch. The green light
        visible at the top of this unit
        indicates that the UPS is
        powered on and that utility
        power is powering battery
        backup outlets.




       Note
                    The first time the UPS is powered up, it will take eight hours for it
                    to reach its full charge.




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     6.3.4 ExpressVote Preparation
        ExpressVote maintenance should be performed only by an ES&S-certified
        technician.

       6.3.4.1 Contact Image Sensor (CIS)


      Tools
                  Key, isopropyl alcohol, lint free cloth




        1. Unlock the transport access door.




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        2. Open the transport access door. The prop rod supports the door in the
           open position.




        3. Carefully open the CIS (it will rotate toward you).




        4. Clean the CIS with a fresh, unused cloth.

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        5. Close the CIS after inspection and cleaning.

       6.3.4.2 Print Head


                Tools
                                  Key, isopropyl alcohol, lint-free cloth




        1. Unlock the transport access door.




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        2. Open the transport access
           door. The prop rod
           supports the door in the
           open position.




        3. Locate the print head.




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        4. Open the transport side access door.




        5. Locate and activate the platen release
           switch.




        6. Raise the platen and clean the
           thermal print head with isopropyl
           alcohol and a lint-free cloth.

            Allow the alcohol to dissipate for at
            least 5 minutes before closing the
            platen and printing.


   Important       Do not apply alcohol to the
                   platen roller. Wipe down
                   the platen roller with a dry,
                   lint-free cloth.
                                                    Platen roller            Print head




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        7. Close the platen head.


        Caution        Place pressure on only
                       the two green labels to
                       avoid bending the
                       platen.




       6.3.4.3 Paper Path and Paper Sensors


      Tools
                  Key, compressed air



        To clean the paper path and sensors, take the following steps:

        1. Open the front access door to expose the paper path.

        2. Using compressed air and using short bursts, blow out the paper path to
           remove any paper dust or small fragments of ballots.

        3. If there are larger pieces of the ballot left behind, gently remove them. Do
           not use any extraction tools as this may damage paper path sensors.

       6.3.4.4 Transport Drive Rollers


      Tools
                  Key, Phillips screwdriver, T10 security driver, lint-free cloth, alcohol



        To clean the transport drive rollers, use isopropyl alcohol and a soft, lint-free
        cloth. Slightly dampen the cloth. Use the top roller to turn the other two drive
        rollers while wiping them with the cloth.

        To clean the pinch rollers, remove the back cover and remove the two screws
        that hold each pinch roller to the paper path.



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     6.3.5 ExpressVote XL Preparation
        ExpressVote maintenance should be performed only by an ES&S-certified
        technician.

       6.3.5.1 Paper Path Module

        The ExpressVote XL Paper Path Module (PPM) is a heavy-use component
        subject to friction and other normal operating wear. The preventative
        maintenance tasks described in the following sections help keep the PPM
        operating at maximum efficiency.

                 Accessing the PPM

        The PPM maintenance tasks described in this manual require access to internal
        areas of the PPM. To access the required areas of the PPM, complete the
        following steps.

        1. Power off the terminal and detach
           the AC power cord from the
           rolling cart.

                   For the safety of both
    Electrical
                   operator and equipment,
                   ES&S recommends
                   completing this step
                   before proceeding.




        2. Use the supplied key to unlock and
           open the side access door of the PPM.

        3. To remove the rear panel or, press the lower
           green release lever forward toward the front of
           the PPM, then lift the rear panel of its mounting
           hook in the rear of the PPM.




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        4. To open the front transport access panel, press the upper green release
           lever forward in the direction of the embossed arrow.




            You can now access the paper transport and rear-eject areas of the PPM.

       6.3.5.2 Cleaning the Contact Image Sensor and Print Head

        The Paper Path Module (PPM) houses the Contact Image Sensor (CIS) and the
        thermal print head. Ensuring that the lenses of both components are clean
        helps the ExpressVote XL scan and print activation/vote summary cards with
        maximum efficiency.

        To clean the CIS and the print head, complete the following steps.

        1. To access the CIS/print head assembly, follow the steps under Accessing
           the PPM on the previous page.



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        2. To open the CIS/print head assembly, at the top right side of the transport
           carrier, press the green release lever down.




        3. Using a lint-free cloth or swab lightly dampened with isopropyl alcohol,
           gently clean the lenses of both the CIS and the thermal print head.




      Contact Image
      Sensor (CIS)




                                                                                 Print head




                      To prevent alcohol from dripping or running into unintended
     Caution
                      components of the paper path, do not saturate the cloth or swab.

                      Before proceeding to the next step, allow enough time for the
                      alcohol to evaporate completely from the lenses of the CIS and
                      print head.

        4. Close the CIS/print head assembly. Press gently until the assembly clicks
           into place.

        5. Close the transport access panel. Press gently until the panel clicks into
           place.


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        6. Close and lock the side access door.

       6.3.5.3 Cleaning the Paper Path

        To clean the paper path, complete the following steps.

        1. To access the paper path, follow the
           steps in section <BlueLinks>
           Accessing the PPM.

        2. Using compressed air and using short
           bursts, blow out the paper path to
           remove any paper dust or small
           fragments of debris.

        3. If there are card fragments in the
           paper path that cannot be removed
           with compressed air, gently remove
           the debris manually.


     Caution       To avoid damaging the paper
                   path sensors, do not use tools
                   to extract paper fragments.




       6.3.5.4 Cleaning the Transport Drive and Idle Rollers

        To clean the transport drive and idle rollers, complete the following steps.

        1. To access the paper path, follow the steps in section <BlueLinks> Accessing
           the PPM.




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        2. Using a lint-free cloth lightly
           dampened with isopropyl alcohol,
           gently clean the six (6) rubber
           transport rollers. Also, gently clean the
           idle rollers that meet the transport
           rollers in the paper path. These rollers
           are located on the top and bottom of
           the paper path window.

            Gently turn the rollers manually to
            clean the entire circumference.

                   To prevent alcohol from
     Caution
                   dripping or running into
                   unintended components of
                   the paper path, do not
                   saturate the cloth or swab.

        3. Allow enough time for the alcohol to
           evaporate completely from the
           transport and idle rollers, then close
           the paper path cover. Press gently until the cover clicks into place.

        4. Close and lock the side access door.

       6.3.5.5 Cleaning the Touch Screen and Surrounding Bezel

        Periodically cleaning the infrared touch screen and the surrounding bezel that
        covers emitter/detector. This will help to maintain a sanitary voting
        environment and to keep the terminal operating at maximum efficiency.

        To clean the touch screen, spray the lint-free cloth with the mild screen
        cleansing solution and gently wipe the touch screen until it is clean. Use a dry
        section of the cloth to remove any excess cleaning solution from the screen.


     Caution
                   Do not spray the screen cleansing solution directly on the screen.
                   Dampen the lint-free cloth and wipe away fingerprints and dust.




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       6.3.5.6 Maintaining the Report Printer

        You must periodically replace the thermal tape roll in the ExpressVote XL report
        printer. To replace the printer tape, complete the following steps.

        1. Use the supplied key to unlock and open the access compartment.

        2. To open the report printer, press the
           black release lever down.

                   The terminal chirps to indicate
      Note
                   that the report printer door is
                   open. If the printer door remains
                   open for several minutes, the
                   system may display an alert
                   message indicating that a printer
                   is not found; to dismiss this
                   message, close the printer door.
                   The system automatically
                   reestablishes its connection to
                   the report printer.

        3. Remove the old paper spindle.

        4. Drop a new paper roll into the paper
           receptacle. Orient the new roll so that
           the free end of the paper tape comes up
           from the bottom of the roll and not
           down over the top of the roll.




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        5. Close the lid of the report printer so that
           the free end of the paper tape emerges
           from the front slot. Press gently until the
           lid clicks into place.

            The terminal stops chirping and
            automatically cuts the paper tape to a
            clean, straight edge.




        6. Remove the cut end of the new paper
           tape.

        7. Close and lock the access compartment.




       6.3.5.7 Checking Backup Battery Strength

        Warehouse personnel can use the integrated battery
        meter on the top right-hand side of the ExpressVote
        XL rolling cart to check the voltage status of the
        backup battery when the cart is disconnected from AC
        power and the terminal is powered off.

        To operate the battery meter, press the ON button.
        The meter bars illuminate green to indicate the
        backup battery strength as an approximate
        percentage of the total voltage capacity.

       6.3.5.8 Corrective Maintenance

        Replacing faulty or otherwise deficient equipment and components, along with
        upgrading system software and firmware, should be performed only by an
        ES&S Field Services technician. Contact ES&S for more information.




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Chapter 7: Central Tabulation:
           Absentee and Mail Ballot
           Procedures
   7.1 Ballot Handling and Folding
        Many considerations go into properly folding ballots to be mailed to voters.
        The five main folding methods are depicted and discussed
        in 7.1.8 Folding Methods, in this document. Refer to this section to ensure
        that your jurisdiction takes every measure to fold the ballots for optimum final
        ballot scanning.

        Care in preparing folded ballots for high-speed scanning can greatly improve
        scanning productivity by reducing misfeeds, read errors, and jams in the
        transport or output hopper.

        Ballot handling and preparation consists of the following steps:

        1. Opening the envelopes

        2. Removing the ballots from the envelope and unfold them

        3. Inspecting the ballots

        4. Back-bending the ballots

        The following sections discuss each of these steps.

     7.1.1 Opening Envelopes
        Whether slicing envelopes open by hand or using an automatic letter-opening
        machine, care must be taken not to slice or otherwise damage the ballots.

        Always slice the envelope completely so the ballot is not crumpled when it is
        removed from the envelope.

        Open the ballots as early as jurisdictional rules permit to allow time to inspect
        and prepare the ballots.




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     7.1.2 Removal and Unfolding of Ballots
        Take care to remove the ballots from the envelope without crumpling the ballot
        by catching it on an incompletely opened envelope. If an envelope is not
        completely open, then open it completely in order to remove the ballot
        without obstruction.

        Jurisdictions that are new to this type of ballot prep for central count scanning,
        or wish to improve the performance of their scanning, should perform the
        back-bending procedure covered in Back-Bending Individual Ballots (next
        page) on each ballot as it is opened. As jurisdictions become proficient in
        preparing ballots in this way (as measured by the successful, jam-free scanning
        of ballots), they may find it faster to unfold the ballots into stacks and then
        back-bend the stacks.

     7.1.3 Ballot Inspection
        As ballots are opened and unfolded, they should be carefully inspected for the
        following issues:

       7.1.3.1 Tears and slices

        Whether damaged by the voter or letter opening process, all torn or sliced
        ballots should be repaired, remade, or hand-counted per your jurisdiction’s
        rules and procedures. Scanning ballots with tears or slices can cause jams,
        further damaging the ballots and greatly decreasing scanning throughput.

        Torn or sliced ballots that are not missing any of the paper can usually be
        taped, if allowed.




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       7.1.3.2 Damaged or missing timing or code channel marks

        Such ballots should be repaired, remade, or hand-counted per your
        jurisdiction’s rules and procedures.




       7.1.3.3 Smudges, smears, stains or foreign material

        Such damage can cause pick errors, double feeds, and jams, greatly decreasing
        scanning throughput.

        Ballots that are damaged or soiled enough to risk scanning or feed problems
        should be repaired, remade, or hand-counted per your jurisdiction’s rules and
        procedures.

     7.1.4 Back-Bending Individual Ballots
        Each fold on each ballot must be bent back in the opposite direction of the
        original fold to break the grain of the paper evenly in both directions. If done
        properly, the ballot will lie flat on a table and will not bend in either direction.

        To quickly accomplish this, hold the ballot as shown on the following page, and
        bend it back with your thumbs and forefingers until the fold “breaks” across
        the entire fold.

        This can also be accomplished by back-bending the ballot on the table top and
        gently running your fingers along the fold to break the fold.


     Caution       Do not over-bend the ballot or crease it aggressively, as this will
                   cause it to bend in the opposite direction or create an additional
                   fold line that can lead to the "stair-step."




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       7.1.4.1 Crimps, stair-steps, or irregular folds

        These include any large bump or feature that could cause a ballot to catch on
        another, resulting in a jam or misfeed. These ballots should be separated and
        repaired as follows.




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        The “stair-step” occurs when a second fold is made near the original fold. This
        can be caused by the voter improperly refolding the ballot(s) or by incorrect
        unfolding and back-bending (discussed later in this document).




        Stair-steps can be resolved by running a flat,
        dull object like the top of a fingernail or a
        coin along the unwanted fold. Take care not
        to scuff or mark the ballot by using too much
        force.




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        Additionally, the ballots can be carefully
        rolled lengthwise forward and then backward
        to reduce the step. This works best when a
        group of ballots is rolled together, as shown.
        When rolling the ballots, roll them equally in
        both directions to make sure ballots are flat
        and not curved.




       7.1.4.2 Crimped top or bottom edge

        A crumpled or damaged top or bottom edge
        can cause a jam when the ballot enters or
        travels through a scanner. Such damage
        should be smoothed out by rolling or
        smoothing as much as possible.




        When such ballots are scanned with a Central Count Tabulator, they should be
        run with the undamaged edge leading and the damaged edge trailing.

        When such ballots are scanned with a DS200, they should be run with the
        damaged edge leading and the undamaged edge trailing.

        If a ballot cannot be scanned without catching or jamming, it must be further
        smoothed, remade, or hand-counted per your jurisdiction’s rules and
        procedures.

       7.1.4.3 Orienting Ballots in Stacks

        The Central Count can read ballots in any orientation, but it is generally
        recommended that ballots be laid in the same orientation as they are opened.
        A skilled Central Count operator will quickly determine the best orientation in
        which to process ballots, based on length, folds, and condition.

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        Orienting all of the ballots allows the operator to run them in the desired
        orientation and makes it easier to visually determine whether or not a stack of
        ballots has been sufficiently prepared. Ballot stacks that do not lie flat will
        require additional back-bending or rolling lengthwise until they are flat.

     7.1.5 Back-Bending Stacks of Ballots
        Ballots will generally be staged in stacks near the input hopper of the Central
        Count. As the ballots rest in stacks, a skilled operator can judge how well they
        have been prepared by how flat the ballots lie in the stack. If there is a
        significant bend in the ballots in the stack, a quick back-bend is suggested.

        However, care must be taken when back-bending a stack of ballots. Ballot prep
        staff should begin with smaller stacks of 10 or fewer ballots. With experience,
        staff should gain the skill to back-bend larger stacks of 25 to 50 ballots.

        The ballots should be carefully jogged manually on a table top or with a
        powered jogger.




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        While back-bending the ballots, ensure that the folds line up (see “Correct”
        image below), and that the outer ballot does not wrap around the stack (see
        “Incorrect”). Bending the stack harshly with the ballots wrapping can introduce
        an additional fold and the unwanted “stair-step.”


                Correct




                 Incorrect




       7.1.5.1 Inspecting stacks

        The operator or person staging ballots for scanning should always inspect the
        stack of ballots for issues that were not caught by those opening and preparing
        ballots.

                Lead & Trail Edge Inspection

        Damaged or “crimped” ballots edges:

        These are easily seen by inspecting the top and bottom edges of the stack.

        Bent corners:

        Bent corners, especially on the leading edge of the ballot as it travels through
        the scanner, can catch and cause jams. Straighten the edge and consider
        running this end on the trailing edge.

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                 Side Edge Inspection

        Either look at the ballots or flip through the stack as one would with copy paper
        being inserted into a copy machine. In this inspection, look for the issues
        previously described in Ballot Inspection. Remember to inspect or flip through
        both sides of the ballot stack.

        Below are pictures of these issues, as seen in the stack.




A stair-step is easy to spot. If
left in the stack, this step
can cause a subsequent
ballot to catch as it passes
into the output bin.

The ballot should be turned
end-wise so the step faces
the other way, allowing the
next ballot to pass down the
step. An operator can also
run a fingernail or smooth
coin along the step to
flatten it out.

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     7.1.6 Avoiding Jams
        Once ballots are properly unfolded and inspected, they should always be
        straightened and aligned using a ballot jogger so they can be read. Smaller
        stacks of ballots can be jogged by hand.

        On the Central Count, begin with smaller stacks of about 50 ballots, then work
        up to 100-150 ballots. A skilled operator will find an optimum number of folded
        ballots that can be consistently run without jamming. This number will depend
        on factors such as the length of the ballot, the number of folds, the condition of
        the ballots, and the quality of the ballot preparation.

        If jams become frequent, reduce the number of ballots in the stacks and
        carefully evaluate the ballot prep to eliminate the causes of the jams. Review
        the procedures and experiment with the proper amount of back-bending,
        rolling lengthwise, and number of ballots in a run.

        When jams occur, stop to identify and remove the offending ballot, to avoid
        repeated jams. If the ballot must be run, put in a run by itself, or in small
        batches of problem ballots.

     7.1.7 Scanning Damaged Ballots
        If a large number of ballots are crumpled or rippled from prior exposure to
        liquid, once they are dried and cleared of all foreign material, they can be run
        through the Central Count. They should be run in small batches. The pick delay
        can also be set to 1-2 seconds to run them more slowly, allowing time to
        remove a ballot from the output tray that would otherwise cause a jam with the
        next ballot.




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     7.1.8 Folding Methods
        There are numerous types of folds that can be used for ballots that will be
        mailed to voters. These fold types, combined with the different lengths of
        ballots, can give jurisdictions a number of options. The most common ballot
        folds are below.


                                                                      Description: 2 folds, 3
                   Description: 1 fold, 2 panels                      panels

                   Names: Single-Fold, Half-Fold,                     Names: Z-Fold, Accordion
                   2-Panel, V-Fold                                    Fold, Map Fold




                                                                      Description: 3 folds, 4
                Description: 2 folds, 3 panels
                                                                      panels
                Names: C-Fold, Letter Fold
                                                                      Names: Double-Fold,
                                                                      Parallel Double-Fold




                        Description: 3 folds, 4 panels

                        Names: Accordion Fold,
                        Concertina Fold




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        The choice of a folding method is generally determined by cost and previous
        practice. Cost is often driven by the size of the envelope. A jurisdiction’s
        equipment for handling a particular size of envelope can also be a factor.

        Two rules can help when selecting folds for high-speed scanning.

Rule 1: Choose the least number of folds possible.

        Most importantly: Fewer folds are best. A single fold is easier to handle than a
        double fold; a double fold is easier than 3 folds, and so on.

Rule 2: For multi-page elections, avoid double-fold and “C” folds.

        It is important to avoid making additional folds or bends beyond those made in
        the initial fold process. Voters have to unfold the “by mail” ballots, mark their
        votes, and then refold them. When a voter refolds multiple ballots together,
        certain types of folds can create additional folds or creases, resulting in a “stair-
        step.”

        Generally, the ballots are folded and inserted individually into the envelope,
        and the folds are crisp and even.




        However, in the case of a double-fold, if the voter folds the ballots together,
        one of the folds can be rounded over the other ballot folds.




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        When this fold is opened, the result is a crimp or stair-step.




        Alternately, ballots folded together in a Z or Map fold pattern have significantly
        fewer issues with rounded bends.




        A single fold or any of the “Z” or accordion folds can greatly reduce the
        creation of this stair-step. Additionally, instructions on the ballots to refold and
        insert the ballots into the envelope one at a time would also reduce the
        frequency of ballots being folded over each other improperly.

        Additional important points are as follows:

              • Coordination is necessary between those doing the ballot layout and
                those doing the folder setup to ensure that folders never go through a
                timing track on the ballot and risk going through a voter response (oval)
                area.

              • The roller pressure for the folder should be reduced to about 2–3 times
                the thickness of the ballot stock.

              • Scoring the ballot is not recommended.

        Consult ES&S Ballot Management Services for ballot stock, printing, and
        folding considerations.




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   7.2 Central Count Tabulator Operation
     7.2.1 Load Election onto the Central Count
        Before loading the election definition, you must clear and initialize the
        tabulator. The clear and initialize process clears all data from the machine and
        loads the necessary encryption keys to load and run the election.

        Refer to the following sections:

        Clear and Initialize Central Count Tabulator, page 84

        Load Election onto Central Count Tabulator, page 102

     7.2.2 Zero Report
        Use the Zero Report to ensure all of your contests have zero votes before you
        begin scanning ballots. The report displays zeros for all contests, indicating that
        no ballots have been scanned. You cannot print this report after ballots have
        been scanned on the tabulator.

        To preview or print the Zero Report:

        From the Reports menu, in the Report Type field, press Zero Report.

        Press Preview to the view the report on the touch screen, or press Print to print
        the report on the laser printer.




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     7.2.3 Bin Sorting
        Programmers use Electionware to establish bin sorting settings as part of your
        election definition. The options on the Central Count’s Bin Sorting menu
        enable you to override the election definition and establish different sort
        settings.

        On the Configuration menu, select Bin Sorting.




        There are two options on the Bin Sorting screen:

              • Use Sort Settings to specify which types of ballot conditions will be
                sorted to which output bins.

              • Use Scan Screen Sort Options to display the SORT option on the Scan
                Ballots screen. This option enables you to temporarily override your bin
                sort settings so that only invalid ballots are outstacked.

                Sort Settings

        Use the Sort Settings option to specify to which output bins ballots will be
        diverted, based on selected ballot conditions. This option allows you to specify
        whether undervotes, overvotes, crossovers, blank ballots, and ballots with
        unclear marks are to be processed. If your ballots and election definition use
        the initials and/or review box options, you can specify how to process ballots
        with those boxes.

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                             Table 7-1: Bin Sorting Options

 Ballot
                   Description
 Condition
                   This option sorts ballots with write-in votes. Also, if the Evaluate Unmarked
                   Write-ins option is enabled in Electionware, the DS450 identifies and sorts
 Write-In          ballots with write-in votes even if the target area next to the write-in line
                   was not marked. Write-ins are typically sorted to the middle, processed,
                   bin.
                   This option sorts ballots having more than the allowed number of votes
 Overvote          cast for one or more contests. How overvotes are sorted depends on your
                   adjudication method; manual or electronic.
                   This option sorts ballots that have one or more undervoted contests. This
 Undervote         option does not sort blank ballots. Undervotes are typically sorted to the
                   bottom, processed, bin.
                   This option sorts ballots that do not contain any votes, have been marked
                   with a non-standard marking device for the DS450, or have been marked
 Blank Ballots
                   improperly (for example, the voter circled the candidate’s name instead of
                   filling in the appropriate oval).
                   This option sorts ballots with marks in ovals that the DS450 is unable to
 Unclear Marks interpret. How unclear marks are sorted depends on your adjudication
                   method; manual or electronic.
                   In an open primary, this option sorts ballots that contain votes in multiple
 Cross Over
                   parties.
                   This option sorts ballot that use Initials box(es) and requires that the box
 Initial Box
                   be initialed. If the Initials box is empty, the ballot is sorted accordingly.
                   This option sorts ballots that use the Review box and requires the box to
 Review Box
                   be blank. If Review box is marked, the ballot is sorted accordingly.
                   Ballots that are not associated with the current election or ballot styles that
                   are not associated with any of the election precincts are sorted to an
 Invalid ID
                   unprocessed bin; typically the top bin but they can also be sent to the
                   middle bin if the middle bin is configured as an unprocessed bin.
                   Ballots that cannot be read or interpreted (for example, if the voter makes
 Unreadable        marks on the code channel or the ballot is damaged) are always sorted to
                   the top, unprocessed bin. This setting cannot be changed.




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        When the Central Count scans a ballot and processes it (diverts it into a bin
        configured as Processed), a cast vote record (CVR) is created for that ballot.
        When the batch is saved, the CVRs are marked to be included in results
        tabulation. Ballots not processed (diverted into a bin configured as Not
        Processed) are not marked for inclusion and are therefore not tabulated.

        1. On the Configuration menu, touch Bin Sorting to display the Bin Sorting
           screen.

        2. Touch Sort Settings.

             The Sort Settings view screen displays the current settings established by
             your election definition.

        3. Touch Edit to change the settings for each bin.

        4. When prompted, enter the Election Code, then touch Accept.

        5. On the Sort Settings edit screen, select the bin into which you want each
           type of ballot to be sorted. Touch the top, middle, or bottom button for
           each type of ballot. You can select only one output bin destination for each
           type of ballot condition.

        6. Touch Save to confirm the new settings and return to the Sort Setting view
           screen.


      Note         The Cross Over option is available only in an open primary election.
                   The Initials Box and Review Box options are available only if your
                   ballot design and election definition include initials and/or review
                   boxes.

                   During logic and accuracy testing you may be required to disable
      Note
                   bin sorting before scanning the test deck. Do not use the Sort
                   Settings screen to turn off bin sorting. Instead, use the SORT option
                   on the Scan Ballots screen to turn off sorting during testing and
                   automatically restore your sort settings after testing.




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                Scan Screen Sort Options

        If Scan Screen Sort Options is enabled, the SORT option is displayed on the
        Scan Ballots screen, as shown in the following example.

        The SORT option is used to temporarily turn off all sorting to unprocessed bins.
        Your sort settings for processed bins are maintained. Touch the icon below the
        SORT heading to turn sorting on or off.

        For example, during logic and accuracy testing, or when scanning a stack of
        ballots or cards you do not want to have sorted, touch the icon below the
        SORT heading to set the option to OFF.

        After you save a scanned batch, the SORT option is automatically reset to ON.

        When you scan runs of ballots with the SORT option set to OFF, only invalid or
        unreadable ballots are diverted to the top bin and not processed. All other
        ballots are processed and diverted to the bottom bin(s).

        The SORT option does not appear on the Scan Ballots screen unless you enable
        it. Take the following steps to control whether the SORT option is available on
        the Scan Ballots screen.

        1. On the Configuration menu, touch Bin Sorting.

        2.On the Bin Sorting menu, touch Scan Screen Sort Options.

            The Scan Screen Sort Options settings screen appears.

        3.Touch Edit.
           When prompted, enter the administration code, then touch Accept.

            The Scan Screen Sort Options selection screen appears.

        4.Select Enabled On Scan Screen to display the Sort option on the Scan
           Ballots screen.
           Or, select Disabled On Scan Screen to remove the Sort option from the
           screen.

        5. Touch Save to retain the new setting.




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     7.2.4 Scanning the Ballots

    Warning        The ballot scanning process assumes that the scanner has been
                   powered on, all pre-Election Day tasks have been completed, the
                   election definition has been loaded, the user has the authority to
                   scan ballots, and the scanner has been calibrated.

      Note         Before you attempt to scan ballots make sure that the camera lid
                   and rear panel are closed. The scanner does not allow functions
                   that engage the motors to be performed when the camera lid or
                   rear panel is open.

        1. Touch Scanning.

        2. Touch Scan Ballots. The Scan Ballots screen appears.
           In Mixed Precinct mode, the buttons at the bottom of the screen are
           dimmed. In By Style and Single Precinct modes, the Select Precinct button
           would be active.

        3. Load the ballots into the input tray.
           a. Adjust the length of the input and output trays to accommodate the
              ballots.
           b. Slide the ballot guide out of
              the curved opening in the
              input tray, as shown in the
              picture on the right.
           c. Place the ballots in the input
              tray. The ballots can be in any
              orientation.




                  ES&S recommends using a jogger to separate the ballots and to
      Note
                  align the ballot stack before you place the ballots in the input
                  hopper. If the ballot stack is slightly curved, place the stack in the
                  input hopper with the convex side up. If the scanner cannot read a
                  ballot because of its condition or because of the way in which it is
                  fed into the scanner, the scanner will not process the ballot and will
                  out stack the ballot to the Not Processed (top) bin.

           d. Slide the ballot guide back toward the opening until it rests gently against
              the ballot stack.


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        4. Once the ballots have been loaded, the Start button on the Scan Ballots
           screen turns green. Touch Start to begin scanning.


                   If you are required to select a precinct and have not yet done so,
      Note
                   the Start button will be dimmed. The only button you will be able
                   to use is the Select Precinct button. Press Select Precinct to search
                   for and select a precinct. After you have selected a precinct, the
                   Start button will turn green.

             While the ballots are being scanned, only the Stop button is available on
             this screen. If you need to stop the machine before the batch is finished,
             touch Stop to stop scanning. The number of ballots that have been
             scanned will appear in the Current column.

             After the ballots have been scanned, only the Save button is active. The
             Current column on the screen indicates the number of ballots in each bin,
             as well as the total number of ballots scanned.

             At this point, you can do any of the following:

              • Generate Not Processed reports for any bins containing out-stacked
                ballots that were not processed, and delete not-processed counts from
                the batch.

                   If ballots have been out-stacked to the top (not processed) bin, you
      Note
                   have the option of generating the Not Processed Ballots report.
                   You can also remove the ballots from the bin and reset the top bin
                   quantity to zero, before you save the batch. The removed ballots
                   can later be reviewed or re-scanned.

              • Save the current batch.
              • Delete the current batch.
              • Scan additional ballots into the same batch before saving. Load more
                ballots into the input tray. Press Start to scan the additional ballots.
                When the ballots have been scanned, the numbers in the Current
                column will be updated.

    Warning        If any of the output hoppers are full or nearly full and you wish to
                   scan more ballots into the batch, make sure you keep any ballots
                   you remove from the output bins segregated from other batches.
                   Ballots removed but not yet saved as part of a batch must all be
                   segregated by the bin from which the ballots were removed.



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       7.2.4.1 Out-Stacked Ballots (Not Processed)

        The Current column on the scan ballots
        screen shows ballots out-stacked to the top
        (not processed) bin.




      Note
                  The red “X” at the bottom of the column is used to delete the
                  entire batch.


        Press the button to the left of the top red “X” to generate and display the Not
        Processed Ballots report.

        To either review or re-scan the ballots out-stacked to the top bin, remove them
        and reset the count for the top bin to zero. To reset the count for the top bin,
        press the top red “X”. If you select Continue, the Top Bin count is zeroed out.


      Note        Ballots outstacked for “Image Unreadable” or “Ballot Long”
                  conditions and that fail to be read after a second scan should be
                  reviewed and processed using the adjudication procedures
                  established by your jurisdiction.

       7.2.4.2 Save the Current Batch

        1. On the Scan Ballots screen, touch Save.

        2. When you are prompted to confirm, touch Save.

        3. After the data has been saved, touch Done or Scan. If you press Done, the
           Scanning menu is displayed. If you press Scan, the Scan Ballots screen is
           displayed, allowing you to scan another batch of ballots.


      Note        If you press Scan, when the Scan Ballots screen opens, the
                  quantities in the Current column will be all zeros, and the quantities
                  in the Saved column will have been updated to include the
                  quantities in the saved batch.



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     7.2.5 Exporting Data
        When data is exported from the Central Count tabulator, all files are digitally
        signed and, aside from the Audit Log, all files are also encrypted. The Audit
        Log is not encrypted to enable you to read it directly from your PC.

        Data can be exported to a properly formatted (FAT32) blank ES&S flash drive.
        Or, if the Central Count is networked to a local server, data can be exported
        directly to the server.

        Additionally, when connected to a network server, the Central Count can be set
        to automatically export files as each batch is saved.

        The Results menu provides options for exporting or backing up your election
        results data. A summary of each option follows, with additional detail in the
        following sections.

        Export Files – Use this option to export the cast vote record (CVR) for new or
        all batches scanned and saved on the Central Count, as well as all saved ballot
        images. This data can be imported into Electionware.


      Note         The saved CVRs for ballots that are sorted to the Processed bin(s)
                   are marked for inclusion in the collection process. The saved CVRs
                   for ballots that are diverted to the Not Processed bin(s) are marked
                   for exclusion from the collection process.

      Note         The election definition determines whether ballot images are
                   captured and exported to the flash drive. This option is controlled
                   in the Electionware Configure Module.


        Backup – Use this option to create a backup of the election results, CVRs, and
        ballot images on a flash drive. The Backup Collect function will convert this
        backup data into results media that can be read into Electionware.

        Export Audit Log – Use this option to export only the audit log to a flash
        drive.




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       7.2.5.1 Export Results

        Touch Election to display the Election menu.

        From the Election menu, touch Results.

                Export Files

        Use the Export Files function to export files to Electionware. You will have the
        option to:

          • Export files for new batches or batches that have changed (saved or
            deleted) since the last export. Batches unchanged since the previous
            export will not be included in the current export.
          • Export files for all batches.

        This function exports the results collection data, election definition, packaged
        ballot data (including ballot images and CVRs) of all scanned ballots that were
        processed, and audit log to the selected location.


  Important        When Export on Save is used, the Audit Log is not included with the
                   files exported. The Audit Log can be exported separately after all
                   batches are scanned and exported.


                Exporting files for new batches vs. exporting all files

        When ballots are adjudicated in Electionware, it is recommended to use the
        Export files for new batches only option to expedite adjudication.

        Should an Electionware database error or other problem occur, you can clear
        the database and then, from the Central Count, Export files for all ballots to
        restore the files in Electionware. However, any adjudication completed up to
        that point will be lost and ballots will need to be re-adjudicated. You can
        resume exporting only new batches after the next new batch of ballots is
        scanned.

        If adjudication is handled manually, files can be exported after all ballots are
        scanned using the Export files for all ballots option.

        1. From the Results menu, touch Export Files.

        2. If you are exporting to a flash drive, insert a properly formatted (FAT32)
           blank ES&S flash drive into one of the USB ports, if you have not already
           done so.
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        3. If the Central Count is networked, the Export Files will offer the option to
           export to either a flash drive or to a network server.

            You also will have the option to export files for new batches scanned since
            the last export or to export files for all batches scanned.

           a. Select a location for the exported files.

              • ES&S Media Device

              • Network Server Folder

           b. Select which files to export.

              • Export files for new batches only

              • Export files for all batches

           c. Touch Export.

        4. If you chose to export new files, you will be prompted to enter the election
           code. If you selected all files, you will be prompted to enter the override
           code.

        5. When the Export Files confirmation screen appears, touch Confirm.

            If you are exporting to a flash drive, it must be a properly formatted blank
            ES&S (FAT 32) device.

            If you are exporting to a network, the files are exported to the CLCTDATA
            folder on your network server.

            The Central Count exports the results collection data, election definition,
            gathered ballot data (including ballot images and cast vote records) of any
            scanned ballots that were processed, and the audit log to the selected
            location. While this is occurring, a pop-up screen indicates the batch data is
            being collected and exported.

        6. The Export Files screen indicates when the data has been successfully
           exported. If you exported to a flash drive, it is now safe to remove the
           device. Touch Done to return to the Results screen.




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     7.2.6 Backup
        The Backup option enables you to do the following:

              • Export the CVRs and specified image files to a blank flash drive

                Use the Backup Export function to create periodic backup copies of the
                election data from all ballots processed up to that point. Keep ballots
                physically separated so you know which ballots belong to which backup
                flash drive.

              • Collect results from a flash drive containing an exported copy of the
                CVRs and convert those to a format that can be used to read election
                results and data into Electionware.

                The Backup Collect function creates the same files as are created in the
                Export Files function, but uses a different process and may require more
                time to perform than the Export Files function, especially if there is a
                large amount of data on the Central Count.

                Use this function if a hardware or system problem prevents further
                scanning of ballots or if you discover an error in your procedures.

     7.2.7 Results Report
        The Results Report contains detailed election results and is available in multiple
        report levels.

        If the election uses Reporting Groups to categorize different ballot sets, such as
        Absentee or Overseas, the Results Report displays the number of ballots cast
        for each of those Reporting Groups. If a Reporting Group is assigned to a type
        of ballot that is not scanned on the Central Count, the report displays zero
        ballots cast for that Reporting Group.

        When you select Results Report on the Reports menu, the screen allows you to
        specify the reporting level, the detail level, and whether to report results for a
        selected precinct or for all precincts.

        Select from:

              • Election Detail - The report displays detailed contest totals for the
                whole election and includes overvote and undervote information.

              • Election Public - The report displays contest totals for the whole
                election. Overvotes and undervotes are not included.


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              • Precinct by Precinct Detail - The report displays detailed contest totals
                for the selected precinct and includes overvotes and undervotes.

              • Precinct by Precinct Public - The report displays contest totals for the
                selected precinct. Overvotes and undervotes are not included.

            If you select the Precinct by Precinct Detail or Precinct by Precinct Public
            report level, you must also specify the precinct(s) to include.

                 • Touch Select Precinct to create the report for one selected precinct.
                 • Touch Select All Precincts to create the report for all precincts.
                   You can print the report but not preview it on the screen.

     7.2.8 Clear Election Results
        Following the election, you can clear all election results from the Central Count
        or you can clear results from a single precinct at a time.

        Touch Election to display the Election menu.

        From the Election menu, touch Results.

                     Clear All Results

        1. On the Results menu, touch Clear All Results.

        2. When prompted, enter the Override Code and then touch Accept.

            The Clear All Results confirmation screen appears.

        3. Touch Confirm to clear all election results.

        4. When the results have been cleared successfully, touch OK to close the
           pop-up message.

            All counts displayed on the Scan Ballot screen, including the Last Export
            Total, are now zeroed out.

                     Clear a Precinct’s Results

        1. On the Results menu, touch Clear A Precinct.

        2. When prompted, enter the override code, then touch Accept.
           The Select Precinct screen is displayed.



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        3. From the sequence of Select Precinct screens, search for and select the
           precinct with election results to be cleared.

        4. When the Clear Precinct Results screen appears, touch Clear Results to
           clear the election results for the selected precinct.

            A pop-up message indicates the precinct’s results are being cleared.

        5. The Clear Precinct Results screen indicates when the results have been
           successfully cleared. Touch Done to close the screen.

            In the Saved column on the Scan Ballots screen, any processed ballot
            counts specifically for the cleared precincts are subtracted from their
            respective bin counts and added to the not processed count.




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     7.2.9 Shut Down Central Count Tabulator
        After the post-election day maintenance has been completed, shut down and
        power off the Central Count, and then prepare the machine for physical
        storage.

        1. Press Exit in the lower left-hand corner of the screen to display the Exit
           screen.

        2. From the Exit screen, press Shutdown Scanner to access the Shutdown
           Scanner screen.

        3. On the Shutdown Scanner screen, press Shutdown to shut down the
           scanner.

        4. A message will confirm when it is safe to turn off the machine. Flip the
           power switch to the off position. The power switch is located on the left
           side of the machine.

        5. After you have shut down and powered off the scanner, press the power
           switch on the UPS to turn it off.

        Shut down – To shut down the tabulator, initiate the Shutdown process first
        and only turn the power switch off after the screen displays a message
        informing you it is safe to do so. The power switch is in the compartment on
        the left side of the machine and may be locked and sealed. Shutting down the
        machine without going through the Shutdown process can put your election
        data at risk.

        Shut down and restart – Under certain circumstances, such as testing, you
        may want to shut the tabulator down and then restart it. After shutting down
        the unit, wait 30 seconds before restarting the machine.

        Forced shut down – Shutting off the power switch without going through the
        on-screen shutdown procedure will cause the unit to perform a full data
        integrity check upon restarting, which can take several minutes.




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Chapter 8: Early Voting Procedures
   8.1 Ballot Preparation
        Many considerations go into properly folding ballots to be mailed to voters.
        Complete information about ballot handling and folding is provided in
        7.1 Ballot Handling and Folding.

   8.2 DS200: Early Voting
     8.2.1 Load Election onto the DS200
        Before loading the election definition, you must clear and initialize the
        tabulator. The clear and initialize process clears all data from the machine and
        loads the necessary encryption keys to load and run the election.

        Refer to the following sections:

           Clear and Initialize DS200 Tabulator, page 83

           Load Election onto DS200 Tabulator, page 100

       8.2.1.1 Check the Election Definition for Accuracy

        The DS200 automatically generates an Initial State report when you start the
        scanner. Check the report for the following information:

              • System Values: Make sure the date and the time appear correctly on
                the report. If the information is not correct, change date and time from
                the Systems Setting screen.

              • Election Information: Make sure that the jurisdiction name, polling
                place, and the number of precincts listed on the report are correct.

     8.2.2 Zero Report
        After you power up the DS200, press Open Polls.

        Depending on options set for your election definition, the DS200 prints a
        Status Report and/or a Zero Certification Report on activation.




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     8.2.3 Scan Ballots
        The DS200 can scan ballots inserted in any direction or orientation.The DS200
        emits two quick beeps when a ballot is accepted. Depending on the options
        set for your election definition, the DS200 will use one of the following
        methods for accepting or rejecting blank ballots, overvotes, and crossover
        votes:

              • Unconditional acceptance: The scanner accepts and tabulates results
                for all ballots. Any contests that are blank, overvoted or cross voted will
                be logged as such and the remaining contests will be tabulated
                appropriately.
              • Unconditional rejection: The DS200 automatically rejects crossover,
                overvoted or blank ballots. Voters must review and correct ballot
                selections before the scanner will accept the ballot.
              • Query the voter for correction: The DS200 returns a questioned ballot
                to the voter and displays a screen message that describes the problem
                and prompts the voter to either review and edit the ballot or cast the
                ballot as it is. The voter presses Correct Your Ballot to correct the ballot
                or presses Cast Your Ballot with Errors to cast the ballot without
                editing selections. Once Cast Your Ballot with Errors is pressed, a
                thank you for voting message appears.

        Poll workers should closely monitor system messages during voting.

     8.2.4 Close Polls
        Close your polling place for voting at the assigned time and then, use the
        DS200 Close Polls button to prepare scanner results for processing. You cannot
        print reports or process vote totals from the scanner’s USB flash drive until you
        properly close the polls.

        You can print election, event, and audit log reports after you close the scanner
        for voting.

        1. Check the ballot auxiliary bin for uncounted ballots.


      Note
                  Study your jurisdiction’s procedures for handling uncounted ballots
                  before Election Day.



        2. Unlock the DS200 access door.


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        3. Press and hold down the CLOSE POLLS button, located above the power
           button, for about four seconds and then release to officially close the polls.
           Depending on your election configuration, the scanner may automatically
           print one or more of the following reports: Status report, Race Results
           report, Certification report and/or Audit Log report. Press CANCEL to stop
           printing reports at any time.

        4. Press Shutdown to turn off the DS200.

        5. Remove the USB flash drive from the DS200.

        6. Deliver the USB flash drive and any printed reports to election
           headquarters.

     8.2.5 Results Report
        The DS200 generates a variety of results reports after the polls close.
        Depending on the options configured for your election definition, the scanner
        may automatically print reports when you close the polls or you can manually
        select reports from the POLLS CLOSED screen.

        1. Close the polls to access the POLLS CLOSED screen and press RESULTS
           REPORT to reprint any automatic reports generated when the polls are
           closed. The types of reports generated depend on your election definition
           settings.

        2. To print additional reports, return to the POLLS CLOSED screen and select
           from one of the following report options:
              • Precinct Report Media
              • Precinct Report Summary
              • Audit Log Report
              • Poll Report Media
              • Poll Report Summary

       8.2.5.1 Transfer Results

        If your jurisdiction uses Election Reporting Manager to generate election
        reports, transfer election results from your precinct counters to the PC running
        the reporting software.




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        1. Unlock the access door.

        2. Remove the USB flash drive from
           the scanner.

        3. Deliver the USB flash drive to
           election headquarters




      Note         Deliver all write-in ballots to your election administrator as soon as
                   possible after the polls close. Separate all of the write-in ballots
                   from regular ballots.



   8.3 ExpressVote and ExpressVote XL: Early Voting
        For early voting, the ExpressVote and ExpressVote XL can be configured just as
        they would be for voting on Election Day.

        You can create an All Precincts election definition in Electionware for use in
        early voting, and you can use the daily version of the Ballot Accounting report
        to manage your early voting.

        Before loading the election definition, you must clear and initialize the unit(s).
        The clear and initialize process clears all data from the machine and loads the
        necessary encryption keys to load and run the election.

        Refer to the following sections:

             Clear and Initialize ExpressVote, page 80

             Clear and Initialize ExpressVote XL, page 82

             Load Election onto ExpressVote, page 95

             Load Election onto ExpressVote XL, page 97

        Instructions for opening the polls, voting, and closing the polls are all provided
        in Chapter 9: Election Day Procedures (next page).




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Chapter 9: Election Day Procedures
   9.1 Precinct Supplies, Equipment Delivery, and Inspection
        A complete listing of precinct supplies can be found in
        6.3.1 Recommended Supplies.

     9.1.1 Equipment Delivery
        1. Perform a pre-election procedure to prepare the tabulators prior to
           shipment.

        2. Complete the final inspection sheet (provided by the jurisdiction).

        3. Log the equipment serial number and operating system version.

        4. Place keys in an envelope with the final inspection sheet.

        5. Remove the election testing media, then insert and secure the official
           election media devices. Verify that the media is coded for the correct
           location.

        6. Check the printer paper and replace it if necessary.

        7. Close the ES&S election equipment, securing the envelope containing final
           inspection sheet and keys.

        8. Secure the equipment for transport to the polling places. Precinct
           tabulators must be mounted on their ballot bins.

     9.1.2 Inspection
        Instruct the appropriate precinct worker(s) to verify the delivery and condition
        of supplies to the polling places, prior to Election Day, as follows:

              • Check all stacks of ballots to ensure that ballot style, serial numbers, and
                precinct numbers (if used) are printed correctly.

              • Ballots shall be in the quantity and manner required by Elections Code,
                and demonstrator ballots marked for demonstration use only will also
                be included.




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              • In elections that contain partisan offices, ballots may, as directed by the
                Secretary of State, be appropriately tinted to reflect which partisan
                office appears on a specific ballot.

              • Demonstration placards, signs, and “vote here” indicators shall be
                appropriately positioned.

              • Voting system precinct supplies shall include ballot privacy sleeves,
                ballot marking devices, two sample ballots of each ballot style in each
                language required to be voted on in the precinct, and security seals.

                 • All voters voting on paper ballots in a polling place must be
                   provided a privacy sleeve for the ballot and instructed on its use, in
                   accordance with CA Elections Code.

              • A Certificate of Packaging and Sealing, in duplicate, together with a
                self-addressed stamped business reply envelope, addressed to the
                responsible elections official shall be delivered to the polling place.

              • The elections official shall verify that one sealed precinct scanner nested
                in its ballot box has been delivered to the polling place. If multiple
                precinct processing will occur at the polling place, the device shall be
                located so it is equally accessible to the voters and precinct officers of
                each precinct. Keys to the unit and the ballot box will be included in the
                precinct supply kits and marked as such.

              • Anti-static envelopes or appropriate containers and seals to facilitate
                safe and secure transportation of memory cards and election results
                tapes shall be supplied.

        If multiple precinct processing within a single polling place is to be
        implemented, the functions hereinafter described shall be performed by the
        board workers of each precinct acting jointly insofar as is practical. Where
        forms are to be completed, the elections official shall provide them in such a
        format and so written as to facilitate notations by each precinct staff.
        Surrendered and delivered vote by mail ballots, spoiled ballots and provisional
        ballots shall be maintained separately by precinct.




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   9.2 Polling Place Procedures
        A warning must be posted in each voting booth stating that, pursuant to CA
        Elections Code, tampering with voting equipment or altering vote results
        constitutes a felony, punishable by imprisonment.

        Hourly, inspect the voting booths to ensure that there are no electioneering
        materials present, and that the booth/voting machine is otherwise suitable for
        voting.

        Correct any defacement of the booth/voting machine according to
        jurisdictional practices and in conformance with California Election code.

        Set up polling place voting devices with enough room for a voter in a
        wheelchair to approach the tabulator from the front as well as along the left
        and right sides of the voting device.


  Important
                   Arrange voting booths with the following considerations: traffic
                   flow, voter privacy, safety and accessibility.




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   9.3 Opening the Polls
        Before the polls are open, the precinct workers will perform the following tasks.

        1. Complete Oath of Office and Declaration of Intention forms pursuant to CA
           Elections Code.

        2. Assemble voting booths and in each booth display a copy of the required
           materials.

        3. Ensure that a pad of demonstration ballots, markers and suitable
           demonstration materials are available at the point of ballot issue.

        4. Before the polls are open, the precinct board shall verify that the serial
           number on the scanner is the same number listed on the Voting Device
           Report. The board shall also verify that all seals have not been tampered
           with and the serial numbers match what is recorded by the County office.

        5. Check that the memory card plate is secure.

        6. Verify that no ballots remain in any of the ballot box bins from testing or
           previous elections.

        7. Verify that the ballot slot cover on the auxiliary bin is closed and the bin is
           locked.

        8. Close and lock all ballot box doors.

        9. Ensure that the scanner is nested into the ballot box or bin, and that the
           power cord is properly routed.

        10. Observe the poll opening time. If the recorded time is different from the
            actual time, note the time that the poll had opened and initial the marked
            time.




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     9.3.1 Open Polls on ExpressVote
        If the terminal touch screen was locked with an override code to prevent
        unauthorized use, an election worker can unlock the terminal by entering the
        same override code.


      Note
                   Ensure that all peripheral devices are connected to the appropriate
                   USB port before powering on the ExpressVote unit.



        1. Unlock and open the access compartment door.

        2. Set the Mode switch to Voter.

        3. Press the Power switch to the ON position.

             After completing the power up sequence, the system displays the Enter
             Election Code screen.

             Near the end of the powering up sequence, an on-screen calibration
             message appears, giving you a 10-second window to initiate calibration of
             the touch screen. If calibration is needed, touch any part of the screen to
             begin calibration. If not, simply wait for the countdown to end.

             Before allowing voters to use the ExpressVote, use the System Readiness
             report to verify that the terminal has been loaded with the correct election
             definition.

        4. On the Enter Election Code screen, enter the election code that was
           defined in the Electionware Configure module.


      Note         If the code is entered incorrectly, an error message will appear. After
                   three failed attempts, another message appears and instructs you to
                   remove the media device. Wait 10 seconds, then reinsert the device
                   and try again.

             Following successful verification, a Loading Election screen will appear.




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            After the election is successfully loaded,
            the Election Loaded screen appears.

        5. Touch OK.




        The card insertion screen indicates that the
        terminal is now ready for voting.




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     9.3.2 Open Polls on ExpressVote XL
        1. Unlock and open the access compartment door.

        2. Inside the access
           compartment, press and hold
           the power button until the unit
           begins the power-on
           sequence, then release the
           button.



        3. On the Enter Election Code screen, touch the on-screen keypad to enter
           the election security code established via the Electionware Configure
           module.

        4. Touch Accept.

        If the ExpressVote XL access compartment door is open, the system displays a
        warning and sounds an audible alert.

        To dismiss the alert and continue, touch the Alert Button for both consecutive
        alert screens.

        After successfully loading the installed election definition and closing the
        access compartment door, the system automatically displays the welcome
        screen. The terminal is now ready for voting.




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     9.3.3 Open Polls on DS200
        Before your polling location opens for voting, retest and check the system
        configuration for each of your scanners.

        After you have configured, tested and loaded the election definition, and
        turned on the DS200, you are ready to open the poll for voting.

        1. Enter the election code and touch Accept.




            After the election code is accepted and the election is validated the
            following screen appears, confirming that the election has been loaded on
            the machine.

            When the power cord is plugged into a 120V AC outlet and the unit is
            keyed on, all vote totals for all candidates must be zero. The public counter
            will display zero ballots cast.




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        2. Touch Open Poll to open the polls for voting.

            After you touch Open Poll, the DS200 checks available memory and verifies
            the election definition and prints the startup reports (Ballot Status
            Accounting, Configuration, and Zero Totals reports).


  Important        If the scanner does not print the Zero Tape, this must be reported to
                   the elections official. Voting may commence, but ballots are to be
                   deposited in the front auxiliary bin until corrective action is taken.
                   Such action must be logged.

        Verify that all offices and propositions appear on the Zero Tape. The tape is
        signed by two board members; it can be rolled up and placed in a secure place
        or posted in the polling place for public display. This process is repeated at the
        closing of the polls. This tape becomes a permanent record of the election as it
        was conducted at the precinct.




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        3. After the DS200 finishes printing the startup reports, press Report Options
           if you need to print additional reports.

        4. Press Go to Voting Mode.

        5. Close and lock the access panel.

        After you remove the key, the DS200 is ready for live voting. Make sure that the
        public counter on the screen increases by one with the first page of each ballot
        cast, but do not make any further adjustments to the DS200 unless a system
        message appears.




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   9.4 Voting Procedures
        The instructions in the following sections serve as your guide for assisting
        voters in using the ExpressVote and/or ExpressVote XL.

     9.4.1 ExpressVote Voting
        To begin voting, insert a blank
        activation card into the front card slot
        with the corner cut oriented to the
        front right. The ExpressVote scans the
        card.




        The next steps are determined by the features included in this election.

       9.4.1.1 Printed Activation Barcodes

        If the inserted activation card has a printed activation barcode, the system
        automatically displays the correct ballot for the voter’s precinct and ballot style
        combination. The ExpressVote activation card printer can be used with an
        electronic poll book or the ExpressLink application to print activation barcodes.

       9.4.1.2 Select from Multiple Precincts or Ballot Styles

        If the election has multiple precincts and/or ballot styles, and the activation
        card does not have a printed activation barcode, the poll worker must select
        and confirm the correct precinct-ballot style combination to activate the correct
        ballot for the voter.

        The poll worker can select the correct ballot at the ExpressVote, just before
        each voter votes. Or the poll worker can use an electronic poll book or the


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        ExpressLink PC application to perform this task when the voter arrives at the
        registration table.

       9.4.1.3 Initials and Review Boxes Option

        If the election definition is configured to use either the initials or review boxes
        options, activation cards must be pre-printed using ExpressLink.

        If the election definition requires initials or review boxes and you run out of pre-
        printed activation cards during the election, an authorized election worker can
        override the initials or review boxes requirement.

       9.4.1.4 Multiple Language Support

        If the election supports multiple languages, the Select a Language screen
        appears. Voters can choose any of the supported languages by touching the
        desired button on the Select a Language screen. Based on language selection,
        the ExpressVote ADA system plays the appropriate audio language during the
        voting process and displays screens in the selected language.

       9.4.1.5 Load Online Sample Ballot Selections with External Code Scanner

        If the election supports Ballot Online
        (BOL) sample ballot voting and BOL
        scanning is enabled on this unit, the
        system displays the following screen
        before displaying the first contest
        screen.

         • The Have a barcode that contains
           your selections option enables the
           voter to scan a printed QR code
           containing sample selections the
           voter made via the Ballot Online
           application before arriving at the
           polling place. The voter can review
           and/or change any of the sample
           selections via the ExpressVote
           terminal.




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          Note         The Ballot Online application is not a required part of this
                       certified voting system; however, this application can be used to
                       facilitate testing and to demonstrate system interoperability.


              If the voter touches the barcode option, the system prompts the voter to
              scan the barcode printed on paper or displayed on a mobile device
              screen.

              After the voter’s BOL sample selections are loaded into the ExpressVote
              terminal, the system displays the Verify Selections screen.

         • The Vote Now option enables the
           voter to proceed to the first contest
           screen without scanning a QR code.




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       9.4.1.6 Vote Selections on ExpressVote Screen

        If the voter did not use the external
        scanner to load sample selections from
        the BOL application, the system
        displays the first contest screen after
        the precinct, ballot style, and language
        are selected, if applicable.

        The voter completes the following
        steps to make selections via the
        ExpressVote touch screen.

        1. Touch to select the name of the
           candidate or other contest choice.
           A check mark appears next to the
           selection.

        2. To navigate forward or backward on
           the displayed ballot, touch Next or
           Previous.

        3. Write-ins only:
           For contests that allow write-in
           votes, touch the write-in selection
           on the contest screen. Use the on-
           screen keyboard to enter the write-
           in name, then touch Accept.

        4. Continue voting until all contests in
           this election have been completed.




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        After all selections have been entered, and the last screen of the ballot has
        been viewed, the ExpressVote displays the Verify Selections screen.

                  The ExpressVote automatically prevents overvotes.
      Note
                  Depending on the election definition, the ExpressVote may require
                  the voter to view all choices in a contest, or may alert voters to
                  undervotes or prevent undervotes in selected contests.

                  Visual and audio messages alert the voter of a condition that
                  requires attention, such as an undervote.

       9.4.1.7 Verify Vote Selections

        After all selections have been entered, and the last screen of the ballot has
        been viewed, the ExpressVote displays the Verify Selections screen.

        Voters can use the following steps to review, verify, and change their selections
        for each contest.

        1. Touch Next and Previous as
           needed to review all selections.


        Note        The system identifies
                    undervoted contests
                    with an exclamation
                    mark (!) icon.

        2. To change a selection, touch that
           contest listing. The system
           displays the vote selection screen
           for that contest.

        3. If applicable, make the desired
           change to the contest selection.

        4. After making any desired
           change(s), touch Next to return
           to the Verify Selections screen.




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             The system identifies changed selections with yellow highlighting.


      Note
                   The voter must complete all desired changes before printing the
                   vote summary card.



       9.4.1.8 Completing the ExpressVote Voting Session

        When the voter is finished using the
        Verify Selections screen, the
        ExpressVote displays the Print Card
        screen.

        5. To continue, touch Print Card.




             The screen displays a print status
             screen while the terminal prints the
             vote summary card.



      Note         The ExpressVote prints the voter’s selections on the inserted
                   activation card. After printing, the inserted card is no longer
                   referred to as an activation card. The inserted card is now referred
                   to as a vote summary card.

        If the ExpressVote is set to disable the Rear Eject option, the terminal returns
        the printed vote summary card to the voter. The voter must then insert the card
        into the DS200 tabulator, or into a secure card storage case for later tabulation.

        If the ExpressVote is set to enable the Rear Eject option, after the vote
        summary card has been printed, the system displays the Printing Complete
        screen.


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     9.4.2 ExpressVote XL Voting
        To begin voting, insert a blank or pre-printed activation card into the front card
        slot with the corner cut on the front right.




        The ExpressVote XL scans the card. If the election contains a single precinct
        and ballot style, the system automatically selects the voter’s correct ballot.

        If there are multiple precincts/ballot styles, the next step depends on the
        number of ballot styles in this election, and whether the card is blank or has a
        pre-printed activation barcode.

       9.4.2.1 Precinct and Ballot Style Selection for Blank Card

        If the activation card is blank, and the election contains more than one ballot
        style, the ballot style must be manually selected to activate the correct ballot
        for the voter.

              • If the election contains a single precinct with splits requiring multiple
                ballot styles, the system displays the Select Ballot screen.
                Skip to step 2.

              • If the election contains multiple precincts, the system displays the
                Precinct Search screen.




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        1. On the Precinct Search screen, touch to select the voter’s precinct.




            If the election contains more precincts than can be displayed on a single
            screen, touch the Next and/or Previous buttons to navigate the entire list.

            To filter the list of displayed precincts, touch the Search field. Use the on-
            screen keyboard that appears to enter the precinct name, or the first few
            characters of the precinct identifier or name, then touch Search. The
            system displays only precincts matching the entered search characters.
            Touch to select the correct precinct.

            If the selected precinct has a single ballot style, the system displays the
            confirmation screen. Skip to step 3.

            If the selected precinct has multiple ballot styles, the system displays the
            Select Ballot screen.




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        2. On the Select Ballot screen, touch the correct ballot style, then Next.




      Note         Ballot styles appear on this screen in the order you established in
                   Electionware. If the election contains more ballot styles than can be
                   displayed on a single screen, touch Next and/or Previous buttons
                   to navigate the entire list.

        3. On the Confirm Selections screen, if your precinct and ballot style choices
           are correct, touch Accept.

       9.4.2.2 Precinct and Ballot Style Selection for Pre-Printed Card

        If the election uses activation cards with
        pre-printed activation barcodes, the
        system automatically selects the correct
        ballot for the voter.



          Locate Precinct and Ballot Style with Activation Barcode

        If you use an electronic poll book or the ExpressLink application, the poll
        worker can look up the voter’s correct precinct and ballot style when the voter
        arrives at the registration table in the polling place.

        The poll worker inserts a blank activation card into the ExpressVote Activation
        Card Printer and prints an activation barcode on the card.

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        When the voter inserts this pre-printed card into the ExpressVote XL, the
        system selects the correct ballot for the voter.

       9.4.2.3 Multiple Language Support

        If the election supports multiple languages, after the ballot is selected, the
        system displays the Language screen.




        Touch to select the desired language, then touch Next. If applicable, the
        ExpressVote XL plays audio ballots in the selected language.

        During a voting session, the voter can
        touch the Language icon in the upper
        right corner of the contest selection
        screen to display a language window
        and change the language selection.

        The system saves the voter’s place in
        the ballot. To resume voting, touch
        Return to Ballot.


       Note         If applicable, the
                    ExpressVote XL plays
                    audio ballots in the
                    selected language.




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        In a multi-language election, if your election definition is configured to display
        the optional voter instruction screen, the system displays this screen before
        displaying the activated ballot.




        To display the selected ballot and begin making contest selections, touch Start
        Voting.


      Note        In an election that includes audio, if the voter activates an assistive
                  navigation device (presses a key or sips/puffs), an Assisted Voting
                  window appears. Select Continue to use assisted voting, or Return
                  to use the touch screen without audio.

       9.4.2.4 Vote Selections

        After the system displays the activated ballot, the voter completes the
        following steps to make contest selections via the ExpressVote XL touch
        screen.


      Note        The ExpressVote XL automatically prevents overvotes.

                  The election definition determines whether the system alerts voters
                  to undervotes or prevents undervotes in selected contests.




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        1. Touch to select the name of the candidate or other contest choice. The
           system displays a check mark and green highlighting to indicate the
           selection. To deselect the choice, touch the name or contest again.




      Note
                   If an assistive device is used, each contest will appear on a single
                   screen, and the voter uses the device to step forward and back.


                   If the ballot is too large for a single full-face display screen, at the
      Note
                   bottom of the screen, touch Next Page or Previous Page to
                   navigate to the next or previous ballot page. The election definition
                   may require the voter to view all ballot pages.




        2. For contests that allow write-in votes,
           touch Write-In.



             Use the on-screen keyboard that
             appears to enter the write-in name, then
             touch Accept.




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        3. Continue voting until all contests in this election have been completed.


      Note
                  If the ballot has multiple screens, touch Next to advance to the next
                  screen.



        4. When all selections are made, review the screen to verify and/or change
           selections before printing the vote summary card. The voter must complete
           all desired changes before printing the vote summary card.


      Note        If the ballot has multiple screens, all selections will be shown on a
                  consolidated vote summary screen. If you want to change a vote,
                  select the contest to be returned to that contest screen.


      Note        If an assistive device is used, the Review Selections button will
                  appear on the final contest screen. Select this option to view a
                  consolidated vote summary screen. If the election uses audio, select
                  each contest to hear your votes.

              Changing a Selection During Voting

        To deselect a contest choice, touch the name or contest again. The system
        removes the check mark and highlighting from the selection.

        In a Vote for One contest, the voter can touch the screen to make a selection,
        then touch a different selection. The new selection automatically deselects the
        original selection.

        In a contest that permits more than one selection, such as a Vote for Two
        contest, a voter who has already made the maximum number of allowed
        selections must deselect one of the original choices before making a new
        selection in the same contest.




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       9.4.2.5 Completing the Vote Session

        After completing the on-screen review and verification of vote selections, the
        voter prints all selections onto the inserted activation card, then deposits the
        ejected card into either an ES&S precinct tabulator or into a ballot box at the
        election site for later scanning on an ES&S central count tabulator.


      Note         After results are printed, the inserted card is no longer referred to as
                   an activation card. The printed card is now referred to as a vote
                   summary card.


        5. After verifying all choices, in the lower right corner, touch Print Ballot.

        6. The system displays a confirmation window indicating that you are about to
           print your vote summary card and that the process cannot be undone.
           Touch Print.




          Print Ballot - Single-Screen                   Print Ballot - Multi-Screen



      Note
                   This selection prints the votes on the card. This action cannot be
                   undone.


             The system displays a busy window while printing the vote summary card.

             When the printing process is complete, the system ejects the card from the
             front card slot and displays a thank you screen indicating that the vote
             session is complete.

        7. Remove the ejected vote summary card.

             The system displays the card insertion screen, indicating it is ready for the
             next voter.

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       9.4.2.6 Review Vote Summary Card via Audio Playback

        A visually-impaired voter can use audio playback to review the printed vote
        summary card before ejecting it.

        On the consolidated vote summary screen, after the voter selects Print Ballot,
        the Print Ballot screen appears.

        1. On the Print Ballot screen, select Print.


      Note
                   This selection prints the votes on the card. This action cannot be
                   undone.



             The system prints the card and parks it in the paper path to the right of the
             screen.

        2. On the Review Printed Card screen, use the assistive device controls to
           select Review Printed Card.


      Note
                   Alternatively, to complete the voting session and eject the printed
                   vote summary card without additional review, select Finish.



             After you select Review Printed Card, the system displays the consolidated
             vote summary screen.

        3. On the vote summary screen, select each contest to hear audio playback of
           your vote selections.

        4. When finished, use the assistive device controls to select Finish.

             The system ejects the printed vote summary card, ends the vote session,
             and displays the voter welcome screen. The terminal is ready for the next
             voter.




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     9.4.3 DS200 Scanning
        Voters will mark their ballots
        and, if applicable, enter their
        write-in entries in private voting
        booths. Once a voter has
        marked a ballot, he or she will
        insert the ballot into the DS200.
        The ballot insertion screen
        animation shows voters where to
        insert the paper ballot or
        ExpressVote card. The DS200
        can scan ballots inserted in any
        direction or orientation.

        The DS200 can collect individual graphical ballot images of all ballots.
        Depending on the options set in Electionware, it will collect all ballot images,
        only those containing write-in votes, or none at all. These ballot images are
        stored with random names and timestamps assigned to each file to protect
        voter anonymity.

        The DS200 does not divulge any information identifying how a voter marked a
        ballot when the ballot is cast. The only visible change in system status after a
        voter casts a ballot is the increment of the public count.



                  The ballot box main compartment was designed to hold
      Note
                  approximately 2,500 pieces of paper.

                  The auxiliary ballot compartment was designed to hold
                  approximately 100 pieces of paper. To estimate the ballot capacity
                  of the auxiliary compartment, divide this number by the number of
                  pages per ballot.

        From the ballot insertion screen, you can view the public count information.
        Touch the Public Count icon on the Public Count banner.




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        The system opens a
        pop-up window showing
        the number of paper
        ballots and ExpressVote
        cards that have been
        scanned.



       9.4.3.1 DS200 on
               Battery Power

        An external DC power
        supply, which plugs into
        a standard120-volt AC
        outlet, supplies power to the scanner. If a power outage occurs, the DS200
        contains an internal backup battery that can run the scanner for a minimum of
        two hours, depending on scanner activity. If the DS200 is plugged into a power
        source, the backup battery will be charged.

        Observe the rear LED, located next to the Wall Power Adapter Cord
        Connector, if the LED is amber and blinking slowly this indicates that the
        Battery Pack is charging. If the LED is a solid green, the Battery Pack is
        completely charged.

       9.4.3.2 Assist ADA Voters with DS200

        Poll workers may be required to assist ADA (Americans with Disabilities Act)
        voters with using the DS200. For example, a poll worker may be asked by the
        voter to insert the ballot into the DS200, correct ballot-handling exceptions
        (such as undervotes, overvotes, mistakes), or assist with casting a ballot after
        exceptions have been resolved or accepted by the voter who is unable to
        interact with the DS200 interface.



                  ExpressVote users can eject their ballot into a privacy sleeve, which
      Note
                  can then be transported by the voter or assisting poll worker to the
                  DS200 and inserted into the scanner. If there are no ballot handling
                  exceptions, the DS200 deposits the ballot in the ballot box. If there
                  are exceptions, the poll worker must confirm with the voter that the
                  ballot is to be cast as is.

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     9.4.4 Provisional Voting
        Pursuant to California Elections Code, a Provisional Ballot shall be issued to a
        voter not appearing on the polling place roster but requesting to vote. These
        ballots will be clearly distinguished by the County and should be kept separate
        from normal ballots. When voted, the ballot will be sealed in a signed
        envelope, similar in process and design as a vote-by-mail envelope, then
        deposited into the auxiliary bin of the ballot box. At the close of polls, this
        ballot shall be placed with the voted ballots, in its sealed envelop, for transport
        back to the County. Follow County-specific instructions for further detailed
        processing.

        Before tabulating, the County will follow verification procedures to determine
        that voter’s eligibility to vote in that election.

        ES&S does not provide specific procedures for the system to handle provisional
        voters. This is a manual process for which the jurisdiction is responsible.

              Provisional Voters – In Precinct

        If the ballot was cast by a provisional voter registered to that precinct, the
        ballot shall be cast in its entirety and in its original form.

              Provisional Voters – Out of Precinct

        If the ballot was cast by a provisional voter not registered in that precinct, the
        ballot will be duplicated to a ballot specific to that voter’s precinct. The
        duplication will reflect only the offices and propositions in which the voter is
        entitled to vote.




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   9.5 Closing the Polls
        The following procedures and activities must be conducted in public view.

        Close the polling place for voting at the assigned time.

                  You cannot print reports, or process vote totals from the memory
      Note
                  device until you properly close the polls.

                  You can print election, event, and audit log reports after closing the
                  tabulator for voting. You can also transfer results to combine the
                  tabulator totals with the final vote tallies from other polling places at
                  a central counting location.

     9.5.1 Close Polls: ExpressVote
        For ExpressVote equipment, closing the polls consists of simply powering
        down the unit(s).

        To shut down the ExpressVote at the end of the voting period, press the power
        switch into the Off position and hold until the unit begins the power-down
        sequence.




  Power Switch




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     9.5.2 Close Polls: ExpressVote XL
        For ExpressVote XL equipment, closing the polls consists of simply powering
        down the unit(s).

        There are two methods for shutting down the ExpressVote XL: use the Power
        button, or use the Supervisor menu.

       9.5.2.1 Shut Down with Power Button

        Open the access compartment, then press and release the red Power button.




        On the Confirm Shut Down dialog box, touch the Shut Down button to power
        off the terminal.




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       9.5.2.2 Shut Down from Supervisor Menu

        To shut down without unlocking the access compartment, navigate to the
        Supervisor Menu and touch the Power button in the upper right corner.




        On the Confirm Shut Down dialog box, touch the on-screen Shut Down button
        to power off the terminal.




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     9.5.3 Close Polls: DS200
        1. Check the ballot auxiliary bin for uncounted ballots.

        2. Unlock the DS200 access door.

        3. Press the CLOSE POLL button inside the access door and above the power
           button.




        4. Press Close Poll to cease voting and close the polls.

            Depending on your election configuration, the DS200 may automatically
            print one or more of the following reports: Ballot Status Accounting Report,
            Results report, Configuration Report and/or Audit Log report.




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            When the DS200 has finished printing any reports, the screen confirms that
            the poll has been closed.




              • To reprint any additional reports, press Report Options.

              • To review write-in votes at this time, press Write-Ins.

        5. Press Finished - Turn Off to turn off the DS200.

        6. After the Power button light goes off, remove the USB flash drive from the
           DS200 and deliver it, and any printed reports, to election headquarters.

       9.5.3.1 Uncounted Ballots

        Save any ballots that were not counted during voting in the temporary ballot
        storage bin. After closing the polls, remove and scan the uncounted ballots to
        add the totals to the tabulator’s memory.

       9.5.3.2 Review Write-In Votes at Polling Place

        After you close the polls, you can review the write-in votes that were cast on
        each DS200. You can use the screen to view the digitized images of ballot
        pages that contain write-in votes, or you can print the Write-in Review Report
        to view only the write-in portion of each of those digitized ballot images.




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Chapter 10: Reporting
   10.1 Overview
        After the election, Reporting is used to import tabulated results, machine logs,
        cast vote records, and ballot images by reading the election media from the
        ES&S election equipment USB flash drives/networked results; review, export,
        and report election results and media device-related data; and review/
        adjudicate ballot images.

        The Reporting module can display or export detailed status information about
        individual flash drives, and produce machine log reports. It can also clear
        loaded results files, in order to delete test data or to start the loading process
        over.




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   10.2 Loading Election Results


        The Load Results workflow opens the Load Results window.




        When loading results, as a precaution, it is recommended that you log in as a
        Reporting User (not as an Administrator).




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     10.2.1 Load Results Workflow Summary
        The process of loading election results can be summarized in six basic steps:

          1. Select the Load Results workflow.

          2. If applicable, select Load Results from Network.

          3. Click Start Load.

          4. Insert a results flash drive.

          5. When the status says “complete,” remove the flash drive.

          6. Repeat steps 4 and 5 until all results flash drives have been loaded.


 Select
                                     Click Start Load                  Insert flash drive




                                    Remove flash drive              Wait for “Complete”




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     10.2.2 Moving Results Data to the Loading Location
        If necessary, the election results data from the tabulator can be moved from
        one location to another to be loaded into Electionware.


      Note
                   Only ES&S-certified USB flash drives can be used with
                   Electionware.



        1. On the computer, create a new folder, named for the flash drive to be
           copied (e.g., “DS850 Media 1”).

        2. In Windows, open the new folder.

        3. Insert the media flash drive into the computer and open it in Windows.

        4. Press Ctrl + A to select the full contents on the flash drive.

        5. Press Ctrl + C to copy the selected contents.

        6. In the new folder, press Ctrl + V to paste the full contents of the flash drive
           into the new folder.


      Note
                   The file/folder structure of the copied contents must be kept
                   exactly the same as it was on the original flash drive.



        7. Eject the flash drive and close the new folder.

        8. Right-click the new folder, point to Send to, then select Compressed
           (zipped) folder.

             A new ZIP file appears, with the same name as the original folder.


  Important        The unofficial results must be protected and transmitted securely.
                   The following encryption steps are critical to protecting the
                   integrity of your data.


        9. Encrypt the ZIP file using your election password.
           a. Right-click the ZIP file, point to WinZip, then select Encrypt.

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           b. In the Encrypt window, enter your election password, then re-enter it.
           c. Click OK.

        10. Send the encrypted ZIP file to the person administrating Electionware.

                Administrator Instructions:

        1. Copy the ZIP file to the computer running Electionware.

        2. Right-click the ZIP file, point to WinZip, then select Extract to.

        3. In the WinZip Extract window, select the desired location on the computer,
           then click Unzip.

        4. In the Enter Password box, enter your election password.

        5. Click OK.

             A new folder is created in that location, containing the unzipped files.

        6. Insert a blank, FAT32-formatted flash drive into the computer.

        7. Open the new folder. Press Ctrl + A to select the full contents of the folder.

        8. Press Ctrl + C to copy the selected contents.

        9. Navigate to the inserted flash drive. Press Ctrl + V to paste the full contents
           of the new folder onto the flash drive.


      Note
                   The file/folder structure of the copied contents must be kept
                   exactly the same as it was in the unzipped folder.



        10. Load the results as instructed in 10.2.4 Load from Media and/or Network.




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     10.2.3 Networked Central Count in Multi-Client Environment

      Note
                  This section does not apply to standalone configurations or systems
                  without a networked central count device.


        If you have set up networked results processing from Central Count tabulators
        in Configure > Manage > Central Count Network Settings, the Load Results
        from Network check box will be enabled under Load Results. If you select this
        option, the system will automatically detect and load network results when you
        click Start Load.




        If you are operating in a multiple-workstation network environment, when one
        station selects Load Results from Network, this option becomes disabled on
        all of the other machines. If the first station deselects the option, then the
        option is restored for all stations until another station selects it, as
        demonstrated in the following image.




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                                                                  Option available




                                                                  Option selected




                                                            Option disabled for all
                                                                    other stations




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     10.2.4 Load from Media and/or Network
        Controls for starting and stopping results loading are in the Start/Stop Results
        Loading box.

        1. If applicable, select Load Results from Network.

        2. Click Start Load. The Start Load button will change to Stop Load.

        3. Connect the poll media flash drive to the Electionware computer.

        The system will automatically load results from every connected poll media
        flash drive, as well as from the network, until you click Stop Load.


    Caution       If you have been loading results and then need to re-generate
                  ballot styles in Capture, all loaded results will be cleared from
                  Electionware. It is recommended that you first back up the election
                  before taking this action.

              In the Load Results table view, as results are loaded from each flash drive,
              its load progress, and identifying information will appear in the Results
              Received panel.

              The Results Received panel displays the last 200 batches loaded.




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        Icons displayed in the Upload Type column indicate the method of each upload
        at a glance:

           • Network


           • Flash Drive


           • Wireless (where applicable)




        If an error occurs while loading data, a description of the error will appear in
        the Errors panel at the bottom of the screen.




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       10.2.4.1 Log Files for Central Count Equipment

        When loading results from Central Count tabulators (DS850® or DS450®), the
        method used to transfer the results will affect whether equipment logs are
        included with the import. If the log files are not included with the data, then
        they can be retrieved from the equipment.

           • Export on Save (network-only): Logs not included

           • Export Files for New Batches Only (network or flash drive):
             Logs included

           • Export Results (network or flash drive): Logs not included

           • Export Files for All Saved Batches (network or flash drive): Logs included

     10.2.5 Viewing Poll Places, Media Flash Drives, and Machines
        The Load Results Navigator displays the load status of each poll place in the
        election database. Poll place types and poll places are listed by name, and the
        abbreviation for the Reporting Group of each poll place appears to the right.

        If a Reporting Group is marked as complete from the Manage menu, the right-
        click menu for its associated polling place will be disabled.

        Click the plus sign to the left of a poll place type to display the list of polling
        places of that type.

        Use the drop-down list to select your preferred view: Precinct View or
        Detailed View.




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       10.2.5.1 Precinct View

        In Precinct View, click the plus sign to the left of a poll place to display each
        precinct associated with that poll place.




        In Precinct View, you can clear loaded results at the Elections Results level and
        at the Poll type level. Refer to 10.2.5.4 Clear Results.




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       10.2.5.2 Detailed View

        In Detailed View, loading information appears differently, depending on the
        type of tabulation equipment that provided the results data.

        Hover the mouse pointer over a media flash drive or machine to view related
        details in a tool-tip. The details will vary depending on load status.




        For the DS200 and Central Count tabulators, click the plus sign next to each
        poll to display the load status of each associated media flash drive. Each flash
        drive is listed by the Media ID number assigned by Electionware when the
        media was created.




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       10.2.5.3 Status Indicators

        The Load Results Navigator indicates the load status of each poll place, using
        specific icons.

   Polling Place Icons:

   A poll place without all associated media loaded, or results that have been
   cleared, will have an empty circle, indicating a status of Not Completed.
   A poll place type or poll place with some but not all associated media
   loaded will have a half-filled circle, indicating a status of Partially
   Completed.
   A poll place type or poll place with all associated media loaded, will have a
   green checkmark, indicating a status of Completed.

   Loaded DS200 media that was packaged externally (for the same election
   on a separate computer network) will have a circle with a green checkmark.



                  If a precinct tabulator (DS200) poll place results flash drive is loaded,
      Note
                  then all precincts associated with that poll place, even those with
                  zero ballots cast, are considered “Reporting” (either Complete or
                  Partially Reported, depending on the number of tabulators using
                  that precinct).

                  If a central count tabulator (DS850/DS450) poll place results flash
                  drive is loaded, then only precincts with ballots cast will be
                  considered “Reporting.”

      Note        Once you start loading Central Count media, the Navigator will
                  always show the Central Count entry as Partially Reported until you
                  manually change its status to Complete.




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   Manually Changing a Poll Place Status

        To change the status of a
        poll place to Complete,
        right-click the poll place,
        then click Mark Poll Place
        as Completed Manually.




        To change the status of a
        poll place to Partially
        Reported, right-click the poll
        place, then click Mark Poll
        Place as Partially Reported.




      Note        When a poll place is manually reverted to Partially Reported, and
                  subsequently completed through loading of results, the status must
                  be manually changed to Completed, including collection media.
                  This also applies to manual entry.




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       10.2.5.4 Clear Results

        Loaded media results, images, CVRs, and equipment logs can be cleared
        (deleted from the database), in order to delete test data or to start the loading
        process over.


    Warning
                   Click Stop Load before clearing any results.



        To clear loaded results for a single flash drive, or the whole election, right-click
        the item in the Navigator, then click Clear Results.




        Once a poll place or flash drive is cleared, its Status on the Results Received
        pane will change to “Cleared,” and its Navigator icon will reset to an empty
        circle (not started).


     Caution       The Reset Election Media Status option in the Package module will
                   clear the database of any results loaded from that device and also
                   remove the device from the Reporting module Navigator.


   Clearing Externally Packaged Media Results

        Externally packaged DS200 results media that has been cleared will be
        indicated in the Navigator by an empty circle and an asterisk next to gray text.




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   10.3 Semi-Official Canvass Results Export Files
        Results export tasks are performed
        in the Electionware Reporting
        module.

        The Export Results option on the
        Tools menu is available only when
        California is selected for the state
        Rules Profile in the Home module
        on the Election Information screen
        during the creation of the election.

        In order to use this option, special
        steps are required in the
        Electionware coding of the
        election. These special election
        coding steps must be performed
        before attempting to create the
        California CalVoter Election Results
        Report Files.

        The California CalVoter Election Results template files must be retrieved from
        the CalVoter II workstation for processing. The California CalVoter Election
        Results Report Files are created using California CalVoter Election Results
        template files as input.

        The California CalVoter Election Results Report Files are generated using the
        Electionware Export Results feature.

        1. From the Tools menu,
           select Export Results.




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        2. In the Export Results window, next to the CA SOS Template File box, click
           Browse.




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        3. Navigate to select the appropriate California CalVoter Election Results
           template file and click Open.

              If you copied the CalVoter County template files into the “C:\CALVOTER
              Template Files” disk location, as suggested, you can browse to this disk
              location and select the appropriate template file.

              If you copied the CalVoter County template files into a different disk
              location, then browse to that location.

              The template file and its path appear in the CA SOS Template File box.




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        4. Under Template Type, select the export file template type.

            Each template type is to be selected for creation and submission of the
            associated election results file to the CA SOS. Each template type is briefly
            defined.

           • Regular Report (REGL): The regular report is used to update the CA SOS
             elections results database on a periodic basis. A regular report is to be
             submitted as the first California CalVoter Election Results Report File on
             Election Night. The regular report should be created and submitted on a
             time interval set by the California Secretary of State.

           • Final Report (FINL): The final report must include all precincts within the
             county and contain data for every contest/category and ballot measure in
             the election. A final report is to be submitted as the last California CalVoter
             Election Results Report File on Election Night. Successful submission of the
             final report indicates the completion of the election night reporting
             process by the county. If this report is not processed successfully, the
             county is not considered to have completed its election night process.

           • Update Report (UPDT): Update reports are used only after a successful
             final report has been submitted by the county. Update reports are
             considered as part of the semi-official canvass process. Counties only need
             to submit updates for contests/candidates or ballot measures that have
             changed.

           • Statement of Vote (SOV): The SOV reports the county-by-county votes
             cast for each candidate and measure in the template file.

           • Supplement to the Statement of Vote (SSOV): The Supplement to the
             Statement of Vote provides detailed information on how votes were cast
             within certain county districts in the template file for specific contests or
             issues in the current election.

        5. In the Export Location frame, next to the CA SOS Output Folder box, click
           Browse.

              The initial value for the CA SOS Output Folder is the Election’s Election
              Folder Name.

        6. Navigate to the target disk drive or system directory to which the exported
           file is to be created. Highlight the directory and click Select.

              The selected disk drive or system folder path appears in the CA SOS
              Output Folder box.


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        7. Click Export.

              The California CalVoter Election Results report file is generated and
              exported to the selected destination folder.


      Note        To export the California CalVoter Election Results Report File to a
                  USB drive, insert the USB drive into a port and browse to and select
                  the USB drive as your CA SOS Output Folder export file location.


        8. On the confirmation dialog box, click OK.




      Note        If any other message appears in the Information screen, the export
                  file creation was unsuccessful or the created file is incomplete.
                  Access the Output – Events pane for more detailed information.




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   10.4 Results Reporting - Reports and Exports


        The Election Results workflow is used to generate paper and electronic
        tabulated results reports and export files.

        The Reporting module can produce
        summary and custom table reports, as well
        as exports, each of which can be adjusted
        to fit your needs:

           • Summary Results:
             By election, precinct, or precinct/split

           • Custom Table Results
             (Canvass-style reports):
             By precinct, precinct/split, poll places,
             ballot style, or district

           • Results Plain Text Exports (similar to
             the ASCII export from Election
             Reporting Manager software):
             Summary or Precinct Detail

           • Results XML/Custom Exports: Enhanced XML, Standard XML, or Custom

           • Results CSV Exports: Precinct Detail



      Note
                  If vote totals have been manually modified and saved, these totals
                  are reflected in the Reporting module’s reports and export files.


                  The Election Summary report and Enhanced XML export file can
      Note
                  show results down to the precinct/split level.

                  Plain Text exports and CSV exports can show results on the precinct
                  level.

      Note
                  Multiple templates of the same report type or export type can not be
                  opened simultaneously in the report template designer screen.


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      Note
                  When splits within a precinct are combined, results reports will
                  combine their results under the split with the lowest ID.


        The Election Results workflow is accessible only when Display Election Results
        is selected in the Admin Settings.




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        Right-click a summary or table report in the Navigator to view, add, edit, or
        delete the report. Right-click Plain Text, XML/Custom, or CSV Export in the
        Navigator to add, delete, or export the file.




  Important
                   If you need to keep the information in a report you are viewing, be
                   sure to save the report before opening another report template.




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        In the heading of a generated report from Election Results, three header items
        come from the information entered during election creation: Long Name,
        Election Date, and County Name. This information can be changed in the
        report designer, if needed.




                       Long Name



                             Election Date     County Name




        The Long Name heading (middle left) can be considerably longer than the
        other lines without appearing truncated in the generated report.




        The file options under Election Exports
        include the option to automatically export an
        updated results file at specified intervals.

        When using this option, keep in mind that
        the filename remains the same for each
        export, meaning the older file gets
        overwritten.



        Consequently, if the exported file is open at the time of the next creation, the
        export will fail. To avoid this error, create a copy of the exported file and open
        the copy instead.


      Note
                  For faster export speeds, ES&S recommends exporting to a PC
                  directory rather than a USB flash drive.


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     10.4.1 Summary Results Reports

      Note
                  If the report includes more than five reporting groups, the default
                  orientation will be landscape.


                  If the report includes precincts with
                  suppressed contests, the report header will
      Note        include the word “Suppressed.”




        1. On the Navigator, right-click the desired report type (Election Summary or
           Precinct Summary) and select Add or Edit. The template appears in the
           designer screen.




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        2. Enter a report name of up to 80 characters.

        3. As needed, enter the Report Heading text that will appear on the top left
           and top right of the report.

        4. Reporting Groups

              Select which reporting groups to include in the report. If you select
              Custom, the Custom Selection button becomes active. Click this to open
              the Select Reporting Group(s) dialog box, where you can select the
              desired group(s) from the list.




      Note        When selecting custom reporting groups in Electionware reports,
                  the Precincts Reporting statistics will reflect all election precincts
                  selected for the report.


              To separate the reported results by individual group, select the Show
              Group Details checkbox.




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        5. Report Contents

              From the list, select the type of report to
              generate: by election, precinct, or precinct/split.

              An Election Summary report will include
              cumulative results from the entire election.

              If you select one of the other report types, you
              may select to report All or a Custom list. The
              Custom Selection button opens the list.




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        6. Statistics and Contests

              Statistics refers to precincts’ status, total registered voters, ballots cast,
              and voter turnout. You can choose to include some or all of this
              information in the report. To include results for local contests as well as
              jurisdiction-wide contests, select the Show Local Contests checkbox.

              You may select to report All or a Custom list. The Custom Selection
              button opens the Contests and Statistics lists.




      Note
                  For a precinct report using statistics only (no contests), please use
                  Custom Table Results Reports.


      Note
                  For a recount election, select the races from the recount group to
                  include only these races in the report.




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        7. Report Options

              By default, all reports will include the Contest, Candidate, and Write-In
              Totals.

              When you select any of the other Report Options, they will appear as
              active in the list to the right.




              If Cross Endorsed Totals is selected, the report will contain the cumulative
              totals for each candidate.


      Note
                  The option Show Cross Endorsed Totals is enabled only if the
                  election contains cross-endorsed contests.


      Note        For Summary Results Reports, the option Show Precincts Reporting
                  by Contest is enabled only for the Election Summary report type
                  (not for Precinct or Precinct/Split).


              When Show Precincts Reporting by Contest is selected, the report will
              show how many precincts have been counted (both complete and partial)
              for the specific contest at the time of the report. This information will
              appear at the bottom of each contest on the report.


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              The first number represents the number of counted precincts, and the
              second number represents the number of precincts with this contest.
 2 Precincts
 Reporting out of
 3 Precincts with
 this contest




 3 Precincts
 Reporting out of
 251 Precincts with
 this contest




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        8. Candidate Options

              Under Candidate Percentages, select the basis of calculation. To omit all
              percentages from the report, select No cand % - no Over/Under.




              By default, candidates are listed in the order in which they appear on the
              ballot, but the Candidate Order setting enables you to make the winners
              appear on top.

              If you selected to include candidate percentages, you have the option to
              add them as a bar chart by selecting Show Bar Chart Percentages.

        9. Report Format

              The Condensed Layout option reduces the length of the report by
              condensing the data, and also removes all shading except for the bar
              chart indicator.




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        10. Save and view

              After making your selections, click Save. The report you created will now
              be listed in the Navigator.

              To preview the current report, click View Report.

              Election Results: Sample page from Election Summary Report




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        Election Results: Sample page from Condensed Election Summary Report




      Note
                  In summary reports, only the first two lines of contest and candidate
                  names will appear; any additional content will be truncated.




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          On the Navigator, the pre-existing default reports are identified by a black
          icon, while the user-defined reports will appear with a gray icon.




Default
User-
Defined




          User-defined reports can be deleted, but default reports cannot.




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     10.4.2 Custom Table Results Reports
        1. On the Navigator, right-click Custom Table Report and click Add or Edit.
           The template appears in the designer screen.




        2. Enter a report name of up to 80 characters.

        3. As needed, enter the Report Heading text that will appear on the top left
           and top right of the report.

        4. Reporting Groups

              Select which reporting groups to include in the report. If you select
              Custom, the Custom Selection button becomes active. Click this to open
              the Select Reporting Group(s) dialog box, where you can select the
              desired group(s) from the list.


      Note        When selecting custom reporting groups in Electionware reports,
                  the Precincts Reporting statistics will reflect all election precincts
                  selected for the report.




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        5. Report Contents

              From the list, select the type of
              report to generate: by precinct,
              precinct/split, poll, ballot style, or
              district types.



              You may select to report All or a
              Custom list. The Custom Selection
              button opens the list.




        6. Statistics and Contests

              Statistics refers to precincts’ status, total registered voters, ballots cast,
              and voter turnout. You can choose to include some or all of this
              information in the report. To include results for local contests as well as
              jurisdiction-wide contests, select the Show Local Contests checkbox.




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              You may select to report All or a Custom list. The Custom Selection
              button opens the Contests and Statistics lists.




      Note
                  For an open primary election, if the Report Contents selection is set
                  to Ballot Style, registered voter data will not be listed for Statistics.


      Note
                  For a recount election, select the races from the recount group to
                  include only these races in the report.




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        7. Report Format

              The Condensed Layout option reduces the length of the report by
              condensing the data, and also removes all shading except for the bar
              chart indicator.




        8. Report Options

              By default, all reports will include the Contest, Candidate, and Write-In
              Totals.

              When you select any of the other Report Options, they will appear as
              active in the list to the right.




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        If Cross Endorsed Totals is selected, the report will contain the cumulative totals
        for each candidate.


      Note
                  The option Show Cross Endorsed Totals is enabled only if the
                  election contains cross-endorsed contests.



              When Show Precincts Reporting by Contest is selected, the report will
              show how many precincts have been counted (both complete and partial)
              for the specific contest at the time of the report. This information will
              appear at the bottom of each contest on the report.

              The first number represents the number of counted precincts, and the
              second number represents the number of precincts with this contest.




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 2 Precincts
 Reporting out of
 3 Precincts with
 this contest




 3 Precincts
 Reporting out of
 251 Precincts with
 this contest




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        9. Save and view

              After making your selections, click Save. The report you created will now
              be listed in the Navigator.

              To preview the current report, click View Report.

                  If the report includes precincts with
                  suppressed contests, the report header will
      Note        include the word “Suppressed.”




        Election Results: Sample page from Custom Table Report




        Election Results: Sample page from Condensed Custom Table Report




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               The custom report can be saved to a directory of your choice in PDF, RTF,
               HTML, XLSX, or CSV format.

          On the Navigator, the preexisting default reports are identified by a black icon,
          while the user-defined reports will appear with a gray icon.




Default
User-
Defined




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     10.4.3 Results Plain Text
          Exports
              The Results Plain Text Exports
              files contain election results
              data in a fixed record length,
              fixed data field length format.
              Records contain registered
              voter counts, ballots cast data,
              precinct data, contest data,
              candidate data, and votes. The
              file’s records are sequenced by
              contest/candidate/precinct.

        1. On the Navigator, right-click Results Plain Text Exports and select Add
           Plain Text Export.

        The template appears in the designer screen.




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        2. Plain Text File Export Name

              The default Plain Text Export File Name is displayed as Summary_Text.txt.
              The Plain Text Export File Name displayed is determined by the file
              content options you select, and will change if you select different options.
              The Plain Text Export File is available in eight formats.

              Each format has a unique default filename, as shown in the following
              table.

                    Table 10-1: Results Plain Text Export Formats
Format Option Selected                                   File Name
Precinct Detail – Numbers Only - not using groups        Precinct_Numbers.txt
Precinct Detail – Numbers Only - using groups            Precinct_Numbers_Groups.txt
Precinct Detail – with Text - not using groups           Precinct_Text.txt
Precinct Detail – with Text - using groups               Precinct_Text_Groups.txt
Summary Results – Numbers Only - not using groups        Summary_Numbers.txt
Summary Results – Numbers Only - using groups            Summary_Numbers_Groups.txt
Summary Results – with Text - not using groups           Summary_Text.txt
Summary Results – with Text - using groups               Summary_Text_Groups.txt

              You may override the default filename and save the file with your filename.

        3. Export Location

              Click Browse and select a destination folder for the export file.

        4. Display Report By

              Election Summary generates an election results summary file of all
              candidate votes by contest.

              Precinct Detail generates an election results detail file with a record for
              each candidate’s votes in each precinct. Records are in ascending order by
              contest, candidate, and precinct.

              To include party codes, and contest/candidate/precinct names in the
              export, select Text.

              To identify results by contest numbers and candidate numbers only, select
              Numbers Only.




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        5. Statistics and Contests

              Statistics refers to precincts’ status, total registered voters, and ballots
              cast. You can choose to include some or all of this information in the
              report. To include results for local contests, in addition to all other
              contests, you must select the Show Local Contests check box. To include
              only specific contests and/or statistics in the export file, perform Custom
              Selection.

              You may select to report All or a Custom list. The Custom selection button
              opens the Contests and Statistics lists.




      Note        If no contests or statistics are selected in the Contests and Statistics
                  dialog box, you will be prompted to make selections or select the
                  All option.


      Note
                  For a recount election, select the races from the recount group to
                  include only these races in the report.


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        6. Automated Exports

              To set up automatic generation and export of the results file, select the
              Automated Exports check box. The default export interval is 5 minutes.

        7. Report Options

              Select any of the three options to include in the export file:

              • Show Group Details
              • Show Write-in Totals
              • Show Overvotes/Undervotes

        8. After making your selections, click Save.




      Note        The Plain Text Export contains only registered voter counts and
                  ballots cast counts for precincts that have a status of Completed or
                  Partially Completed.




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      Note
                  Once an export type has been saved, to immediately export a
                  results file at any time, click the Export Now button.


                Start Automated Export

        If you selected Automated Exports, right-click the export on the Navigator and
        select Start Automated Export. The files will begin exporting at the interval
        you specified. To stop this auto function, right-click the export and select Stop
        Automated Export.




      Note
                  If you close the election, or the Electionware program, automated
                  exports will stop.




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     10.4.4 Results XML/Custom Exports
        The Results XML/Custom Exports feature of the Reporting module provides
        two XML results file formats, and the ability to use Extensible Stylesheet
        Language (XSL) to create custom results files in a variety of formats (XML,
        HTML, plain text, or XSL).

        The three XML results file format options are the Enhanced XML Results File,
        Standard XML Results File, and Custom.

           • The Enhanced XML Results File is a comprehensive election results file
             containing all the Electionware results data items and calculated results
             data items normally required as input to a web election results reporting
             system.

           • The Standard XML Results File is an election results file containing most of
             the Electionware results data items and calculated results data items
             normally required as input to a web election results reporting system.

           • The Custom Results File feature uses XSL to create custom results files,
             providing a simple method to create customized election results files.

        1. On the Navigator, right-
           click Results XML/
           Custom Exports and
           select Add XML Export.




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        The template appears in the designer screen.




        2. Export File Name

              Type the name of your export file. You may use any filename and any file
              extension.


      Note        It is suggested you use your <Election Name>, followed by some
                  additional text identifying the file as an Enhanced or Standard XML
                  file, and use the .xml file extension, e.g., 8PILWILL_Enhanced.xml.


        3. Export Location

              The default Export Location is displayed. You may click Browse and select
              an optional destination folder for the report.




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        4. File Format

              Select one of the three options:

              • Enhanced XML: The Enhanced XML File is a comprehensive, all-
                inclusive results file with the flexibility to show results on an election,
                precinct, or split level.
              • Standard XML: The Standard XML file is a summary election results file
                containing the results on an election or precinct level.
              • Custom: A Custom File Format (<filename>.XSL) is created using the
                Extensible Stylesheet Language. The Custom File Format file
                (<filename>.XSL) transforms the Electionware Results Enhanced XML
                File into a user defined customized election results file format (XML,
                HTML, plain text or XSL). When using the Custom format setting, you
                must select an existing <filename>.XSL file to reformat the EW Results
                Enhanced XML File. The <filename>.XSL file can be developed by you
                or developed for you by ES&S.
           a. Click Browse to locate and select an XSL file.


      Note
                  The source input for all Custom Format Files is the Electionware
                  Enhanced XML File.



        5. Automated Exports

              To set up automatic generation and export of the results file, select the
              Automated Exports check box. The default export interval is 5 minutes.

        6. Export Options

              To include adjudicated write-in candidates in the XML export files, select
              Show Write-In Names.




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        Election Results: Sample XML Export




        7. After making your selections, click Save.


      Note
                  Once an export type has been saved, you can immediately export a
                  results file at any time by selecting Export Now.




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                Start Automated Export

              If you selected Automated Exports, right-click the export on the
              Navigator and select Start Automated Export. The files will begin
              exporting at the interval you specified. To stop this auto function, right-
              click the export and select Stop Automated Export.




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     10.4.5 Results CSV Exports
        Results CSV Export files are comma delimited Excel style spread sheet file
        containing precinct or precinct/group results for each precinct in the election.
        The first 3 rows contain the column header name text for each column. This is
        followed by record for each precinct or precinct/group in precinct code number
        order. The first 3 columns identify the County Code, Precinct Code and Precinct
        Name. This is followed by columns for each contest and candidate in the
        election in Electionware contest order and with all candidates in home rotation
        order. The content of each column is separated by a comma with end of line
        codes (CR/LF) at the end of each record. A column exists for every count in the
        election independent of what counts are applicable to a precinct. Values will
        only appear in columns that are applicable to the precinct. All other columns
        will contain zero.



        1. On the Navigator, right-
           click Results CSV Exports
           and select Add CSV
           Export.




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        The template appears in the designer screen.




      Note
                  Required values for Display Report By cannot be changed.



        2. CSV Export File Name

              The default CSV Export File Name, <Election Name> _EXPORT.CSV is
              displayed, where < Election Name> is the Electionware Election Name
              and _EXPORT is default text, and CSV is the required default file
              extension.
              You may override the default filename and save the file format with your
              filename. The file extension must be CSV.

        3. Export Location

              The default Export Location is displayed. You may click Browse and select
              an optional destination folder for the report.



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        4. Statistics and Contests

              Statistics refers to precincts’ total registered voters, and ballots cast. You
              can choose to include some or all of this information in the report. To
              include results for local contests, in addition to all other contests, you must
              select the Show Local Contests check box. To include only specific
              contests and/or statistics in the export file, perform Custom Selection.

              You may select to report All or a Custom list. The Custom Selection button
              opens the Contests and Statistics lists.




      Note        If no statistics and contests are selected in the Contests and
                  Statistics dialog box, you will be prompted to make selections or
                  select the All option.


      Note
                  For a recount election, select the races from the recount group to
                  include only these races in the report.



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        5. Automated Exports

              To set up automatic generation and export of the results file, select the
              Automated Exports check box. The default export interval is 5 minutes.

        Election Results: Sample CSV Export




        6. Report Options

              Select any of the three options to include in the export file:

              • Show Group Details
              • Show Write-in Totals
              • Show Overvotes/Undervotes

        When Show Group Details is selected, the CSV Export File contains multiple
        rows for each precinct in group order.

        7. After making your selections, click Save.


      Note
                  The CSV Export contains rows for every precinct or precinct/group
                  defined for the election.


      Note
                  Once an export type has been saved, to immediately export a
                  results file at any time, click the Export Now button.




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   Start Automated Export

              If you selected Automated Exports, right-click the export on the
              Navigator and select Start Automated Export. The files will begin
              exporting at the interval you specified. To stop this auto function, right-
              click the export and select Stop Automated Export.




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Chapter 11: Official Canvass and Post-
          Election Procedures
   11.1 Purpose of the Official Canvass
        The Official Canvass consists of a post-election audit of all of the voting
        precincts’ returns and the vote-by-mail voter ballot returns. Its purpose is to
        validate the outcome of the election by verifying that there were not more
        ballots cast than the sum of the numbers of voters who signed the Precinct
        Roster/Index and who applied for, and were issued vote-by-mail voter ballots,
        as well as to account for all official ballots produced for the election.
        Additionally, the Official Canvass verifies that all required certificates and oaths
        were properly executed by the precinct board. Verification of the computer or
        tabulator count is accomplished by manually recounting the voted ballots from
        at least one percent of the voting precincts and comparing the manually tallied
        results to the tabulator and Summary System produced results. Each of the
        following Official Canvass functions must be performed by a minimum of three
        persons.

   11.2 Election Observer Panel
        Before processing ballots, the election administrator appoints election boards
        to carry out the following tasks.

     11.2.1 Canvassing Precinct Returns
        Canvassing precinct returns consists of the following tasks:

              • Processing the provisional ballots returned from each precinct

              • Verifying the eligibility of persons who cast ballots provisionally

              • Opening the envelopes of eligible voters and removing the provisional
                ballots

              • Examining the ballots for write-in votes

              • Noting cause for rejection and damage identifying original or duplicate
                provisional ballots by precinct and delivering same to the designated
                official responsible for updating the ES&S tabulators (and/or computer
                tallies



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              • Writing the reason for rejection on the envelopes of ineligible
                provisional voters (these unopened envelopes are to be retained for the
                period prescribed by law)

              • Processing the Statement of Votes (SOV) in the manner prescribed for
                Ballot Inspection Boards

   11.3 1% Manual Recount Procedures
        For the purpose of validating the accuracy of the computer count, a public,
        manual recount of the ballots cast in at least one percent of the precincts shall
        be conducted within fifteen days after every election in which the precinct
        tabulator system is used. This one percent precinct sample shall be chosen at
        random. If the random selection of precincts results in an office or ballot
        measure not being manually recounted, select and manually recount as many
        additional precincts as necessary so as to include all candidates or ballot
        measures not recounted in the original sample.

        Precincts selected at random shall be chosen by an individual who is
        designated by the responsible elections official and who is not the same
        person, or a relative of the person responsible for election coding. Selected
        precinct numbers shall not be revealed to such personnel until the tally is
        complete.

        In the event a precinct tabulator fails after the semiofficial or official ballot tally
        process has begun, the ballots from the last precinct tallied on the equipment
        prior to the failure shall be included in the automatic manual recount. If a
        discrepancy is discovered between the automated tally and the manual recount
        tally, each precinct’s ballots which had been read and processed by the failed
        equipment, subsequent to the time the equipment last successfully completed
        logic and accuracy test, shall be tallied again.

        The California Secretary of State requirements concerning the interpretation
        and counting of valid voting position marks, shall be followed during the
        automatic recount of ballots.




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   11.4 Ballot Review and Adjudication

      Note      The availability of options for Ballot Review, enabling electronic
                adjudication, depend upon the license file provided with your copy of
                Electionware. If you have questions regarding your current license file,
                please contact ES&S.

        The California Secretary of State requires defined procedures to determine
        voter intent and how to handle various incorrect markings.




        In the Electionware Reporting module, the Ballot Review workflow provides
        the adjudicator with the tools for listing scanned ballot images based on
        configurable filter criteria and adjudicating ballot exceptions.




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     11.4.1 Ballot Filter List
        When you open the Ballot Review
        workflow, the Navigator displays the
        filter list. Use any combination of
        filters to specify what ballot images
        will appear in Table View to be
        reviewed.

        The filters fall under two broad
        categories, which in turn contain all
        applicable subcategories.

        Adjudication Filters can consist of:

           • Original Ballot Exceptions
             (None, Overvotes, Undervotes,
             Double Votes, Unclear Marks,
             Crossover Votes, Blank Ballots)

           • Write-In Options (None,
             Unmarked, Marked)

           • Ballot (Adjudication) Status (Not Reviewed, Approved with Changes,
             Approved with No Changes, On Hold)

           • Batches

                  Straight Party voting (found in Open Primaries) are not supported
      Note
                  in the current version of Ballot Review.

                  Because the ExpressVote does not allow unclear marks and
                  overvotes, ExpressVote multi-card elections are not supported in
                  the current version of Ballot Review.




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                  Detailed Filters can consist of:

                    • Ballot Types
                      (Card/Paper)

                    • Precincts

                    • Polls

                    • Ballot Styles

                    • Contests

                    • Districts

                    • Parties

                    • Machines



                  By default, no filters are selected.
                  Select the filters to be applied.

                  Each filter type can be expanded by
                  clicking the plus (+) sign next to it,
                  providing detailed filter options from
                  which to choose.

                  If there are no selections made
                  under Detailed Filters, the system
                  behaves as if all are checked.




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     11.4.2 Ballot Review - Table View
        After making your selections from the filter list, click Apply Filter to see the
        ballots listed in the Table View.




        You can view, filter, sort, and search images within the Ballots - Table View
        screen, and select individual ballots to open in the Review window, where
        ballots can then be reviewed and marked for approval, holding, or
        modification.




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     11.4.3 Ballot Adjudication
        Adjudication is performed in the Ballot Review pane. To open the scanned image of a ballot to be reviewed,
        double-click the ballot on the Table View. Or, to enable scrolling through images of all of the ballots, right-click
        the ballot and select View All Ballots. The Ballot Review pane opens in a separate window.




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        When a ballot that has not been adjudicated is opened for the first time on the
        Ballot Review pane, that ballot becomes locked for all other Reporting Users.
        The ballot’s locked status will appear in the Ballot Information Pane for all other
        users.

        When a ballot is locked, only an Administrator can take over control of the
        ballot. When an Administrator views a locked ballot, he/she is given the option
        to take over control of the ballot.




        If the Administrator clicks Yes, the original user will be notified of the switch.

        The Ballot Review workspace contains four distinct panes that contain the
        adjudication controls.

       11.4.3.1 Ballot Information Pane

        The Ballot Information pane displays information specific to the selected ballot.

   Ballot Exceptions

        Ballot exceptions displayed include: Overvotes, Unclear Marks, Undervotes,
        Write-ins, and Double Votes.

   Ballot Adjudication Status

        The ballot’s current status appears at the center of the Ballot Information pane.

        Not Reviewed – The ballot has exceptions and has not yet been reviewed and
        approved. Following adjudication, this status can be used as a filter in Table
        View.

        Approved with Changes – The ballot has exceptions, and at least one
        contest has been updated with a vote count that is different from the tabulated
        vote count.

        Approved with No Changes – The ballot has exceptions, but does not
        require correction to the marks as interpreted by the tabulator, and the entire
        ballot has been marked as approved.

        On Hold – The ballot has been placed on hold for further review. Contest may
        or may not have been modified, but the ballot has not yet been approved.

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   Ballot Cast Vote Record

        The Cast Vote Record (CVR) summarizes where and how the votes were
        tabulated, as well as other ballot-specific data such as ballot style, party, serial
        number, machine number, and whether the ballot was blank.




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        The Electionware CVR number is the series number also displayed at the
        bottom of the screen. The Tabulator CVR has a machine-generated serial
        number. Click this number to view the current CVR.




       11.4.3.2 Contests to Review

        The Contests to Review pane displays all contest conditions that were specified
        under Admin Functions > Settings > Contests to Review.

        For paper ballots, when a contest is selected, that contest’s heading will be
        highlighted on the scanned image with a blue bounding box.




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        A contest’s current status is always indicated by the color and content of its
        status bar.




 Contest Status Bar




        There are six possible statuses for a contest, depending on the actions of the
        adjudicator.

           • No Changes (Blue): No changes have been made; approval pending.

           • Reviewed with Changes (Green): A change has been made to the contest
             during review process.

           • On-Hold with Changes (Green): Contest has been changed and then
             placed on hold.

           • On-Hold with No Changes (Blue): Contest has had no changes, but is
             placed on hold.


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           • Approved with Changes (Green): Contest has been changed and then
             approved.

                  State rules dictate whether marked (oval filled in) or unmarked (oval
      Note
                  not filled in) write-ins are counted by the tabulator as a valid vote. If
                  a ballot with marked or unmarked write-ins is approved with any
                  votes modified by the adjudicator, the Ballot Status will change to
                  "Approved with Changes" and all unmarked/marked write-ins on
                  that ballot will be assumed to be reviewed and adjudicated.

           • Approved with No Changes (Blue): Contest has had no changes and has
             been approved.

       11.4.3.3 Original Ballot Image

        The Original Ballot Image pane displays the scanned image of the ballot, and
        contains viewing controls for zooming in and out on the image, or viewing it to
        scale. Use the Front/Back buttons to view either the front or back of the ballot.




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   Highlight Ovals

        This option is supported only for paper ballots.

        The scanned ballot image appears in black and white. However, you can select
        More > Highlight Ovals to highlight the ovals so that unmarked or improperly
        marked targets are yellow and properly marked voted targets are green.




   View CVR: Original and System-Generated

        When you make changes to a ballot, the original CVR is retained, but the
        system generates a new CVR reflecting your changes. To view the original CVR,
        select More > View Cast Vote Record > Original (or click the Tabulator CVR
        serial number).

        To view the newer CVR reflecting your changes, select More > View Cast Vote
        Record > System Generated.

   Export the Ballot Image

        The ballot image can be exported via the review pane in TIF format, to a
        specified directory for additional analysis, if necessary.

        To export the ballot image, select More > Print > Original Ballot.




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       11.4.3.4 Ballot Options

        The Ballot Options pane at the bottom of the screen contains the controls for
        adding notes about the current ballot, and for controlling its status.




   Add Notes

        To add notes about a ballot, click +Add Note. A small text editor allows you to
        add comments, up to 500 characters. Once saved, a note cannot be edited,
        but more notes can be added.

   Adjudication Status Controls

        The Adjudication Status at the top of the screen indicates the status selected
        by the user near the bottom of the screen, and can be used for sorting in Table
        View.

        If the ballot has been reviewed and approved, select Approve Ballot.

        To place a ballot on hold for further review, select Put On-Hold.

        If the ballot has been approved, the Edit Ballot button becomes available. This
        enables an adjudicator to return to this ballot and make additional
        modifications if needed.

        To close the Ballot Review workspace and return to the Table View, select
        Return to Filters.

   Navigate Through Images

        At the bottom of the screen, use the Previous/Next buttons to scroll forward
        and backward through the ballot images. To navigate to a specific ballot, enter
        its Electionware CVR number in the number field and press Enter.




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     11.4.4 Updating the Election Results
        After adjudication is complete, the Reporting Administrator can commit the
        approved ballots, updating the election results with the new totals.

        On the Admin Settings screen, under Approved Ballot Change, click Commit
        Results.




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   11.5 Write-in Review


        The Write-in Review workflow enables
        the user to track and tally voters’
        handwritten and typed write-in names
        assigned to valid write-in votes.

     11.5.1 Write-in Filter List
        When you open the Write-in Review
        workflow, the Navigator displays the filter
        list.

        Use the filter list to specify what write-in
        images will appear in the Write-in Review
        table.

        At least one Contests filter must be
        selected in order to populate the Write-in
        Review table.

        By default, no filters are selected. Select
        the filters to be applied.

        Images can be filtered by Contests,
        Precincts, Polls, Batches, Machines, and
        Ballot Styles.

        Each filter type can be expanded by
        clicking the plus (+) sign next to it,
        providing detailed filter options from
        which to choose.




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     11.5.2 Write-in Review Table
        After making your selections from the filter list, click Apply Filter to see the
        write-ins listed in the review table.




        You can view, sort, and search images within the Write-in Review table, and
        select individual ballots to open in the Review window.

        You can magnify a snippet image by hovering the pointer over it.

        For a full ballot view displaying the write-in image, right-click the snippet and
        select View Ballot (or double-click the snippet). Use this feature if the message
        “See Ballot Image” appears in the column.

        To rotate write-in snippets within the table, right-click the image and select
        Rotate (to rotate only one snippet) or Rotate All (to rotate all snippets in the
        table).




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     11.5.3 Display Scanned Ballots
        To display the scanned image of a ballot, right-click the selected record in the
        Write-in Review table and click View Ballot (or double-click a single record).




       11.5.3.1 Ballot Details

        Details about the displayed ballot appear in the Ballot Details box above the
        ballot image. The details include the ballot’s CVR number and serial number,
        the serial number of the tabulator that recorded the ballot (Machine Serial), the
        Poll Place and Precinct associated with the ballot, the ballot style number,
        ballot type, and the number of times the ballot has been printed (Print Version).

        Also in the Ballot Details box are ballot display controls that indicate the
        sequence number of the currently displayed ballot, the total number of ballots
        selected for viewing, and arrow buttons for paging forward and backward.


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          11.5.3.2 View, Save, or Print Ballot

          Tools for saving, printing, and adjusting the ballot display are located above
          the ballot image, below the Ballot Details box.
  Front        Cast        Print       Zoom                      Actual       Fit        Show
 Image         Vote        Ballot        In                       Size       Width     Thumbnail
              Record




       Back          Save           Zoom            Scale                   Fit       Fit
      Image        Image(s)          Out         Percentage                Page      Height


          Click and drag the ballot image to reposition the display within the viewing
          frame.

          To examine a specific location on the ballot image in detail, select a high zoom
          percentage from the Scale Percentage list, then click Show Thumbnail. A
          thumbnail of the ballot's scan image appears in the Pan View window. Click and
          drag the red focus box in this window to the area of the ballot you wish to
          examine.




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       11.5.3.3 Cast Vote Record

        A ballot’s Cast Vote Record summarizes where and how the votes were
        tabulated, as well as other ballot-specific data such as ballot style, party, serial
        number, machine number, and whether the ballot was blank.

        To generate and display the ballot’s corresponding Cast Vote Record report,
        click the CVR button.

        Use the Report Screen Toolbar to save, print, or change the view of the
        displayed record.

     11.5.4 Assign Write-In Names
        Use the Write-in Review table to assign names to the scanned write-in snippets.
        In the Name Selected column, click the drop-down list next to the image and
        select the name to be assigned.




        At any point while managing write-ins, to view consolidated write-in name
        totals for all users on the network, as well as total write-ins still unassigned,
        generate a Write-in Names report.




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     11.5.5 Add New Write-In Names
        You can enable Reporting Users to add write-in names to a contest in the table,
        which can in turn be assigned to valid write-in records. The ability to add new
        write-in names is enabled/disabled from Manage > Admin Functions >
        Settings.




        Write-in names can be added either from the Write-in Management workflow
        or directly on the Write-in Review table.

       11.5.5.1 Write-in Review: Add Name

        To quickly add a new write-in name while viewing the Write-in Review table,
        click the drop-down list next to the image, then select (Add a New Name).

        In the Add a New Name dialog box, enter the new name, then click OK.

        After the new name has been added, it will appear as an option for all instances
        of that contest.

       11.5.5.2 Write-in Management: Add Name

        The Write-in Management Navigator lists the contests with write-in votes.




        This workflow offers the option to add Alternate IDs, if applicable, and to
        quickly change the contest to which the new name will be assigned.




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        1. To add a write-in name to a contest, right-click the list in the Navigator, then
           select Add Write-In.




        2. On the Write-in Management tab, enter the first and last name under
           Write-in Name.

        3. From the Contest list, select the contest to which the new name will be
           assigned.

        4. If applicable, enter Alternate IDs for the new name and contest, using
           numeric characters only.

        5. Click Save. The new name will now appear in the Write-in Management
           navigator, and as an option on the Write-in Review table.




        After the new name has been added, it will appear as an option for all instances
        of that contest.

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     11.5.6 Bulk Edit
        To save time, you can edit multiple instances of a single contest that have
        similar write-in names.

        1. On the Write-in Review table, select the Multiple Selection check box for
           all instances of the contest that appear to have the same write-in name.

        2. Click Bulk Edit (upper right above the table).




        3. In the Bulk Edit dialog box, select the write-in name to assign (or add a new
           name to assign), then click Save.

              The saved write-in name will now be assigned to all of the records you
              selected.




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   11.6 Exporting Ballot Tables, Images, and CVRs
        From the Reporting Module, the ballot images, CVRs, ballot tables, and write-
        in tables can all be exported to a directory of your choice.

     11.6.1 Export Ballot Review and Write-in Tables
        The Write-in Review and Ballot Review data can be exported as a CSV or XLSX
        file. The records included in a table export file are determined by the filter(s)
        applied in the Navigator.

        1. To export the table, click Export at the top of the Table View tab.

        2. In the export window, browse to the target folder. Enter a filename for the
           file in the File name: field. Select the preferred file format from the Files of
           type: menu. Click Save to export the file.

        3. When the export is complete, a confirmation dialog will display the location
           and name of the new file. Click OK.

              To view the exported data, browse to the new file and open the file. It will
              appear in the form of a spreadsheet.


     11.6.2 Export Ballot Images
        All ballot images can be exported in a ZIP file.

        1. From the Tools menu,
           select Export Ballot
           Images.

        There are three items that can
        be optionally included in the
        export:

           • Non-Geographic Precinct
             Ballots

           • Cast Vote Records (CVR)

           • Watermark

        To be exported, at least one item and one district must be selected.



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        2. In the Ballot Image Export window, specify ballot, and optionally, CVR
           export parameters:
              • To include absentee and early voting ballot images, select Include Non-
                Geographic Precinct Ballots.
              • To include CVRs with the exported ballot images created in
                Electionware using Non-Geographic Precincts, select Include Cast Vote
                Records.
              • The watermark identifies the printout as a ballot copy that is not
                intended for scanning. To include this on exported ballots, select Add
                Watermark to Images.
              • From the District Type list, select a district type.
              • The contents of the District list are determined by the selected District
                Type. Select the appropriate district(s).
              • Select the party or parties from the Party list.

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        3. Browse to the target folder in which to save the file. Enter a filename for the
           ZIP file, then click Save.

        4. The Ballot Image Export window reappears, with the location and filename
           in the Export Location box. Click Export.

        5. When the export is complete, a confirmation dialog box will display the
           number of images exported, the specified export parameters, and the
           location and name of the ZIP file. Click OK.

        Ballot images (and optionally CVRs) are exported as individual PDF files within
        the *.zip archive. These PDF files are sorted in folders, by precinct and party.




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        Each file is identified by CVR number, followed by the letter “i” if the file is a
        ballot image, or the letter “c” if the file is a cast vote record.




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     11.6.3 Export CVR Data (Write-In Images Optional)
        CVR data for selected races, and optionally write-in images, is exported as a
        CSV or XLSX file.


      Note
                  Reporting group data is not included in the exported file.



        1. From the Tools menu, select Export Cast Vote Records.




        2. In the Cast Vote Record Export window, select the contests to be exported.

        3. To export thumbnail images of write-in votes in the CVR file, select Include
           Write-In Images.

        4. Browse to the target folder in which to save the file. Enter a filename, then
           click Save.

        5. The Cast Vote Record Export window reappears, with the location and
           filename in the Export Location box. Click Export.

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        6. When the export is complete, a confirmation dialog box will display the
           number of records exported. Click OK.




  Important
                   If the exported spreadsheet includes write-in images, do not sort
                   the data. Write-in images are not sortable, and will remain in place.




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   11.7 Post-Election Logic and Accuracy Testing
        All post-election logic and accuracy testing of election equipment must come
        under the direction of the county. When imposed, this test will analyze the
        calibration requirements as specified for election use.

        Follow the same procedures described in
        Chapter 5: Logic and Accuracy Testing.

   11.8 Final Reporting of Official Canvass
     11.8.1 Ballot Security and Reporting Results
        Use the following instructions as a general guideline for reporting results.
        Consult the California Elections Code for specific regulations governing the
        reporting of results.

        1. Complete the official canvass and add any write-in votes or other totals to
           the final vote count. Then, post the final vote count at the counting location
           for public inspection.

        2. Prepare a certified statement of the election results and submit the
           statement to the governing district within 28 days of the election. Show
           results on a precinct by precinct basis. Include the following information on
           your statement of results:

              • The total number of votes cast

              • The number of votes cast at each precinct for each candidate and for
                and against each measure

              • The total number of votes cast for each candidate and for and against
                each measure

              • The number of votes cast in each city, assembly district, congressional
                district, senatorial district, State Board of Equalization district and
                supervisory district located in whole or part of the county.




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        3. Send a copy of the results to each of the following:

              • All candidates participating in your statewide election.

              • All of the candidates voted for in the following offices:

                 • Member of the Assembly
                 • Member of the Senate
                 • Member of the U.S. House of Representatives
                 • Member of the State Board of Equalization
                 • Justice of the Court of Appeal
                 • Judge of the superior court
                 • Judge of the municipal court
                 • All persons voted for in a presidential primary

              • The vote given for persons for electors of President and Vice President
                of the United States.

              • All statewide measures.


      Note
                  For procedures to run the required reports, refer to
                  10.4 Results Reporting - Reports and Exports.



   11.9 Backup and Retention of Election Materials
     11.9.1 Acronis Backup and Recovery
        Acronis software is used for hard disk image backup. These processes require
        an Acronis boot disc for operation, and a portable USB hard drive or flash with
        a minimum of 32G available storage to save your backup files. Multiple
        backups of the hard disk images are recommended. Store all backup materials
        in a secure location.

        To create the Acronis boot disc, follow the instructions provided in your Acronis
        documentation. During boot disc creation, if needed, you can install device
        drivers on the disc. Drivers can also be loaded from a separate drive after
        bootup.


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        Dell PERC H730 RAID controller drivers are available for download on the Dell
        Support Website, and should be preloaded on the disc.

       11.9.1.1 Accessing Acronis

        1. Turn on the computer.

        2. When the computer is fully running, press the appropriate key for the Boot
           Manager.

              • EMS Server: F11

              • EMS Workstation: F12


      Note
                   If you have password protected the BIOS, you must enter the
                   password to enter the Boot Manager.



        3. Insert the Acronis boot disc into the computer’s DVD-ROM drive.

        4. Select the DVD-ROM drive as the boot device.

        5. At the prompt, press any key to boot from the disc.

             Acronis will begin loading the Windows 7 environment. This process takes
             several minutes.

        6. When loading is complete, the Acronis Welcome screen appears.
           Click Disk Management.

       11.9.1.2 Backup Procedures

        Full system backup can be performed on the EMS server, and also any EMS
        workstation, as needed.

        1. Access the Acronis program as previously instructed.

        2. Connect the removable storage device that will be used to save the backup
           image. After a few seconds, the new disk will appear in the directory list.

             If the disk does not appear after a few seconds, refresh the window. If it still
             does not appear, remove the drive and connect it to a different USB port.

        3. Click Back to return to the Welcome screen.

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        4. Click Back up now.

        5. Under “What to back up,” click Items to back up.

        6. In the Data to Back Up window, select Disks/volumes.

        7. The computer will display any connected disks. Each disk node can be
           expanded to show its contents.

             Select the check boxes next to only the computer’s internal disk drives.
             Deselect the removable storage device.


      Note         The drive letters that appear in Acronis Windows 7 may be different
                   from the drive letters in standard Windows. The drives can generally
                   still be identified by their capacity and interface type.


        8. Click OK.

        9. Under “Where to back up,” click Location.

        10. Expand the Local folders node, select your backup drive, then select the
            desired path. (You can create sub-folders on the drive by clicking Create
            folder.)

        11. At the bottom of the window, enter a Name for the backup image file. The
            name can not end with a number.

        12. Click OK twice.

             The backup process lasts at least 20 minutes.

        13. When the backup is complete, click Close.


      Note
                   Ignore the warning that appears under Status.



        14. Remove the Acronis boot disk and backup drive from the computer.

        15. Close the Acronis window.

             This causes Acronis to shut down and the system to reboot.

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       11.9.1.3 Recovery

        The following steps are for hard disk image recovery.

        1. Access the Acronis program as previously instructed.

        2. Connect the removable storage device containing the backup image. After
           a few seconds, the new disk will appear in the directory list.

            If the disk does not appear after a few seconds, refresh the window. If it still
            does not appear, remove the drive and connect it to a different USB port.

        3. Click Back to return to the Welcome screen.

        4. Select Recover.

        5. Remove the Acronis boot disk and backup drive from the computer.

        6. Close the Acronis window.

            This causes Acronis to shut down and the system to reboot.

        7. Under “What to recover,” click Select data.

        8. Click Browse and navigate to the folder containing the backup images.

        9. Click OK.

        10. Select the backup archive.

        11. Next to Backup contents, select Disks.

        12. Select all of the available disks.

        13. Click OK.

        14. Under “Where to recover,” click Clear all.

        15. Click Recover `Disk 1' to.

        16. Select the destination disk for Disk 1, then click OK.




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        17. Click Recover `Disk 2' to.


      Note
                   On the EMS workstation, there is only one disk to recover, so this
                   option will not be available.



             The recovery procedure will lasts at least 20 minutes.

        18. When the restoration is complete, click Close.

     11.9.2 Precinct Tabulator Election Materials
        Upon the certification of the election results, the guidelines in the California
        Elections Code apply to the handling, security and disposition of unused
        ballots and other election materials. As noted in various sections of this
        document, memory cards are not deemed to fall within the purview of these
        Elections Code sections.

     11.9.3 Central Tabulator Election Materials
        Consult the California Elections Code for guidelines on retaining election
        materials. The retention period for ballots and related election materials is six
        months for all elections if no federal elections are involved. The federal election
        retention period is 22 months. Extend retention periods in the case of a court
        challenge.




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Chapter 12: Manual Recount Procedures

      Note        Poll workers are not permitted to participate in any post-election
                  manual count auditing of precinct results from a precinct in which
                  they were poll workers.



   12.1 Manual Recount for Precinct Tabulators
        A manual recount of an optical or digital scan voting system is straightforward
        in that the names of all contests, candidates, and issues appear on the ballot
        face. The votes/marks on the ballot are a secret, permanent record of the
        election and become part of the Election Audit Trail CHECKPOINT of the
        voting system.

        The ballots are manually tallied for the office(s) to be recounted, and these
        results are compared to the tabulator-generated Precincts Results Tape for that
        precinct. Should the totals not agree, then the ballots are reviewed for any
        ballot marking anomaly that would cause the ovals on a particular ballot to not
        be scanned.

        Once these differences are resolved, the next precinct is manually tallied. This
        process continues until all precincts have been tallied manually.




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        Election administration security must be a part of a jurisdiction’s overall security
        plan to prevent lapses in adjacent or interconnected departments and
        processes from compromising the election function.

        Election administrators must implement strong physical controls, including
        employee background checks, identity verification, locks, security guards,
        badges, alarms, backup power, printed reports, and similar measures to control
        access to computers and related equipment.

        Pre-election security should include proof of content on all ballots, equal
        distribution of poll workers among all political parties, location of all ballots,
        and ensure privacy at all voting booths.

        Post-election security should include examination of audit logs attached to the
        tabulators, examination of final reports, and ensuring that all election
        equipment and ballots are returned to secure physical storage locations.


      Note
                  Complete guidelines for Election Management System (EMS)
                  security are provided in the EVS 6042 CA Installation documents.



   13.1 EMS Equipment Security Best Practices
        The Election Management System (EMS) consists of network switches, servers,
        client workstations and/or standalone workstations. Each of these devices has
        integrated ports that represent a potential threat to the security of the system.
        The security of these devices may be increased by implementing the following
        EMS recommendations.

        ES&S recommends locking/sealing all ports (USB serial or RJ-45) both when a
        connection is present and when not in use. Unused ports, as well as attached
        peripherals and RJ-45 cable connections, should be sealed as described in the
        following sections.




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        The following image demonstrates all EMS lock recommendations for the
        server as well as the client workstation.




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     13.1.1 Connection Lock and Seal Recommendations
        Implement the following recommendations for all ports that are in use.

       13.1.1.1 USB Serial Connection


  Important        The USB Port (In Use) Lock Seal is used in conjunction with the EMS
                   Wire Seal. Ensure that you have both items before attempting to
                   apply this seal.


     Note          One EMS Wire Seal may be used with multiple USB Port (In Use)
                   Lock Seals. Repeat steps 1-2 for each unused USB serial port before
                   proceeding.


        1. Insert the “fangs” of the seal
           into the notches inside the
           USB port and hold in place.

        2. While holding the seal in
           place, insert the USB serial
           connection. This connection
           will be tight.

        3. Repeat steps 1-2 for each
           USB serial port in use before
           proceeding.

        4. Thread the wire portion of an
           EMS wire seal through the
           hole in the USB Port (In Use)
           Lock Seal.

        5. Repeat step 4 for each USB
           Port (In Use) Lock Seal.

        6. Thread the wire back through
           the hole in the EMS Wire
           Seal.

        7. Snap the cap into place to
           complete the seal.



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       13.1.1.2 RJ-45 Cable


  Important        The RJ 45 Cable Lock Seal is used in conjunction with the RJ 45
                   Cable Lock Key. Ensure that you have both items before attempting
                   to apply this seal.


        1. Insert the RJ 45 Cable Lock
           Key and rotate clockwise 90°.

        2. Insert the cable plug into the
           RJ 45 Cable Lock Seal.

        3. Rotate the key back to the
           original position and remove
           it.

        4. Insert the cable/seal
           combination into the RJ 45
           port. Press until the
           connection clicks.

        5. To remove the cable and
           seal, insert the RJ 45 Cable
           Lock Key and rotate
           clockwise 90°.

        6. Remove the cable plug from
           the port.




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     13.1.2 Empty Port Lock and Seal Recommendations
        Implement the following recommendations for all ports that are not in use.

       13.1.2.1 USB Serial Port


  Important        The USB Port (Empty) Lock Seal is used in conjunction with the EMS
                   Wire Seal. Ensure that you have both items before attempting to
                   apply this seal.


     Note          One EMS Wire Seal may be used with multiple USB Port (Empty)
                   Lock Seals. Repeat steps 1-3 for each unused USB serial port before
                   proceeding.


        1. Separate the two pieces of           Part B                        Part A
           the USB Port (Empty) Lock
           Seal.

        2. Insert the “fangs” of part “A”
           into the notches inside the
           USB port.

        3. Insert part “B” so that “A”
           slides in “B” and the holes
           align. Press until the seal
           clicks into place.

        4. Repeat steps 1-3 for each
           unused USB serial port
           before proceeding.

        5. Thread the wire portion of an
           EMS wire seal through the
           hole in the USB Port (Empty)
           Lock Seal.

        6. Repeat step 6 for each USB
           Port (Empty) Lock Seal.

        7. Thread the wire back through the hole in the EMS Wire Seal.

        8. Snap the cap into place to complete the seal.


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       13.1.2.2 RJ-45 Port

        1. Grasp the end of the RJ-45 Port
           (Empty) Lock Seal that displays
           the serial number.

        2. Orient the seal to match notch in
           the port.

        3. Insert the seal into the empty RJ
           45 port until the seal clicks into
           place.




     13.1.3 BitLocker USB Flash Drive Recommendations
        BitLocker Drive Encryption is a full disk encryption feature included with
        specific versions of Windows and is designed to protect data by providing
        encryption for entire volumes. Enabling BitLocker drive encryption is optional
        based on the selected voting system configuration. See the Setup &
        Configuration Guides for details.


      Note
                   BitLocker drive encryption is optional; if your environment does not
                   utilize BitLocker, disregard this section.


    Warning        Electionware contains functionality
                   which includes the ability to format
                   blue Delkin USB flash drives. To
                   prevent accidentally formatting the
                   USB flash drive containing your
                   TPM Password and BitLocker Keys,
                   ES&S highly recommends using a
                   red Delkin USB flash drive.




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        The TPM Password and BitLocker Keys created using the encryption
        procedures in the Setup & Configuration Guides are exclusive to the system by
        which they are created. Creation and retention of these items is mandatory for
        the operation of an encrypted disk EMS Client. ES&S recommends storing all
        the described item types on one USB flash drive. The loss of this USB flash
        drive will result in the inability to access the encrypted system. ES&S also
        recommends the duplication of this USB flash drive for redundancy and backup
        purposes. See the Setup & Configuration Guides for BitLocker USB flash drive
        duplication procedures.

        Additionally, a chain of custody for all equipment, software, physical or
        encryption keys and passwords is strongly recommended.

        When not in use, the BitLocker USB flash drive should be stored in a safe,
        secure place such as a locked drawer, filing cabinet, or vault.

 Item Type                Item Description
 TPM Password             The TPM Password contains the credentials established when
                          Ownership of the TPM is taken. This procedure is exclusive to the
                          hardware that creates it.
 BitLocker Recovery Key   The BitLocker Recovery Key is designed to recover an encrypted
                          system if an unexpected event enables the BitLocker Recovery
                          Mode. If the system encounters an event, such as multiple failed
                          password attempts or BIOS level changes this may occur.
                          BitLocker Recovery Keys are proprietary to the designated system
                          it was created by.
 BitLocker Startup Key    A BitLocker Startup Key is required to access the operating system
                          of an encrypted disk. Without a BitLocker Startup Key, the system
                          is inaccessible to the user. BitLocker Startup Keys are proprietary
                          to the designated system it was created by.




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   13.2 Physical Security Devices and Supplies
        Physical access control must be implemented for all election-related
        equipment, software, and supplies including, but not limited to, tabulators,
        PCs, software, media, ballots, logbooks, locks and seals, and keys. Secure
        warehouse storage and staff work areas must be maintained, with controlled
        access limited to authorized personnel, to store all voting related equipment,
        software, and supplies.

        It is the responsibility of the jurisdiction to provide a secure physical and
        procedural environment for the storage, handling, preparation and
        transportation of the system hardware.

        ES&S voting and tabulation equipment has access doors to protect external
        communication and data ports. These access doors can be locked with an
        administrator key and further protected with the installation of tamper-evident
        seals.

        Each model of equipment is either powered on and off by an administrator key,
        or by a power switch protected behind a lockable access door. Certain system
        screens require entry of a code to prevent unauthorized access to sensitive
        functions. Carrying cases and ballot bins are equipped with locks and locations
        for security seals.

        ES&S supplies a variety of tamper evident devices for use to secure your ES&S
        voting equipment. Visit myES&S Supply Store at http://shop.essvote.com for
        more information about all the available devices.




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        Each type of label or seal includes an identification number. Election officials
        should keep a record of the security seal numbers of the labels and seals in use
        as verification of the chain of custody of sensitive materials.

                  Jurisdictions are required to use Securevue Tamper Evident Labels
      Note
                  when affixing a sticker seal to a plastic surface. (Item #800-0112,
                  pictured below.)




        When the time and date are reset or new firmware is uploaded, the security
        code should be reset by the designated election official and kept private.

        Upon request, members of the public must be permitted to observe and
        inspect, without physical contact, the integrity of all externally visible security
        seals used to secure voting equipment in a time and manner that do not
        interfere with the conduct of the election or the privacy of any voter.




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     13.2.1 ExpressVote Lock and Seal Recommendations
        In addition to the security measures detailed below, label seals may be affixed
        to all openings or screws to introduce an extra layer of security.

        The access compartment door can be locked and sealed with tamper-evident
        devices. Access to this compartment should be controlled, monitored, and
        logged at all times. Follow your jurisdiction’s rules regarding security seals.

        Because the access compartment door needs to be opened to access the
        Power and Mode switches, ES&S provides additional protection in the form of
        a protective slide to cover the USB flash drive ports. This device prevents
        unauthorized removal of the election definition flash drive while the
        compartment door is open.

        When you receive a new ExpressVote unit, a metal protective slide is already
        installed. The protective slide may be constructed of metal or plastic. Contact
        your ES&S representative if you prefer a plastic protective slide. Complete the
        following procedures to secure this protective slide during voting.

        A protective slide inside the access                     Torx     Protective
        compartment helps to secure any                          Screw    Slide
        installed USB flash drives, such as
        the election definition flash drive.

        1. Use a T10 star-shaped
           screwdriver to loosen and
           tighten the retaining Torx
           screw on the slide.




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        2. Insert the necessary USB flash
                                                           Torx Screw
           drive(s) into either of the two
           USB ports in the access
                                                        Secure
           compartment on the left side                 Seal
           of the ExpressVote unit. Once
           inserted, position the
           protective slide over the USB
           flash drive(s) and tighten the
           retaining screw.

        3. On Election Day, secure with
           spring lock seal through the
           loops on top of the slide.




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        4. Close the access compartment
           door. Use the medium barrel key
           to lock the door.

        5. Secure with a spring lock seal.




        6. Use a medium barrel key to
           lock the right side paper path
           access door.

        7. Apply label seal to right side
           access door.




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        8. When the ExpressVote is
           configured on a standard table,
           secure the rear USB port by
           affixing a tamper evident label
           seal.




        9. Ensure that the access door to the printer transport (on the front of the unit)
           is closed and locked with the medium barrel key to prevent access to the
           printing path.




                                                                                 Keyed
                                                                                  Lock




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       13.2.1.1 ExpressVote Rolling Kiosk Lock and Seal Recommendations

        1. At the back of the rolling kiosk,
           close the plastic door and fasten the
           screw on the USB compartment.

        2. Secure the compartment by affixing
           a label seal.




        3. Attach the secure card
           container onto the back of the
           rolling kiosk. Attaching the
           secure card container in this
           manner engages the positive
           lock connection to the rolling
           kiosk, preventing external card
           insertion.




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        4. Ensure a spring lock seal is applied
           to the front of the secure card
           container. This seal prevents access
           to the vote summary cards during
           voting.




        5. During secure card container
           transport, security measures
           should be applied to prevent
           tampering with the back of the
           secure card container.

              • The primary security
                measure is to apply a
                security label to the metal
                flap.

              • The secondary security
                measure is to apply a spring
                lock seal to the side.

            Both measures prevent access
            to the vote summary cards.

            With these security measures
            in place, vote summary cards
            may not be added or removed
            from the secure card container
            without detection.

        6. On the accessory panel, close
           the center panel door to

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             prevent access to the secure card container release button. Lock the center
             panel door with the medium barrel key.


      Note         The key lock secures the center panel over the USB port, as well as
                   the side panels over the optional printer and scanner. This lock also
                   secures the cover of the docking station over the ExpressVote, when
                   lowered.




                                         Keyed Lock




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     13.2.2 ExpressVote XL Lock and Seal Recommendations
        In addition to the security measures detailed below, label seals may be affixed
        to all openings or screws to introduce an extra layer of security.

        1. Cover the internal flash
           memory storage cards behind
           a screw down panel and secure
           with a spring lock seal.




                                               Secure
                                               Seal




        2. The screw down panel has
           added security due to tamper
           resistant Torx screws.




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        Close the access compartment
        door and secure with a medium
        barrel key.

                                             Keyed Lock




        Once the access compartment lid
        is closed, a molded plastic tab
        protrudes through a slot in the
        back of the terminal. This tab
        includes an attachment point for a
        spring lock seal.




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        Secure the utility compartment at
        the back of the unit by locking the
        door with a medium barrel key. To
        provide additional security, attach
        a spring lock seal to the
        attachment point.




        Secure the paper path module by
        locking the door with a medium
        barrel key. To provide additional
        security, affix a label seal to the
        door.




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        There is a compartment in the upper-right corner on the back of the unit. This
        compartment does not house any security risks; therefore, standard screws are
        used. Additionally, locks and seals are not required.




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       13.2.2.1 ExpressVote XL Secure Card Container Seal Recommendations

        1. Ensure a spring lock seal is
           applied to the front of the secure
           card container. This seal prevents
           access to the vote summary
           cards during voting.




                                                Secure
                                                Seal




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        2. Attach the secure card container onto the back of the ExpressVote XL
           rolling cart. Attaching the secure card container in this manner engages the
           positive lock connection to the rolling cart, preventing external card
           insertion.




                                                  Attachment
                                                        Point




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        3. During secure card container
           transport, security measures
           should be applied to prevent
           tampering with the back of the
           secure card container.

            The primary security measure
            is to apply a security label to
            the metal flap.

            The secondary security
            measure is to apply a spring
            lock seal to the side. Both
            measures prevent access to the
            vote summary cards.




        With these security measures in place, vote summary cards may not be added
        or removed from the secure card container without detection.




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     13.2.3 DS200 Lock and Seal Recommendations
        In addition to the security measures detailed below, label seals may be affixed
        to all openings or screws to introduce an extra layer of security.

        1. Insert the election definition
           USB flash drive and secure
           with a wire seal.




        2. Close the access door and lock
           with a medium barrel key. Place a
           label seal on the smooth plastic
           area as shown at right.




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        3. If your election rules require a
           backup USB flash drive, insert the
           backup USB flash drive in the rear
           compartment. Thread the wire seal
           through both the backup USB flash
           drive and the loop provided in the
           rear compartment to secure the
           backup USB flash drive.




        4. Ensure that the rear access door is
           locked with a medium barrel key
           and affix a label seal on the
           smooth plastic area as shown.
           Depending on the selected
           hardware configuration, the rear
           access door covers the RJ-11
           modem and wireless modem
           antenna, as well as the backup
           USB flash drive.




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        5. Close the touch screen display
           and secure the lock with a
           medium barrel key. A label seal
           may be placed vertically on the
           smooth plastic area from the
           main section of the unit to the
           display as shown.




        6. A label seal may be placed
           on the left side seam where
           the top of the unit joins to
           the base.




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        7. A second label seal
           may be placed on the
           right side seam where
           the top of the unit joins
           the base.




        8. Further security is built into the
           DS200 with tamper resistant
           security Torx screws.




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       13.2.3.1 DS200 Plastic Ballot Box Lock and Seal Recommendations

        1. To secure the
           carrying case to the
           ballot box, engage
           the keyed locks on
           the sides of the box
           between the
           handles, then place
           one wire seal on
           each side of the box
           between the handles
           (two wire seals).

        2. To secure the ballot
           box, assure that both
           the auxiliary
           compartment and
           main compartment
           doors are closed.
           Engage the keyed
           locks and place one
           wire seal on each
           door (two wire seals).




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        3. To secure the DS200 inside
           the carrying case, lock the
           front door and place a wire
           seal through the lock
           bracket.




        4. To secure the carrying case
           lid, close both lid latches
           and lock the lid using the
           lock between the two
           latches. Place at least one
           wire seal at the lid latch.
           There are two locations for
           seals at each latch (four
           wire seals). Only one wire
           seal should be necessary to
           secure the lid.




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        5. Further polling site security
           may be attained by using
           the integrated anchor
           point on the DS200 plastic
           ballot box.




      Note        ES&S does not recommend any specific lock for this application due
                  to the unknown anchor points at your polling sites. Check with your
                  local hardware, sporting goods or computer supply store for
                  options.




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       13.2.3.2 DS200 Tote Bin Lock and Seal Recommendations


      Note
                  The tote bin should be secured when removing and/or transporting.



                Securing the DS200 Tote Bin Using the Pull-Tite Seal

        1. Close the tote bin before
           removing it from the lower
           compartment of the plastic                      Keyed Locks
           ballot box.

        2. To secure the tote bin, use
           a plastic ballot box key to
           fasten the top front and
           top rear locks.

        3. Thread the free end of the
           Pull-Tite seal up through
           the mounting slots on the
           tote bin body and lid.

        4. Insert the free end of the
           seal into the receiving end.

        5. Pull the Pull-Tite seal tight
           so that the tote bin is
           secure.

        6. Repeat this process on the
           opposite side of the tote
           bin.




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                Securing the DS200 Tote Bin Using the Cable Tie seal

        1. Close the tote bin before
           removing it from the lower
           compartment of the plastic                      Keyed Locks
           ballot box.

        2. To secure the tote bin, use
           a plastic ballot box key to
           fasten the top front and
           top rear locks.

        3. Insert the receiving end of
           the cable tie onto the
           plastic retainer.




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        4. Orient the cable tie so that the
           stamped serial number is facing
           the floor, then thread the free
           end of the cable tie up through
           the mounting slots on the tote
           bin body and lid.


        Note         Pre-bending the end
                     of the cable tie may
                     simplify this step.


        5. Pull the cable tie across the top
           of the closed lid, then thread the
           end of the cable tie down
           through the mounting slots on
           the opposite side of the tote bin
           body and lid.

        6. Pull the cable tie back across the
           top of the tote bin to the
           receiving end of the cable tie.




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        7. Insert the free end of the
           cable tie into the receiving
           end.

        8. Pull the cable tie tight so
           that the tote bin is secure
           and the stamped serial
           number on the cable tie is
           visible.




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       13.2.3.3 DS200 Collapsible Ballot Box Lock and Seal Recommendations

        1. Attach the lid to the collapsible
           ballot box. Slide the tabulator
           onto the collapsible ballot box
           rails and secure the lock on the
           ballot box lid with a DS200
           collapsible ballot box key.




                                               Keyed
                                               Lock




        2. Access to the auxiliary ballot
           compartment is limited by the               Auxiliary Slot
           auxiliary slot cover. Ensure that           Cover
           the auxiliary slot cover is
           positioned according to
           jurisdictional needs (open/
           closed) and secure with a spring
           lock seal.




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        3. Route a spring lock seal through
           the metal tab that protrudes
           through a slot in the lid at the
           front of the box.




        4. Access to the main ballot
           compartment is limited by spring
           lock seals that are routed
           through holes on the four silver
           latches – two in the front and
           two in the back – at the base of
           the box.




        5. Route a spring lock seal through the
           metal tab that protrudes through a
           slot in the lid at the back of the box.




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     13.2.4 DS450 Lock and Seal Recommendations
        1. Secure the rear panel of the
                                                                                 Secure Seal
           DS450 with six thumbscrews.

        2. Install a wire or plastic seal in
           the location provided.

        3. Apply tamper-evident labels
           across the housing and rear                          Secure Labels
           panel on the top, bottom, and
           both sides, as shown.

                   Per the VSTL, this seal
       Note
                   is mandatory for the
                   safe and secure
                   operation of the
                   DS450.                      Secure Label


        4. On the right side of the DS450,
           a clear access door protects
           the USB ports. Secure this
           door using the integrated key
           lock, a label seal, and a wire or   Keypad Lock
           padlock seal.




                                                  Secure Seal




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        5. On the left side of the DS450,
           a clear access door protects
                                                                           Keypad Lock
           the power switch, power cord,
           network port, and USB port.
           Secure this door using the
           integrated key lock and a wire
           or padlock seal. A label seal
           also may be applied.
                                             Secure Seal




        Further security is built into the
        DS450 with tamper-resistant
        security Torx screws.




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     13.2.5 DS850 Lock and Seal Recommendations
        1. Secure the rear of the
           tabulator by locking both
           door locks. Apply a wire seal
           through the opening
           provided in the lower right
           corner of the door.
                                                  Keyed Locks
                                                                      Secure Seal




        2. On the left side of the
           DS850, a clear access door
           protects the power switch,
           power cord, network port
           and USB port. Secure this
           door using the integrated
           key lock and a wire or                                           Keyed
           padlock seal.                                                     Locks




                                                                   Secure Seal




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        3. On the right side of the
           DS850, three clear access
           doors protect the USB ports.
           Secure these doors using the
           integrated key locks and          Keyed Lock
           wire or padlock seals.
                                            Secure Seal




                                            Keyed Lock



                                             Secure Seal




                                            Keyed Lock




                                            Secure Seal




        Further security is built into the DS850 with
        tamper-resistant security Torx screws.




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   13.3 Logical Security of System and Components
        The EMS operates on a hardened, stand-alone (non-networked) computer. This
        involves completely erasing the hard drive, removing all unnecessary files, and
        disabling any network adapters on the system.


      Note
                  Complete hardening procedures are provided in the
                  EVS 6042 CA Installation documents.



        Election administrators should use Windows security procedures to adopt a
        strict access control policy.

        System audit logs must be backed up and stored in a manner that allows the
        logs and data to be:

              • Protected from tampering or destruction

              • Used in a regular audit regiment to detect and prevent errors or
                fraudulent activity, and

              • Used in any forensic investigations of suspected errors or fraudulent
                activities that may occur.

        Data backups must be coordinated with the Disaster Recovery or Contingency
        Planning procedures of the jurisdiction. All system logs and application data
        must be backed up to write-once, non-modifiable media such as a CD or DVD.
        A full backup of the data should be done periodically to prevent log file data
        from being dropped or aged off due to retention limits.

        The frequency of backups depends on the size of the jurisdiction staff and level
        of activity. Shorter intervals of 1-7 days are recommended initially, until a use
        level can be established and longer periods allowed without risk of data loss.
        Where large amounts of work are completed such that the loss of the resulting
        data would jeopardize the accuracy or timely completion of the election
        process, more frequent backups will be necessary. During heavy election use,
        ES&S recommends a daily backup stored in a safe and secure environment, and
        a weekly duplicate backup stored in an alternate but equally safe and secure
        location.

        Backups should be performed by qualified system administrators under the
        supervision of the appropriate elections officials. All backup functions should
        be performed in a manner consistent with the policies for separation of duties
        and logged.
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   13.4 User-Level Security
        To ensure the separation of roles and responsibilities, security accounts/ roles
        should be defined such that each level of Electionware user has only sufficient
        privileges to perform the tasks of that role and no more. The user roles are
        designated by the Electionware System Administrator.




              • A System Administrator has access to all functionality in Electionware.


      Note
                  During installation, a default system administrator is added to
                  Electionware to enable you to log in and add other users.



              • A System User has access to all of the functionality in Electionware,
                except for the Setup module, and specific functions in the Reporting
                module. In the Reporting module, the System User cannot make
                changes to the Admin settings or reporting groups, clear results, or
                manually change a poll place status.

              • A Ballot Producer has limited access and can only print Ballot On
                Demand (BOD) ballots in the Print module.

              • A Media Creator has limited access and can only create media in the
                Package module.



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              • A Reporting Administrator has limited access to the Setup and Home
                modules, and full functionality within the Reporting module.

              • A Reporting User has access to only the Home and Reporting modules,
                with specific tasks enabled, such as backing up an election and loading
                results.

              • A Ballot Reviewer has limited access within only the Reporting module.
                They can review and adjudicate ballots, and assign write-in names.

        Roles and accounts should be reviewed and updated before each election to
        reflect personnel or responsibility changes, or immediately upon termination or
        demotion of personnel such that specific roles must be taken away from the
        individual.

        The following checklist provides suggestions to help ensure the security of your
        elections. Always follow the processes and laws for your jurisdiction.

              • No single individual should control all election procedures. The election
                supervisor should systematically distribute different responsibilities
                among individuals in order to cover all phases of the election process.

              • Access control policies should based on industry best practices and the
                jurisdiction’s unique requirements and should be consistent across all
                areas that interact or are physically or logically connected to any system
                or area that is involved with election procedures.

              • Perform background checks on all key election personnel.

              • Immediately log and report any, and all, security incidents. The ES&S
                user guides and operator’s manuals provide more information about
                ES&S software and hardware.




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     13.4.1 Password Security
              • The System Administrator, under the supervision of the Election
                Administrator, should manage Windows® PC passwords.

        The California Secretary of State requires the following password practices:

              • In general, a password should be as long as possible while still being
                easy to remember.

                  One way to do this is create a password based on an easy-to-
      Note
                  remember phrase. For example, the phrase might be: “This May Be
                  One Way To Remember” and the password could be: “TmB1w2R!”
                  or “Tmb1W>r~” or some other variation. (Do not use either of these
                  examples as passwords!)

              • Do not use an easily guessed password, such as:

                 • Names of family, pets, friends, co-workers, etc.
                 • Computer terms and names, commands, sites, companies,
                    hardware, software.
                 • Birthdays and other personal information such as addresses and
                    phone numbers.
                 • Word or number patterns like aaabbb, qwerty, zyxwvuts, 123321,
                   etc.

              • Never write down passwords or store them online.

              • Change passwords on a regular basis. ES&S recommends either every
                90 days, for each election, or any time there is reason to suspect that an
                account has been compromised or tampered with.

              • Passwords should contain a combination of alphabetic, numeric, and
                punctuation characters, as allowed by the specific application.

              • Do not share user names or passwords.

              • Lock all software each time a user leaves the protected area. Set screen
                savers to lock workstations after a period of inactivity, not to exceed 10
                minutes, requiring the Windows password to be re-entered.

              • Users should log off of any application or account when they expect to
                be away for any appreciable length of time.

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       13.4.1.1 User Passwords in Electionware

        In Electionware, the System Administrator should control application-level
        authentication via the Setup module.

        In the Password field, enter the password the new user will use to access
        Electionware. Re-enter the same password in the Confirm Password field.

        The password must be at least eight characters long, and must contain at least
        one character from three of the following four classes:

              • Uppercase letters (A-Z)

              • Lowercase letters (a-z)

              • Numerals (0-9)

              • Punctuation symbols ‘ ~ ! @ # $ % ^ & * ( ) = + , . / \ < > ? ; : “ [ ] { } |




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   13.5 Anti-Virus Protection
        The specified configuration includes commercially available and standard virus
        detection software. Virus detection software must be installed and enabled on
        all three of the referenced PCs at all times, and removable media must always
        be scanned by the configured PC to prevent virus entry and propagation.


  Important
                   Install Symantec virus protection software according to the
                   instructions provided in the EVS 6042 CA Installation documents.


  Important
                   The virus protection software and update files should only be
                   updated if tested and approved for use with the EVS system.



   13.6 Essential Software Updates and Changes
              • Operating System – Before each election, a qualified system
                administrator under the supervision of the appropriate elections official
                should contact ES&S for any operating system updates available from
                the third party vendor and tested and approved for use with the EVS
                system. Depending on the scope of the updates and any regulatory
                approval required, ES&S will issue procedures for installation of the
                updates.

              • Applications and Third Party Software – All applications and third
                party software are not to be updated unless specifically required by
                ES&S and approved by Federal and State Certification, or by an
                exception granted by the Secretary of State’s Office.

     13.6.1 Audit Records for Changes
        ES&S recommends that a physical log be kept of all activity related to
        installation, configuration, and modification of any and all system components,
        in addition to the logging of storage, transportation, and overall chain of
        custody. Logging should include at a minimum:

              • Printed name of the person performing the task

              • Full signature or signed initials of the person performing the task

              • Task performed

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              • Reason for performing the task

              • Date and time of the task performed

              • Printed name of the person witnessing, verifying, or authorizing the task
                (if applicable)

              • Full signature or signed initials of the person witnessing, verifying, or
                authorizing the task (if applicable)

                  The entries in this log must be complete.
      Note
                  Example: “System Maintenance” is not an acceptable entry. The
                  entry should state who accessed the system, exactly what
                  maintenance was performed and why it was necessary, when the
                  maintenance work began, and when it ended.

        Completed log pages should be reviewed by the appropriate elections official,
        initialed and stored physically by secure means for a minimum of 22 months or
        as directed by State Election law.




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   13.7 Security Procedures for Central Processing
        The following security measures are recommendations based on industry best
        practices.

              • When ballots are prepared and stored for processing, each box should
                be logged with contents (such as precinct/ballot type number, date
                packed, etc.).

              • Store ballots in a climate-controlled environment and under pass code
                security or lock and key.

              • When ballots are retrieved for processing (from a storage or collection
                area), two elections officials are required to monitor the transfer of
                ballots from the storage area to the tabulation equipment.

              • Transfer custody of the ballots from the elections officials to the
                individuals responsible for tabulation.

              • Upon completion of tabulation process, ballots are required to be:

                 • Logged as scanned with the tabulation operators’ initials and
                    date\time.
                 • Logged and sealed in a storage container.

        The central tabulation room should be secured at all times with a minimum of
        two elections officials having access rights to the room (one of whom must be
        an employee of the jurisdiction). Access to the room should be monitored or
        logged at all times. All access rights to the room and its components will be
        restricted to the individual’s rights or duties. Any need for change of access
        rights outside an individual’s normal realm of duty or job function shall be
        maintained and logged by the jurisdiction’s chief elections official.

     13.7.1 Central Count Tabulators: Restricting Access
        If an election definition has been loaded on the DS850 or DS450, with the User
        Access feature enabled, you can lock the tabulator to prevent unauthorized
        users from modifying the configuration or performing other functions from the
        touch screen.

        The tabulator can only be unlocked again with the correct election code.




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   13.8 Security Procedures for Polling Places
     13.8.1 ExpressVote
        The election definition flash contains drive the poll-specific data, including the
        candidates, contests, and card variations for an individual precinct or an entire
        jurisdiction.

        The election definition includes format styles and touch screen menu settings.
        For example, the election definition can configure the ExpressVote to query the
        voter when he or she undervotes a contest and then attempts to move to
        another contest, or to prevent the voter from overvoting a contest. The
        election definition also contains the visual and audio ballot files and navigation
        prompts. The system uses the election definition flash drive to store the audit
        log and other specific election information.

        The election definition flash drive is secured in the ExpressVote unit during the
        election. When you insert the election definition flash drive into an available
        USB port on the ExpressVote terminal, the system compares the encrypted
        keys loaded from the EQC flash drive with the keys stored on the election
        definition flash drive to validate the election definition. If the keys do not
        match, the system aborts the election loading process. If the keys do match,
        the system prompts the election official to enter the election security code.

        The system accesses data on the election definition flash drive when the device
        is first inserted into an ExpressVote USB port. Operations and Systems Log
        data stored on the election definition flash drive any time a card is inserted into
        the ExpressVote terminal or the user interacts with the on-screen menus in
        Official mode.

     13.8.2 ExpressVote XL
        The internal flash memory storage card (CFast) containing the installed election
        definition, Audit Log information, and election totals is secured under a secure
        panel inside the locking accessory compartment. When using the ExpressVote
        XL as a marker, or as an exclusive-collection tabulator, the election flash drive
        also is housed in the locking accessory compartment.The ExpressVote XL
        records errors and major events and tags these incidents with the date and
        time the incident occurred based on the ExpressVote XL’s real-time clock
        settings. Audit trails are stored on the internal flash memory storage card and
        saved to the inserted USB flash drive during the poll closing process. The Zero
        Totals Report, which is printed before polls are open on Election Day, is used to
        indicate that all results from testing or from the previous election have been
        removed from the machine, and that all totals are set to zero when the polls are
        opened.


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        The secure card container for printed vote summary cards is equipped with
        locks that prevent access to the printed cards.

        When the ExpressVote XL is used as a tabulator, the internal CFast card stores
        vote data for each ballot cast including an image of each side of the ballot
        page. To ensure security and protect voter anonymity, the vote data is stored
        with random file names assigned to each ballot image file. The system
        automatically saves Cast Vote Records (CVRs) of each ballot cast.

     13.8.3 DS200
        The following items are critical to tracking, auditing, and reporting the ballot
        counting process and must be maintained:

              • For the election definition phase, diagnostic proof listings of candidates
                and active vote positions for each ballot style, ballot type or precinct
                must be maintained.

              • The number of ballots read within each precinct, by type, including
                totals for each party in primary elections must be maintained.

              • The total number of ballots processed must be maintained.

              • Separate accumulations and reporting of the quantity of overvotes,
                undervotes, and write-ins within each precinct for each race or issue
                must be maintained. This is generally done on reports other than the
                report distributed Election Night.

              • Availability of the above information in summary and by precinct.




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   13.9 Audit Logs
        This section provides a description of all audit log files, the file location within
        the voting system, and procedures to retrieve, export, and archive audit logs
        from the voting system.

        The close of polls will automatically generate two (2) copies of the results
        report. One copy shall remain with the machine and the other shall be posted
        in an open public area. At the discretion of the County Election Administrator,
        the audit log report for that particular scanner can be printed at the close of
        polls after the results have completed printing. If the audit log is printed, keep
        the log, along with all related election materials, together with the results tape
        for processing at the County office. Each jurisdiction shall, before taking any
        action that could delete or overwrite any audit log, create an electronic copy,
        when possible, or a clean paper copy, of all audit logs, to be maintained for 22
        months.

     13.9.1 Audit Log: ExpressVote
        The ExpressVote‘s Operations Log and System Log reports comprise a system-
        generated audit trail you can use to verify that elections are administered fairly,
        accurately, transparently, and efficiently.

        System-generated audit records reduce the possibility of errors and omissions
        associated with manually-generated audit logs. The following sections
        summarize how the ExpressVote generates audit record data.

                Record Timing and Sequence of Audit Record Entries

        The ExpressVote stores continuously updated audit logs on a removable USB
        flash drive. The ExpressVote’s real-time clock applies a time-and-date stamp to
        each event recorded in the Operations Log and System Log reports.

                Preserve Timing and Sequence of Audit Record
   Entries

        Stored audit records are not affected by system power interruptions. The
        ExpressVote audit record is stored on the removable USB flash drive.

                View and Print Audit Logs

        You can view audit logs on the ExpressVote’s touch screen by displaying the
        Operations Log and System Log reports. You also can print both logs using the
        unit’s internal card printer.



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        Operations Log and System Log report information enables you to immediately
        identify and resolve error conditions. Each log entry is numbered and includes
        event details to facilitate recognition, segregation, and retention. You can use
        each of the ExpressVote’s administrative menus to generate machine-level
        audit reports at any time.

                Display Error Messages and Remedial Actions

        The ExpressVote displays and stores all error messages to the user as they
        occur. Error messages are either displayed in the voter’s selected language or
        include the international warning symbol if intended for the poll worker or if a
        general system error is generated. The error message details state the
        recommended action to restore the system to the state existing before the first
        error occurred and with no irreversible errors.

                Display and Report Critical and Non-Critical Status
   Messages

        The ExpressVote displays and reports critical and non-critical status message in
        real time and in the voter’s selected language or in English, along with the
        international warning symbol depending on the nature of the error at the time
        of occurrence.

     13.9.2 Audit Log: ExpressVote XL
        The ExpressVote XL maintains a system-generated audit trail you can use to
        verify that elections are administered accurately and accountably. The system
        meets the following audit criteria.

                Records the Timing and Sequence of Audit Record
   Entries

        The ExpressVote XL generates and stores a running audit log containing all
        user- or system-initiated events that occur on the ExpressVote XL terminal.
        Recorded system events are sequentially numbered. The system applies a time-
        and-date stamp in ISO 8601 format to each event as it occurs according to the
        terminal clock.

                Preserves the Timing and Sequence of Audit Record
   Entries

        Stored audit records are not affected by system power interruptions.




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                Displays Error Messages and Remedial Actions

        The ExpressVote XL displays and records all error messages as they occur. Error
        messages are displayed and stored in English or in the voter’s selected
        language. When an error message is intended for the poll worker, or if a
        general system error occurs, the system displays the international warning
        symbol. Error messages include information about restoring the system to its
        previous state with no irreversible errors.

                Displays and Reports Critical and Non-Critical Status
   Messages

        The ExpressVote XL displays and records critical and non-critical status
        messages in real time, in English or the voter’s selected language. If applicable,
        warnings are displayed along with the international warning symbol.

        This following sections in this chapter summarize how the system generates
        and stores audit record data. This chapter also provides instructions for
        viewing, printing, or exporting a copy of the Audit Log via the Supervisor Menu
        of the ExpressVote XL terminal.

        The Audit Log records the date, time, and description of every user- or system-
        initiated event that occurs on the ExpressVote XL terminal, including the
        following event types.

              • Any change to the device or configuration, such as a date or time
                change

              • All poll worker or technician interactions with the terminal, including
                menu and screen navigation

              • All actions taken by a voter, including the time the voting session started
                and ended for each voter, excluding contest selection/deselection,
                ballot navigation, and write-in entries

              • All errors and warnings

              • All internal read/write operations, such as data written to a specific
                location or peripherals queried for status

              • All battery/power notifications

              • Hardware configuration and status

              • Software/firmware versions


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        The Audit Log is always available whether or not an election is loaded on the
        terminal. This log is not cleared by the EQC process and therefore contains a
        record of terminal activity across elections.The ExpressVote XL stores the Audit
        Log on the terminal’s internal flash memory card.

       13.9.2.1 ExpressVote XL Log Retention and Rotation

        The ExpressVote XL maintains the Audit Log in both a current and an archived
        log file on the terminal’s internal flash memory card. This method is designed to
        alleviate storage space limitations related to log retention.

        When the current Audit Log reaches 80% of its storage capacity, the system
        displays a warning window. To acknowledge the warning and return to normal
        operation, touch Continue.

        After the operator acknowledges the displayed warning message, the system
        automatically rotates the current log into an archived state and continues
        recording system events in a new log file. The new log file is now the current
        log file. The record of all system activity that occurred prior to the capacity
        warning is preserved in the archived file.

        If the system has already rotated log files and the current log file reaches 80%
        of capacity, the system rotates the current file into archive status and rotates
        the previous archive file back to current status, overwriting all previous data.
        ES&S expects each ExpressVote XL terminal to log multiple elections before
        encountering this level of log rotation.




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       13.9.2.2 Viewing, Printing, and Exporting the Audit Log

        The Audit Log is available via the Logs option of the Supervisor Menu.

        On the Supervisor Menu, touch Audit Log. The system displays the Logs
        function.




        When on operator accesses the Logs function, if an election is loaded on the
        terminal, the system automatically displays a preview of the Audit Log by
        default.

        The preview pane provides a drop-down menu that enables you to sort the
        displayed log from newest event to oldest, or from oldest event to newest. To
        sort the displayed log, in the drop-down menu, touch the desired display order.

        Valid options:

              • Newest On Top

              • Oldest On Top

        To view the entirety of a log that exceeds the space provided in the preview
        pane, touch the up or down scroll buttons on the right edge of the pane.

        To skip to the end or skip to the beginning of the displayed log, touch the up or
        down skip buttons on the right edge of the pane.


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       13.9.2.3 Printing the Audit Log

        To print the log displayed in the preview pane, complete the following steps.

        1. In the preview pane, touch Print.

             The system sends the log to the ExpressVote XL report printer and displays
             a window indicating that printing is in progress.

        2. To pause the printing process, touch Pause.

             The system displays a window indicating that printing has been paused.

        3. To resume printing from a paused state, touch Resume.

        4. To cancel printing at any time, touch Cancel.

       13.9.2.4 Exporting the Audit Log

        You can manually export copies the Audit Log to an inserted export flash drive.
        When you export the Audit Log, the system exports the entirety of the stored
        log, including both the current and the archived log files, in JSON format.

                   The export flash drive must be a blank ES&S USB flash drive
  Important
                   formatted for the FAT32 file system with the volume label renamed
                   EXPORT. If you insert any other type of USB flash drive during this
                   procedure, the system displays an error message indicating that the
                   inserted media is invalid.

        To manually export the Audit Log, complete the following steps.

        1. In the Logs pane, touch Export.

             The system prompts you to insert a blank USB flash drive.


      Note
                   To cancel the export process without inserting a flash drive, touch
                   Cancel.



        2. Insert a prepared blank backup flash drive.

             The system copies the selected log to the inserted flash drive.



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     13.9.3 Audit Log: DS200
        The Event Log Report is an audit log of all activity that has occurred on the
        DS200 and contains information including the date and times when the unit
        was initialized and when it generated reports. It includes a record of all actions
        taken by election workers and/or voters on the DS200. The Event Log Report
        also includes information about internal or system events that are not included
        on the Event Log Summary Report, such as when Intelligent Mark Recognition
        (IMR) is activated and when ballot images are stored. For each ballot scanned,
        the Event Log Report lists the time the voting session started and the time the
        session was completed.

        The Event Log Summary Report is a condensed version of the Event Log
        Report. It omits information about IMR and ballot image storage. In addition,
        the Event Log Summary Report lists the voting session start time for only the
        first ballot scanned, and the voting session complete time for every ballot
        scanned.

        The Event Log Report lists all of the DS200 events that occur from the time you
        load your election definition USB flash drive into the DS200 until you remove
        the flash drive after the election is complete.




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        Sample of the Event Log report

*** EVENT LOG REPORT ***                    17:02:32 04/22/2014 1004149
 1:08 PM April 22, 2014                     Attempting to open poll
Unit Serial Number: 02095350655             17:02:38 04/22/2014 1004193
                                            Backup Media Detected
 TIME DATE MSG ID                           17:02:40 04/22/2014 6004022
MESSAGE TEXT                                Open process complete
16:58:33 04/22/2014 1114111                 17:02:41 04/22/2014 6004121
Election media created                      Keys detected on poll media 0108340394
17:01:39 04/22/2014 1004002                 17:02:41 04/22/2014 1004003
Election loaded                             Poll opened
17:01:44 04/22/2014 1004326                 17:02:44 04/22/2014 1004143
All data paths and memory locations OK      Printing 1 copy of Ballot Status
17:01:44 04/22/2014 1004143                 Accounting Report
Printing 1 copy of Configuration Report     17:02:55 04/22/2014 1004128
17:02:08 04/22/2014 1004128                 Printing 1 copy of Zero Totals Report
Completed printing Configuration Report     17:14:01 04/22/2014 1004152
17:02:13 04/22/2014 1004193                 Attempting to enter Voting Mode
Backup Media Detected                       17:14:02 04/22/2014 1004056
17:02:14 04/22/2014 1004302                 Entering voting mode
DS200/UVC not plugged in                    17:14:18 04/22/2014 1004115
~~~~ sample continues in next column ~~~~   Vote Session Started
                                            17:14:21 04/22/2014 3004101
                                            IMR Log Characteristic Point Status
                                            Init
                                            24 New 24
                                            17:14:22 04/22/2014 1004107
                                            Ballot images stored
                                            17:14:22 04/22/2014 1004002
                                            Ballot data stored
                                            17:14:22 04/22/2014 1004022
                                            Voting session complete
                                            17:14:28 04/22/2014 1004115
                                            Attempting to Close {Poll
                                            17:14:29 04/22/2014 1004193
                                            Backup Media Detected
                                            17:14:30 04/22/2014 6004041
                                            Close process complete.
                                            17:14:32 04/22/2014 6004072
                                            Collection process complete.
                                            17:14:41 04/22/2014 1004013
                                            Poll closed
                                            17:14:43 04/22/2014 1004143
                                            Printing 1 Copy of Ballot Status
                                            Accounting Report
                                            17:15:02 04/22/2014 1004128
                                            Completed printing Ballot Status
                                            Accounting Report
                                            17:14:32 04/22/2014 6004072

                                            Unit Serial Number: 02095350655

                                            *** END OF REPORT ***




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     13.9.4 Audit Log: Central Count Tabulators
        The audit log is generated in real time on the dot-matrix printer and provides a
        time and date stamped record of all actions taken on or by the Central Count.
        The audit log can also be exported separately and viewed with regular text
        viewer and or is also included in a files export from the Central Count which can
        be loaded into Electionware.

        Electionware provides the settings for the audit log printing function in the
        election definition.

        The audit log can also be enabled or disabled on the Central Count.




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        Partial sample of the Audit Log report

14:41:31   Tue   Jun   02   2015   Public Count: 0
14:41:31   Tue   Jun   02   2015   Ballot Spec ID: DSIM_279.400_215.900_50_24_PP
14:41:31   Tue   Jun   02   2015   Load election definition OK
14:41:40   Tue   Jun   02   2015   Audit log printer is ready
14:41:45   Tue   Jun   02   2015   Selected: Load Election done
14:41:56   Tue   Jun   02   2015   Navigated to: Setup Menu
14:42:00   Tue   Jun   02   2015   Navigated to: Election Menu
14:42:01   Tue   Jun   02   2015   Navigated to: Scanning Menu
14:42:03   Tue   Jun   02   2015   Selected: Scan Ballots
14:42:06   Tue   Jun   02   2015   Navigated to: Scanning Menu
14:42:07   Tue   Jun   02   2015   Selected: Scan Ballots
14:42:09   Tue   Jun   02   2015   Navigated to: Scanning Menu
14:42:09   Tue   Jun   02   2015   Navigated to: Election Menu
14:42:10   Tue   Jun   02   2015   Navigated to: Configuration Menu
14:42:11   Tue   Jun   02   2015   Navigated to: Processing Mode Settings
14:42:15   Tue   Jun   02   2015   Selected: Edit Processing Mode
14:42:25   Tue   Jun   02   2015   Selected: Election code entry canceled
14:42:26   Tue   Jun   02   2015   Navigated to: Processing Mode Settings
14:42:26   Tue   Jun   02   2015   Selected: Edit Processing Mode
14:42:28   Tue   Jun   02   2015   Selected: Election code entry canceled
14:42:28   Tue   Jun   02   2015   Navigated to: Processing Mode Settings
14:42:29   Tue   Jun   02   2015   Navigated to: Configuration Menu
14:42:30   Tue   Jun   02   2015   Navigated to: Election Menu
14:42:31   Tue   Jun   02   2015   Selected: Exit
14:42:32   Tue   Jun   02   2015   Navigated to: Shutdown Scanner
14:42:32   Tue   Jun   02   2015   Selected: Shutdown
14:42:32   Tue   Jun   02   2015   Shutdown initiated

15:03:22 Tue Jun 02 2015 Election Id: 9PNYROCK
15:03:22 Tue Jun 02 2015 Election Date: 2015-05-29
15:03:22 Tue Jun 02 2015 Election EQC: 9fa48bd5




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       13.9.4.1 Exporting Central Count Audit Logs

        The audit log can also be exported separately and viewed with regular text
        viewer or can be included in a files export from the Central Count, which can
        be loaded into Electionware and viewed via the Reporting module.




        1. From the Results menu, touch Export Audit Log.

        2. Insert the Election Definition flash drive or a blank ES&S flash drive into one
           of the USB ports.

        3. When prompted to do so, enter the Election Code, then touch Accept.

            The Export Audit Log screen appears.

        4. Touch Confirm to export the audit log.

        5. When the Export Audit Log screen indicates the audit log has been
           successfully exported, remove the flash drive. Press Done to return to the
           Results screen.




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     13.9.5 Audit Logs: Electionware
        In Electionware’s Setup module, use the Reports menu to access administrative
        report options. Use the Report Screen Toolbar to print, save, change the
        current page, or change the view of the displayed report.

       13.9.5.1 Admin Audit Events Report

        Use the Admin Audit Events Report option to access detailed audit information
        displayed to the administrator within the specified date range.

        This report includes information regarding all administrator events in
        Electionware, including the type of Event, an event Description, the event’s
        Timestamp, the User ID, and the module in which the event occurred.

        1. To run this report, from the Reports menu click Admin Audit Events
           Report.




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        2. In the Admin Audit Events Report Criteria window, define the criteria for
           the report:
           a. Specify the date range with the From Date and To Date selectors. Only
              the data from this range will be included in the report.
           b. From the Event Type drop-down menu, choose the event types to include
              in the report:
                 • Fatal
                 • Debug
                 • Verbose
                 • Info
                 • Warning
                 • Error
                 • All

        3. Use the Date-Ascending or Date-Descending option button to sort the
           events by ascending date or descending date order.

        4. Click Run Report.




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       13.9.5.2 Election Audit Events Report

        Use the Election Audit Events Report option to access detailed audit
        information displayed to the user within the specified date range.

        This report includes information about events in Electionware for the open
        election, including the type of Event, an event Description, the event’s time
        stamp, the User ID, and the module in which the event occurred.


      Note
                  An election must be open in order to run the Election Audit Events
                  Report.



        1. To run this report, from the Reports menu, click Election Audit Events
           Report.




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        2. In the Election Audit Events Report Criteria window, define the criteria for
           the report:
           a. Specify the date range with the From Date and To Date selectors. Only
              the data from this range will be included in the report.
           b. From the Event Type drop-down menu, choose the event types to include
              in the report:
                 • Fatal
                 • Debug
                 • Verbose
                 • Info
                 • Warning
                 • Error
                 • All

        3. Use the Date-Ascending or Date-Descending option button to sort the
           events by ascending date or descending date order.

        4. Click Run Report.




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Chapter 14: Biennial Hardware
          Certification and Notification
        EC 19220 requires jurisdictions to examine voting systems every two years and
        certify the results to the Secretary of State. Requirements for examination and
        testing are further detailed in Article 15 of the Secretary of State Procedures
        for Approving, Certifying, Reviewing, Modifying, and Decertifying Voting
        Systems, Vote Tabulating Systems, Election Observer Panel Plans, and Auxiliary
        Equipment, Materials, and Procedures.

   14.1 Certification and Notification for
      Precinct Tabulation Hardware
        Elections Code section 19220 requires each elections official to inspect and
        certify the accuracy of their voting or vote tabulating equipment at least once
        every two years. The elections official shall certify the results of their inspection
        to the Secretary of State.

     14.1.1 Hardware Certification and Notification
          for the Precinct Tabulator
       14.1.1.1 Certification

        All ballot readers and specialized vote tabulating equipment must be certified
        prior to use in any election by the Secretary of State. Certification procedures
        are available upon request from the Secretary of State’s Elections Division. All
        firmware and software used as part of the system is subject to the notification
        of change requirement.

       14.1.1.2 Notification

        For each statewide election, the responsible county elections official shall cause
        to be prepared a list, including quantities, of all equipment to be used to
        tabulate votes during the semiofficial and official canvass.

        Seven days before each statewide election, the elections official shall certify to
        the Secretary of State the results of the logic and accurate tests as well as the
        functionality of all ballot counting equipment. This certification shall also affirm
        the use of the same equipment for pre-election testing and for semiofficial and
        official vote canvasses. In the event of a change to the ballot tally program
        occurring after this certification, an amended certificate shall be submitted no
        later than the day before the election.


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        In the event any equipment is repaired, altered or replaced following the
        certification, and prior to completion of the official canvass of the vote, an
        amended certification of logic and accuracy testing and a revised list of
        equipment used must be submitted to the Secretary of State. This submission
        shall occur not later than submission of official canvass results. The jurisdiction
        will have an inventory of all voting equipment available for review by the
        Secretary of State at all times.

     14.1.2 Election Observer Panel
        All procedures prescribed herein shall be carried out in full view of the public
        insofar as feasible. In addition, the responsible elections official shall devise a
        plan whereby all critical procedures of the vote tallying process are open to
        observation by an Election Observer Panel. Representatives of the qualified
        political parties and representatives of the news media may be among those
        invited to serve on this panel and shall be given the opportunity to observe that
        the correct procedures are followed in the receiving, processing, and tallying of
        all voted ballots.

     14.1.3 Logic and Accuracy Certification
        A Logic and Accuracy Board shall be appointed by the responsible elections
        official and insofar as is practicable, shall be comprised of the same persons
        prior to, during, and after the election. The Board shall have the following
        duties:

              • Receive from the elections official all required test materials and take
                steps to ensure the security of said materials prior to, during, and after
                the election, except when the materials are properly in the possession
                of one of the other boards or elections officials as required by these
                procedures.

              • Verify the correctness of the logic and accuracy of test memory cards
                and the logic and accuracy of test ballots. This verification shall also be
                required for any material which must be replaced.

              • Observe the performance and verify results of all required tests.

              • Note any discrepancies and problems and affirm their resolution or
                correction.

              • Deliver into the custody of the elections official all required test
                materials and printed output.

              • Certify to the performance of each of the above-prescribed duties as
                well as those otherwise established by the procedures; provided that all

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                members of the Board shall sign the appropriate certificate or
                certificates. Final pre-election certification shall be made to the
                Secretary of State no less than seven days before each statewide
                election. This certification shall be made by the responsible elections
                official based on the Logic and Accuracy Board’s certification of
                successful testing. In the event an amendment to the ballot counting
                program is required following this certification, the elections official
                must immediately recertify to the Secretary of State.

     14.1.4 Submit Ballot Tally Programs to the Secretary of State
        Ballot tabulation programs for statewide elections are to be delivered to the
        Secretary of State no later than seven days prior to each statewide election.
        Ballot tally programs must be accompanied by the elections official’s
        certification of testing, the list of vote counting equipment used and a
        notification that he has caused memory cards to be programmed in conformity
        with the ballot diverter options as set forth in Table 2 herein. Refer to Elections
        Code section 17500. Should changes be required following certification and
        submission to the Secretary of State, resubmission and re-certification is
        required.

     14.1.5 Election Night and Post Election Reporting
        Any delays in election night’s semiofficial canvass reporting due to hardware,
        software, environmental, or human causes which result in failure to report
        results to the Secretary of State at least every two hours shall be reported to
        the Secretary of State by the 28th day following the election. The responsible
        elections official may also report other delays in the processing of ballots as he
        or she deems appropriate.

     14.1.6 Preparation of Specific Written Procedures
        Each elections official shall prepare specific written procedures for each phase,
        step and procedure in the preparation, operation of polling places, vote
        counting and official canvasses of elections. Written procedures must also
        include instructions to precinct officials regarding proper handling of Vote-By-
        Mail voter and provisional voter ballots as well as a description of procedures
        used to manually recount ballots pursuant to Elections Code section 15645.
        These procedures must be prepared and submitted to the Elections Division of
        the Secretary of State’s Office within two years following the adoption of these
        procedures by the Secretary of State. Upon submission, the elections
        jurisdiction’s procedures shall be reviewed for compliance with state
        procedures, and the elections official shall be advised of any necessary
        revisions.



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   14.2 Biennial Certification for
      Central Tabulation Hardware
        Elections Code section 19220 requires each elections official to inspect and
        certify the accuracy of their voting or vote tabulating equipment at least once
        every two years. The elections official shall certify the results of their inspection
        to the Secretary of State.

     14.2.1 Tabulation Hardware Certification and Notification
        All ES&S election equipment must be certified for use in elections by the
        Secretary of State prior to use in any election. Certification procedures are
        available upon request from the Secretary of State's Elections Division.

        For each statewide election, the responsible county elections official shall cause
        to be prepared a list, including quantities, of all equipment to be used to
        tabulate votes during the semiofficial and official canvass.

       14.2.1.1 Logic and Accuracy Tests

        Seven days before each statewide election, the elections official shall certify to
        the Secretary of State the results of the logic tests as well as the accurate
        functioning of all ballot counting equipment. This certification shall also affirm
        the use of the same equipment for preelection testing and for semiofficial and
        official vote canvasses. In the event of a change to the ballot tally program
        occurring after this certification, an amended certificate shall be submitted no
        later than the day before the election.

        In the event any equipment is repaired, altered or replaced following the
        certification and prior to completion of the official canvass of the vote, an
        amended certification of logic and accuracy testing and a revised list of
        equipment used must be submitted to the Secretary of State not later than
        submission of official canvass results.

       14.2.1.2 Certifying Logic and Accuracy

        Appoint a logic and accuracy board to perform the following tasks:

              • Receive all required test materials from the elections official.

              • Verify the correctness of the election definition and test deck.

              • Observe scanner performance and verify results.

              • Note any discrepancies between test results and the results from ES&S.

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              • Deliver all the required test material to the elections official.

              • Certify the performance of the scanner.

     14.2.2 Escrow of Ballot Tally Source Code
        Prior to its use in any election, an exact copy of the source code for all ballot
        tally software programs shall be placed in an approved escrow facility, pursuant
        to the procedures and requirements of Elections Code section 19103 and Title
        2, Division 7, of the California Code of Regulations, beginning with section
        20610.




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                                                                 Appendix A: Revision History


Appendix A: Revision History


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                               Document Version: 1.1
                                     July 2019

 Chapter(s)      Description

                   • Implemented revisions/additions requested by the state of
                    California
      All
                   • Replaced duplicated clear/initialize/load sections throughout
                    document w/ cross-references to centralized information (see next
                    row)
                   • Expanded DS200 update procedure

                   • Clear/Initialize Election Equipment: New section moving all clear/
                    initialize processes into central location
       3
                   • Touch Screen Calibration: New section moving all screen
                    calibration processes into central location

                   • Load Election on Equipment: New section moving all election
                    loading processes into central location

       6
                   • Changed chapter name from “Election Preparation” to
                    “Equipment Preparation”
       9           • Revised entire section “ExpressVote XL Voting” for clarity
      13           • Updated equipment recommended security locks and seals




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                                    March 2019

 Chapter(s)      Description
      All          • Initial document




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                               Exhibit 3
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               Secretary of State Retention Chart for Boards of Elections

SERIES     DESCRIPTION OF RECORD                RETENTION PERIOD          ORIGIN    AUTHORIZATION #
NUMBER                                                                    DATE

CBE‐01     Absentee Ballot Applications:        Retain four (4) years     1983      050‐0031
           Civilian and Military                then destroy

CBE‐02      Absentee Voter Register: Civilian   Retain permanently        1983      050‐0032
           ‐ record of absentee voters

CBE‐03      Absentee Voter Register:            Retain permanently        1983      050‐0033
           Military ‐ record of absentee
           voters
CBE‐04      Abstract of Votes ‐ Abstract of     Retain permanently        1983      050‐0034
           votes cast in all elections

CBE‐05     Audit Report ‐ Report of the state   Retain one (1) copy       1983      050‐0035
           examiner                             permanently

CBE‐06     All Ballots: Used and Unused         Retain until sixty (60)   1983      050‐0036
                                                days after an election    Revised
                                                or 22 months after a      2010
                                                federal election then
                                                destroy provided no
                                                pending court action
                                                or court order (R.C.
                                                3505.31)


CBE‐07     Ballots: Sample ‐ Record of bond     Retain twenty (20)        1983      050‐0037
           issues and tax levies in form of     years in office, then
           sample ballots                       transfer to Archives
                                                for permanent
                                                retention
CBE‐08     Bids: Unsuccessful ‐ copies of       Retain two (2) years      1983      050‐0038
           unsuccessful bids                    after contract
                                                awarded, then
                                                destroy
CBE‐09      Bids: Successful with Contract ‐    Retain for eight (8)      1983,     050‐0039
           This record series contains copies   years, then may           revised
           of successful bids, contracts and    destroy.                  2013
           related documents from vendors
           for various goods and/or services.


CBE‐10      Cash Book ‐ Record of fees          Retain ten (10) years     1983      050‐0040
           collected                            and until audited by
                                                Auditor of State and
                                                audit report is
                                                released, then destroy
CBE‐11     Campaign Expense Reports ‐           Retain six (6) years      1983      050‐0041
           Candidates' expense reports filed    then destroy
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CBE‐12     Central Committee Notices ‐          Notices: retain two       1983,     050‐0042
           Notices of political party           (2) years, then may       revised
           meetings and committee               destroy; Member List:     2015
           member lists.                        retain two (2) or four
                                                (4) years depending
                                                on term of committee
                                                members of the
                                                political party, then
                                                may destroy.
CBE‐13     Correspondence ‐ General Office      Retain one (1) year       1983      050‐0043
           Correspondence                       then destroy

CBE‐14     Certificates of Annexation ‐ Copy    Retain permanently        1983      050‐0044
           of Annexation ordinance, etc.

CBE‐15     Election Charge‐Back Record ‐        Retain three (3) years    1983      050‐0045
           Election expenses charged back       and until audited by
                                                Auditor of State and
                                                audit report is
                                                released, then destroy
CBE‐17     Ledger of Receipts and               Retain six (6) years      1983      050‐0047
           Expenditures ‐ CBE financial         and until all items are
           records                              cleared and audited
                                                by Auditor of State
                                                and audit report is
                                                released, then destroy

CBE‐18     Petitions of Candidates ‐            Retain for six (6)        1983,     050‐0048
           Accepted and rejected petitions      years, then may           Revised
           for elections; declarations of       destroy.                  2011,
           intent to be write‐in candidates.                              Revised
                                                                          2020


CBE‐19     Pollbooks, Poll Lists and Related    Retain two (2) years,     1983,     050‐0049
           Materials ‐ This record series       then may destroy.         Revised
           includes, but is not limited to,                               2015
           pollbooks, poll lists or signature
           pollbooks, tally sheets, summary
           statements, and other records
           and returns of an election
           delivered to the Board of
           Elections from polling places.
CBE‐21     Poll Officials Record / Precinct     Retain two (2) years      1983,     050‐0052
           Record ‐ List maintained by          then may destroy          revised
           county boards of elections that                                2012
           contains contact information of
           qualified individuals available to
           serve as judges or precinct
           election officials.

CBE‐22     Receipts and Expenditures:           Retain six (6) years      1983      050‐0053
           Candidates ‐ Campaign financial      then destroy
           history for candidates
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CBE‐23      Receipts and Expenditures:          Retain two (2) years     1983   050‐0054
           Questions and Issues ‐ Campaign      then destroy
           financial history: for/against
           questions and issues

CBE‐24      Receipt Books: Election Papers ‐    Retain one (1) year      1983   050‐0055
           Office receipt book for ethics       then destroy
           material & campaign financing
           statements issues
CBE‐25     Receipt Books: Monies ‐ Office       Retain until audited     1983   050‐0056
           copy of financial receipts issued    by Auditor of State
                                                and audit report is
                                                released, then destroy

CBE‐26A    Resolutions on Bond Issues that      Retain for life of       1983   050‐0057
           Pass ‐ Copies of resolutions by      bonds then destroy
           governmental bodies authorizing
           placement of issues on the ballot

CBE‐26B    Resolutions Except for Bond          Retain five (5) years    1983   050‐0058
           Issues that Pass ‐ Copies of         after election, then
           resolutions by governmental          destroy
           bodies authorizing placement of
           issues on the ballot
CBE‐27     Vouchers ‐ Office Copy of            Retain until audited     1983   050‐0059
           Voucher sent to County Auditor       by Auditor of State
                                                and audit report is
                                                released, then destroy

CBE‐28     Ward & Precinct Maps ‐ Political     Retain permanently       1983   050‐0060
           sub‐division precinct boundaries

CBE‐29     Withdrawal of Candidacy Notices      Retain one (1) year      1983   050‐0061
           ‐ Notices of withdrawal received     after election then
                                                destroy
CBE‐30     Minutes of the Board of              Retain permanently       1983   050‐0062
           Elections ‐ Record of proceedings

CBE‐31     Change of Name, Deaths, and          Retain two (2) years     1983   050‐0063
           Disenfranchised Voters Reports ‐     after filing then
           Original reports issued by the       destroy
           Probate Court, Clerk of Courts,
           and Health Department


CBE‐32     Registration Cards: Active ‐         Retain permanently       1983   050‐0064
           Master and precinct cards files
           for currently registered voters

CBE‐33     Registration Cards: Inactive ‐       Retain permanently       1983   050‐0065
           Cancelled voter registration cards
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CBE‐34     Transfer of Registrations ‐ Record    Retain four (4) years,      1983,     050‐0066
           of voters' transfer of registration   then destroy                revised
           from one area to another                                          2010

CBE‐35      Campaign Expense Reports ‐           Retain in office, six (6)   1992      050‐0084
           Original PAC campaign finance         years then transfer to
           reports                               Records Center for six
                                                 (6) years, then destroy

CBE‐36     Change of Address/Name                Retain four (4) years,      1994,     050‐0087
           Notifications ‐ Written notices       then may destroy.           revised
           from registered voters of a                                       2015
           change of address or name,
           including R.C. 3503.16(B)(1)
           notice of change of name (SOS
           prescribed form 10‐L).

CBE‐37     Elector Application for               Retain two (2) years        1994,     050‐0088
           Correction or Challenge Form ‐        then may destroy            revised
           Forms to be completed pursuant                                    2015
           to R.C. 3505.20, R.C. 3513.19 and
           R.C. 3513.20.
CBE‐38      Absentee Identification              Retain ninety (90)          1994,     050‐0090
           Envelopes ‐ Statement of              days after an election,     revised
           absentee voter and absent             or twenty‐two (22)          2016
           voter's ballot identification         months after a federal
           envelope supplement.                  election, then may
                                                 destroy, provided no
                                                 pending court action
                                                 or order
CBE‐40     Provisonal ballot affirmations ‐      Retain four (4) years,      1994,     050‐0092
           Affirmations filled out by an         then destroy unless         revised
           elector voted a ballot                used as a voter             2010
           provisionally                         reigstration form,
                                                 then retain
                                                 permanently
CBE‐42      Payroll Records for County           Retain four (4) years,      1994,     050‐0094
           Boards ‐ Payroll records of           then may destroy            revised
           pollworkers, election extras, part‐   provided audited and        2015
           time workers and workers no           audit report has been
           longer employed at the boards.        released.
CBE‐44      Registration Confirmation            County Board will           1996,     050‐0096
           Notices ‐ Confirmation notices        retain for five (5)         revised
           sent by the county boards to          years, then may             2011,
           voters in order to verify             destroy.                    revised
           registration records; and returned                                2017
           confirmation notices with
           updated or confirmed
           information. Boards maintin a list
           of these responses.
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CBE‐45     Directives/Advisories ‐ Letters of    Retain in office for      1994,     050‐0086
           instruction, information and          one (1) year, then        revised
           guidance sent to all county board     transfer to storage for   2011
           of elections concerning the           an additional five (5)
           election process and new election     years. Six (6) year
           laws.                                 retention needed to
                                                 provide information
                                                 for a complete
                                                 election cycle for U.S.
                                                 Senate and Supreme
                                                 Court Justices
CBE‐46      Confirmation or                      County Board will         1996,     050‐0098
           Acknowledgement Notice Lists ‐        retain for five (5)       revised
           Lists of names and addresses of       years, then destroy       2010
           persons who were sent
           confirmation or
           acknowledgement notices
CBE‐47     Acknowledgement or                    Retain four (4) years,    2010      50030006
           confirmation cards ‐                  then destroy
           Acknowledgement or
           confirmation cards returned
           undeliverable
CBE‐ 48    Voter Verified Paper Audit Trail ‐    Retain for 60 days or     2010      50030007
           Voter Verified Audit Trail (VVPAT)    22 months for federal
           official ballot to be used for        elections, then
           recount purposes                      destroy provided no
                                                 pending court action
                                                 or court order (R.C.
                                                 3506.18)
CBE‐49     Voting Machine Reports ‐ This         Retain sixty (60) days    2010,     50030008
           record series includes, but is not    after an election or      revised
           limited to, logic & accuracy          twenty‐two (22)           2013
           testing, test decks, tapes, testing   months after a federal
           result records, zero tapes, close     election, then may
           of polls tapes, cards downloaded,     destroy provided no
           used seal/lock records,               pending court action
           independent verification and          or order.
           validation testing (IV & V) of new
           voting equipment.

CBE‐50     Chain of custody form and voting      Retain two (2) years,     2010,     50030005
           unit event log ‐ This record series   then may destroy .        revised
           includes chain of custody forms                                 2015
           and voting unit event log.

CBE‐51     Proclamations of elections or         Retain one (1) year,      2010      50030009
           legal advertisment of questions       then destroy
           and issues
CBE‐52     Challenge forms ‐ Challenge           Retain for two (2)        2010      50030010
           forms pursuant to R.C. 3505.20        years, then destroy

CBE‐53     Observer forms ‐ Observer forms       Retain one (1) year,      2010      50030011
           pursuant to R.C. 3505.21              then destroy
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               Secretary of State Retention Chart for Boards of Elections

CBE‐54     Census block reprecincting            Retain four years (4),   2010      50030036
           waiver form and accompanying          then destroy
           maps
CBE‐55     Affirmation of voter who does         For any Form 10‐T        2010,     50030012
           not possess any appropriate           completed prior to       revised
           identification for voting             the May 6, 2014          2015
           purposes ‐ Affirmation of voter       primary election,
           who does not possess any              retain two (2) years,
           appropriate identification for        then may destroy. For
           voting purposes ‐ (SOS prescribed     any Form 10‐T
           form #10‐T).                          completed during the
                                                 May 6, 2014 primary
                                                 election, retain until
                                                 May 6, 2016, then
                                                 may destroy.
CBE‐56     Verification of handicapped           Retain one (1) year,     2010      50030013
           accessible parking spaces and         then destroy
           polling locations

CBE‐57     Certification of training hours       Retain two (2) years,    2010      50030014
           completed                             then destroy

CBE‐58     Election calendars                    Retain until no longer   2010      50030032
                                                 of administrative
                                                 value, then destroy

CBE‐59     Mailing Envelope Containing           Retain ninety (90)       2010,     50030029
           Voted Absent Voter Ballot ‐           days after election,     revised
           Mailing envelope containing a         then may destroy         2016
           voted absent voter ballot.            provided no pending
                                                 court action or court
                                                 order.
CBE‐60     Proofs of ballots                     Retain 60 days after     2010      50030030
                                                 election, then destroy
                                                 provided no pending
                                                 court action or court
                                                 order
CBE‐61     Report Forms for local questions      Retain 60 days after     2010      50030015
           & issues including approved           election, then destroy
           ballot language                       provided no pending
                                                 court action or court
                                                 order
CBE‐62     Certifications by most populous       Retain 60 days after     2010,     50030035
           county of overlapping local           election, then may       revised
           questions and issues ‐                destroy provided no      2015
           Certifications by most populous       pending court action
           county of overlapping local           or court order.
           questions and issues.

CBE‐63     Certificates of results ‐             Retain six (6) years,    2010      50030037
           certificates of results pursuant to   then destroy
           R.C. 3505.32 and 3513.22
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CBE‐64     Copies of state issues petitions      Retain 60 days after       2010      50030033
           or statewide candidate petitions      election, then destroy
                                                 provided no pending
                                                 court action or court
                                                 order
CBE‐65     Unofficial election results           Retain 60 days after       2010      50030031
                                                 election, then destroy
                                                 provided no pending
                                                 court action or court
                                                 order
CBE‐66     Evidence used in protest hearing      Retain one (1) year,       2010      50030016
           ‐ Evidence or materials provided      then destroy provided
           or used in conjunction with a         no pending court
           protest hearing                       action or court order
CBE‐67     SOS expenses of conducting            Retain four (4) years,     2010      50030017
           elections ‐ Yearly report to          then destroy
           Secretary of State of the expenses
           of conducting elections
CBE‐68     Organization or Reorganization        Retain six (6)             2010      50030027
           of Boards of Elections ‐ Report       years,then destroy
           forms on organization or
           reorganization of board of
           elections
CBE‐69     Reimbursement of poll worker          Retain two (2) years       2010      50030018
           training ‐ Reimbursment records       or until audited, then
           of costs of training poll workers     destroy

CBE‐70     Statewide Voter Registration          Retain for 60 days or      2010,     50030019
           Database Reports ‐ This record        until no longer of         revised
           series includes, but is not limited   administrative value,      2017
           to, data quality reports and          then may destroy.
           duplicate reports generated by
           the statewide voter registration
           database and sent to boards of
           elections to correct or add to a
           voter's record.
CBE‐71     Duplicate or incomplete voter         Retain for 4 (four)        2010      50030020
           registration forms                    years, then destroy

CBE‐72     Returned undeliverable 60 day         Retain until the           2010      50030028
           notices                               elector appears to
                                                 vote or until the
                                                 elector named is
                                                 removed from the
                                                 voter registration list,
                                                 then destroy
CBE‐73     Transmittal forms that                Retain 2 (two) years,      2010      50030021
           accompany voter registration          then destroy
           forms from agencies
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CBE‐74     Copies of identification provided       Retain for the longer    2010      50030022
           by electors ‐ copies of                 of these periods; 6
           identification provided by              months from the date
           electors with a voter registration      of receipt or 45 days
           form or absentee ballot                 from the date of the
           application                             election for which the
                                                   absentee ballot was
                                                   issued, then destroy


CBE‐75     Copies of identification provided       Retain for 90 (ninety)   2010      50030023
           by electors with an absentee            days from the date
           ballot and identification               received, then destroy
           envelope
CBE‐76     Copies of identification provided       Retain 4 (four) years    2010      50030024
           by a UOCAVA voter with a                from the date
           Federal Postcard application            received, then destroy

CBE‐77     Federal Postcard Voting                 Retain permanently       2012      50030057
           Application (FVAP) ‐ Application
           for registration as a voter on a
           form adopted in accordance with
           federal regulations relating to the
           “Uniformed and Overseas
           Citizens Absentee Voting Act” per
           R.C. 3511.02

CBE‐78     Election Administration and             Retain two (2) years,    2012      50030060
           Voting Survey Biennial Reports ‐        three (3) months,
           Election administration and             then may destroy.
           voting survey biennial reports
           that include information on voter
           registrations, changes of
           name/address, absentee ballots,
           ballots cast provisionally and
           other election related
           information.
CBE‐79     Election Administration Plans ‐         Retain for four (4)      2012,     50030061
           Administrative plans created by         years, then may          revised
           county boards of elections              destroy.                 2015
           indicating preparations for
           conducting elections and
           handling of possible emergency
           situations on election day.

CBE‐80     Precinct Election Officials             Retain fifteen (15)      2012      50030052
           Performance Assessment ‐A               months, then may
           review to be conducted after            destroy.
           each presidential primary and
           even‐numbered general election
           to determine whether precinct
           election officials are satisfactorily
           performing their duties.
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CBE‐81     Local Option Petitions ‐ Local        Retain four (4) years,   2012      50030053
           option petitions filed with county    then may destroy
           boards of elections

CBE‐82     Notice of County Board of             Retain two (2) years,    2012      50030054
           Elections Public Meeting ‐ Notice     six (6) months, then
           of public meeting of a county         may destroy.
           board of elections ‐ including
           regular, special or emergency
           meetings. Required by R.C.
           121.22 (F).
CBE‐83     Certificates of Appointment ‐         Retain four (4) years,   2012      50030065
           Copies of certificates of             then may destroy.
           appointment to elected office.
           The certificate contains the name
           of the appointed official, the
           office held, and beginning and
           ending terms of the appointment.

CBE‐84     County Job & Family Services          Retain one (1) year,     2012      50030066
           Voter Registrations Report ‐          then may destroy
           Quarterly report of number of
           voter registration forms received
           from county job and family
           services offices.

CBE‐85     Returned Undeliverable Notices ‐      Retain four (4) years,   2012,     50030067
           Notices sent to electors that are     then may destroy.        revised
           returned as undeliverable (i.e.                                2015
           change of precinct, polling
           location or voting district, notice
           of cancellation of voter
           registration following receipt of
           notification of the death of a
           registered elector).
CBE‐86     Authority to Vote Slips ‐ Form        Retain sixty (60) days   2012      50030055
           given to elector at polling place     after election, then
           indicating permission to cast a       may destroy provided
           ballot.                               no court action or
                                                 court order.
CBE‐87     Post‐Election Audit Reports ‐ The     Retain for four (4)      2013,     50030100
           original audit workbook verifying     years, then may          revised
           that the county board of elections    destroy.                 2015
           has conducted an audit of the
           election process. To be
           completed after each even‐
           numbered year general election
           and after presidential primary
           elections verifying the accuracy of
           the election process.
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CBE‐88     Ethics Forms ‐ Forms required to      Retain one (1) year,     2013      50030093
           be completed by board of              then may destroy.
           elections staff verifying that they
           have been trained on and will
           comply with the Secretary of
           State's ethics policy and Ohio
           ethics law. Original signed forms
           will be provided to the Ohio
           Secretary of State's Office for
           board of elections permanent
           employees. Original signed forms
           will be retained for board of
           elections precinct election
           workers, rovers and/or any
           temporary persons employed to
           assist with the election.


CBE‐90     Attorney‐in‐Fact Forms ‐ An           Retain until revoked     2013,     50030086
           elector may designate another         or elector no longer     revised
           individual as an Attorney‐in‐Fact     registered in county.    2015
           to complete election related
           documents. (R.C. 3501.11; R.C.
           3501.382)

CBE‐91     Elected Official and Appointment      Retain six (6) years,    2013,     50030087
           Certification Forms ‐ Forms to        then may destroy.        revised
           report certifications of persons                               2018
           elected to office; report of
           certifications of persons
           appointed to elective office;
           report appointments to fill
           vacancies in nomination on the
           ballot; and/or report political
           affiliation of previous office
           holder certified by the board of
           elections director.
CBE‐92     Division of Liquor Control            Retain six (6) months,   2013      50030098
           Requests ‐ Copies of responses to     then may destroy.
           the Division of Liquor Control
           regarding precinct boundaries or
           other local liquor option inquiries
           received from the Division of
           Liquor Control.

CBE‐93     Precinct Election Officials Notices   Retain one (1) year,     2013      50030094
           ‐ Notices of acceptance, rejection,   then may destroy.
           replacement or removal of
           precinct election officials. (R.C.
           3501.22)
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CBE‐94     Former Resident Presidential            Retain for twenty‐two    2013   50030095
           Ballot ‐ Form required to be            (22) months after the
           completed under chapter 3504 of         federal election, then
           the Ohio Revised Code, submitted        may destroy provided
           to county board of elections            no pending court
           requesting a presidential ballot.       action or order.
           Copy sent to the Secretary of
           State.
CBE‐95     Authorization for Elector to            Retain until signature   2013   50030097
           Update Signature ‐ Allows an            updated or person no
           elector to update his or her voter      longer registered in
           signature with the county board         county, then may
           of elections per R.C. 3501.05(AA).      destroy.
CBE‐96     Certifications of District              Retain six (6) months,   2013   50030088
           Candidates ‐ Certification by the       then may destroy.
           board of the most populous
           county in a district to overlap
           counties in that district, of the
           names of the candidates to
           appear on the primary or general
           election ballot for district offices.
           (R.C. 3505.01; R.C. 3513.05)
CBE‐97     Election Hardware Inventory ‐           Retain until no longer   2013   50030089
           Listing of election hardware            of administrative
           (servers) providing make, model         value, then may
           type, quantity, date of installation    destroy.
           and software/firmware version.


CBE‐98     Election Day Precinct Incident          Retain sixty (60) days   2013   50030090
           Log ‐ Log submitted by precinct         after an election or
           election officials to county board      twenty‐two (22)
           of elections regarding incidents        months after a federal
           occurring at a precinct on Election     election, then may
           Day.                                    destroy provided no
                                                   pending court action
                                                   or order.
CBE‐99     Declaration of Intent to Change         Retain for ten (10)      2013   50030096
           Political Party ‐ Declaration of        years, then may
           intent to change political party        destroy.
           filed by an elected official prior to
           their submission of declaration of
           candidacy and petition for
           partisan office. R.C. 3513.191(C).

CBE‐100    Absentee Voter Challenge ‐              Retain sixty (60) days   2013   50030091
           Statement of person challenged          after an election or
           as to party affiliation when            twenty‐two (22)
           requesting an absentee voter's          months after a federal
           ballot.                                 election, then may
                                                   destroy provided no
                                                   pending court action
                                                   or order.
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CBE‐101    Provisional Voter Precinct             Retain for four (4)        2013   50030092
           Verification ‐ Form completed by       years, then may
           a precinct election official when a    destroy.
           voter's name does not appear in
           the poll book/list and the voter
           insists on voting in the wrong
           precinct of a multiple‐precinct
           polling location.


CBE‐102    Correspondence for DOB ‐               Retain until no longer     2015   50030108
           Letters sent by Board of Elections     of administrative
           requesting a registered voter to       value, then may
           provide their date of birth.           destroy.

CBE‐103    State and Territorial Exchange of      Retain two (2) years,      2015   50030115
           Vital Events (STEVE) files ‐ File      then may destroy.
           containing county statewide
           voter registration database
           (SWVRD) records that have been
           matched with records of
           decedents for the purpose of
           cancelling the registrations of
           deceased voters.
CBE‐104    Cancellation of Registration of        Retain two (2) years,      2015   50030118
           Deceased Elector ‐ Includes            then may destroy.
           Notice of Death of Registered
           Voter (R.C. 3503.21(A)(3)) and
           Notice of Cancellation of Voter
           Registration (R.C. 3503.21(F))
           following receipt of notification of
           death of a registered elector.
           (SOS prescribed forms 255‐C and
           255‐D)

CBE‐105    Documentation of Campaign              Retain in office for six   2016   50030128
           Finance Filings Examinations ‐         (6) years, then may
           Includes letters and audit             destroy.
           checklists concerning
           examinations of campaign
           finance filings filed with the board
           of elections.
CBE‐106    Precinct Official Registration List    Retain two (2) years,      2017   50030130
           ‐ The complete and official            then may destroy.
           registration list for each precinct
           of all qualified registered voters
           in the precinct that must be
           prepared fourteen (14) days
           before an election. Per R.C.
           3503.23, this list (in paper or
           electronic form) is to be made
           available at the board of elections
           for viewing by the public during
           normal business hours.
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CBE‐107    Backup Signature Pollbook ‐            Retain for 60 days or     2017   50030131
           Printed, blank signature pollbooks     until no longer of
           that have been prepared as             administrative value,
           backup in case of problems with        then may destroy.
           the electronic pollbook, but then
           not used during the election.

CBE‐108    Verification of UOCAVA                 Retain for two (2)        2017   50030132
           Compliance ‐ Copy of form to be        years, then may
           completed by county board of           destroy.
           elections verifying compliance
           with the Uniformed and Overseas
           Civilian Absentee Voting Act
           (UOCAVA) and submitted to the
           Ohio Secretary of State's office.


CBE‐109    Safe At Home Confidential Voter        Retain permanently.       2018   50030144
           Registration Request ‐ This
           record series includes, but is not
           limited to, the Request to Have a
           Confidential Voter Registration
           Record and any related materials.


CBE‐110    Safe At Home Acknowledgement           Retain for four (4)       2018   50030139
           Notice ‐ This record series            years, then may
           includes, but is not limited to,       destroy.
           Acknowledgement Notices sent
           to Safe At Home participants that
           have been returned undeliverable
           and any related materials.

CBE‐111    Safe At Home Confidential Voter        Retain permanently.       2018   50030143
           Registration Cancellation ‐ This
           record series includes, but is not
           limited to, the Request to Cease
           Having a Confidential Voter
           Registration Record and any
           related materials.

CBE‐112    Safe At Home Absentee                  Retain ninety (90)        2018   50030142
           Identification Envelope                days after an election,
           Supplement ‐ This record series        or twenty‐two (22)
           includes, but is not limited to, the   months after a federal
           Absent Voter's Ballot                  election, then may
           Identification Envelope                destroy, provided no
           Supplement and any related             pending court action
           materials.                             or order.
CBE‐114    Electronic Pollbook Records ‐          Retain six (6) years,     2018   50030145
           This record series includes, but is    then may destroy.
           not limited to, audit and
           transaction records and images of
           signatures captured that are
           produced by electronic pollbooks.
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 CBE‐115        Federal Write‐in Absentee Ballot        Retain for one (1)        2020   50030148
                (FWAB) Election Notice ‐ A notice       year, then may
                required to be prepared prior to        destroy.
                an election that provides the list
                of offices and questions and
                issues that will appear on the
                ballot and which includes specific
                instructions for uniformed
                services and overseas voters on
                casting the FWAB. (R.C. 3511.16)


 CBE‐116        Recounts ‐ Records produced by          Retain for six (6)        2020   50030154
                the recounting of ballots and re‐       years, then may
                examination of the reconciliation       destroy.
                of records of the official results of
                an election. (R.C. 3515)
 CBE‐117        Notice of Voter Registration            Retain for five (5)       2020   50030152
                Cancellation ‐ A notice or letter       years, then may
                returned by a voter in response         destroy.
                to a notification regarding
                possible cancellation of the
                voter’s registration.

 CBE‐118        Help America Vote Act (HAVA)            Retain until state and    2020   50030153
                Records ‐ Records of grants             federal audits have
                received for election related           been conducted, audit
                equipment.                              reports released, and
                                                        audit resolutions
                                                        issued or resolved,
                                                        then destroy.

 CBE‐119        Precinct Election Official Training     Retain for one (1) year   2020   50030150
                Materials ‐ This series includes,       or until replaced by
                but is not limited to, training         updated training
                manuals, quick reference guides         materials, whichever
                and related materials that are          occurs first, then may
                used to train precinct election         destroy.
                officials prior to an election.

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